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                                                                                   APPEAL,TERMED
                     U.S. District Court − District of Colorado
                           District of Colorado (Denver)
              CRIMINAL DOCKET FOR CASE #: 1:17−cr−00168−CMA−1

   Case title: USA v. McClaflin                             Date Filed: 05/17/2017
                                                            Date Terminated: 05/14/2018

   Assigned to: Judge Christine M.
   Arguello
   Appeals court case numbers:
   18−1217 USCA, 20−1268
   USCA 10th Circuit

   Defendant (1)
   Karen Lynn McClaflin                represented by Karen Lynn McClaflin
   TERMINATED: 05/14/2018                             44166−013
                                                      CARSWELL
                                                      FEDERAL MEDICAL CENTER
                                                      Inmate Mail/Parcels
                                                      P.O. BOX 27137
                                                      FORT WORTH, TX 76127
                                                      PRO SE

                                                  Ann Marie Taliaferro
                                                  Brown Bradshaw & Moffat
                                                  10 West Broadway
                                                  Suite 210
                                                  Salt Lake City, UT 84101
                                                  801−532−5297
                                                  Fax: 801−532−5298
                                                  Email: ann@brownbradshaw.com
                                                  ATTORNEY TO BE NOTICED
                                                  Designation: 10th Circuit Special Designation

                                                  Nathan Dale Chambers
                                                  Nathan D. Chambers LLC
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                                                  Suite 200
                                                  Denver, CO 80202
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                                                  ATTORNEY TO BE NOTICED
                                                  Designation: CJA Appointment

                                                  Thomas James Hammond
                                                  Thomas J. Hammond, P.C.


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                                                   1544 Race Street
                                                   Denver, CO 80206
                                                   303−321−7902
                                                   Fax: 303−329−5871
                                                   Email: hammondlaw@solucian.com
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: CJA Appointment

   Pending Counts                                  Disposition
                                                   Defendant committed to the custody of the Federal
                                                   Bureau of Prisons to be imprisoned for a total term of
   18 U.S.C. § 1343 Wire Fraud                     NINETY−SIX (96) MONTHS to run concurrently to
   (1)                                             Count 2. Supervised Release of THREE (3) YEARS
                                                   to run concurrently to Count 2. Special Assessment of
                                                   $100.00. Restitution of $14,528,206.39.
                                                   Defendant committed to the custody of the Federal
   18 U.S.C. § 1957 Monetary                       Bureau of Prisons to be imprisoned for a total term of
   Transaction in property derived                 NINETY−SIX (96) MONTHS to run concurrently to
   from wire fraud                                 Count 1. Supervised Release of THREE (3) YEARS
   (2)                                             to run concurrently to Count 1. Special Assessment of
                                                   $100.00. Restitution of $14,528,206.39.

   Highest Offense Level
   (Opening)
   Felony

   Terminated Counts                               Disposition
   None

   Highest Offense Level
   (Terminated)
   None

   Complaints                                      Disposition
   None



   Plaintiff
   USA                                         represented by Pegeen Denise Rhyne
                                                              U.S. Attorney's Office−Denver
                                                              1801 California Street
                                                              Suite 1600
                                                              Denver, CO 80202
                                                              303−454−0323
                                                              Fax: 303−454−0409
                                                              Email: pegeen.rhyne@usdoj.gov

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                                                                LEAD ATTORNEY
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Federal Agency Attorney

                                                                Laura Beth Hurd
                                                                U.S. Attorney's Office−Denver
                                                                1801 California Street
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                                                                Denver, CO 80202
                                                                303−454−0135
                                                                Fax: 303−454−0402
                                                                Email: laura.hurd@usdoj.gov
                                                                ATTORNEY TO BE NOTICED
                                                                Designation: Federal Agency Attorney

   Date Filed    #    Page Docket Text
   05/17/2017     1      5 INFORMATION as to Karen Lynn McClaflin (1) count(s) 1, 2. (Attachments:
                           # 1 Penalty Sheet) (athom, ) (Entered: 05/17/2017)
   05/24/2018    47    12 TRANSCRIPT of Sentencing Hearing as to Karen Lynn McClaflin held on
                          5/10/18 before Judge Arguello. Pages: 1−112. <br><br> NOTICE −
                          REDACTION OF TRANSCRIPTS: Within seven calendar days of this
                          filing, each party shall inform the Court, by filing a Notice of Intent to
                          Redact, of the party's intent to redact personal identifiers from the
                          electronic transcript of the court proceeding. If a Notice of Intent to
                          Redact is not filed within the allotted time, this transcript will be made
                          electronically available after 90 days. Please see the Notice of Electronic
                          Availability of Transcripts document at www.cod.uscourts.gov.<br><br>
                          Transcript may only be viewed at the court public terminal or purchased
                          through the Court Reporter/Transcriber prior to the 90 day deadline for
                          electronic posting on PACER. (dmart, ) (Entered: 05/24/2018)
   06/11/2018    52   124 AMENDED JUDGMENT as to defendant Karen Lynn McClaflin (1):
                          Defendant committed to the custody of the Federal Bureau of Prisons to be
                          imprisoned for a total term of NINETY−SIX (96) MONTHS as to each Count,
                          to run concurrently. Supervised Release of THREE (3) YEARS, as to each
                          Count, to run concurrently. Total Special Assessment of $200.00. Restitution
                          of $14,528,206.39. SO ORDERED by Judge Christine M. Arguello on
                          6/11/2018. (cmasec) (Entered: 06/11/2018)
   09/20/2019   112   133 USCA Opinion as to Karen Lynn McClaflin re 42 Notice of Appeal : We
                          AFFIRM the judgment of the district court. (USCA Case No. 18−1217) (This
                          document is not the Mandate) (Attachments: # 1 Cover Letter to
                          Opinion)(evana, ) (Entered: 09/20/2019)
   06/05/2020   117   147 MOTION for Compassionate Release or Home Confinement per the Care &
                          First Step Acts by Karen Lynn McClaflin. (evana, ) (Entered: 06/05/2020)
   06/08/2020   119   185 ORDER: The Government and the Probation Office are DIRECTED to file a
                          Response to 117 Defendants Motion on or before 6/15/2020. The
                          Government's Response shall specifically address: what steps the warden at
                          this facility is taking/has taken to protect especially vulnerable people like
                          Defendant from the COVID−19 virus, what the status of Defendant's

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                           administrative request is, and whether the warden has put in place any process
                           to expedite the determination of these types of compassionate release requests.
                           Probation's Response shall specifically address: what steps would need to be
                           taken by their office to put in place adequate supervision if the Court were to
                           find that release is appropriate, what the time frame would be, and what
                           particular risks if any the relief Defendant requests may create for the
                           community. SO ORDERED by Judge Christine M. Arguello on 6/8/2020. Text
                           Only Entry (cmasec) (Entered: 06/08/2020)
   07/03/2020   128   187 REPLY TO RESPONSE to Motion by Karen Lynn McClaflin re 117
                          MOTION to Reduce Sentence pursuant to First Step Act of 2018
                          (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, #
                          6 Exhibit)(Chambers, Nathan) (Entered: 07/03/2020)
   07/20/2020   129   225 ORDER Denying 117 Defendant Karen McClaflin's Motion for
                          Compassionate Relief, by Judge Christine M. Arguello on 7/20/2020. (evana, )
                          (Entered: 07/20/2020)
   07/24/2020   130   229 NOTICE OF APPEAL as to 129 Order On Motion to Reduce Sentence
                          Pursuant to First Step Act of 2018 by Karen Lynn McClaflin. (Chambers,
                          Nathan) (Entered: 07/24/2020)




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


          Criminal Action No. 17-cr-00168-CMA


          UNITED STATES OF AMERICA,

          Plaintiff,

          v.

          KAREN LYNNE MCCLAFLIN,

          Defendant.

          __________________________________________________________

                             REPORTER'S TRANSCRIPT
                             (Sentencing Hearing)
          __________________________________________________________

                  Proceedings before the HONORABLE CHRISTINE M.
          ARGUELLO, Judge, United States District Court, for the
          District of Colorado, commencing at 11:04 a.m. on the 10th
          day of May, 2018, Alfred A. Arraj United States
          Courthouse, Denver, Colorado.

                                 A P P E A R A N C E S

          FOR THE PLAINTIFF:
          PEGEEN D. RHYNE and LAURA B. HURD, U.S. Attorney's Office
          - Denver, 1801 California St., Suite 1600, Denver, CO
          80202

          FOR THE DEFENDANT:
          THOMAS J. HAMMOND, Attorney at Law, 1544 Race St., Denver,
          CO 80206




                                  DARLENE M. MARTINEZ, RMR, CRR
                                     United States District Court
                                     For the District of Colorado

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      REDIRECT EXAMINATION BY MS. RHYNE                                     47

                         JAMES BARASH
      DIRECT EXAMINATION BY MR. HAMMOND                                     50
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                                  E X H I B I T S

     NO.                                                              ADMITTED

        1, 2      ..........................................                44


     No.                                                                REFUSED

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     1                                 MAY 10, 2018

     2             (Proceedings commence at 11:04 a.m.)

     3             THE COURT:     You may be seated.

     4             Court calls Criminal Case No. 17-cr-00168-CMA,

     5    encaptioned the United States of America v. Karen Lynne

     6    McClaflin.

     7             Counsel, would you please enter your appearances.

     8             MS. RHYNE:     Good morning, Your Honor, Pegeen Rhyne

     9    and Laura Hurd for the United States.                 With us at counsel

   10     table is Special Agent Melissa Tweet, of the IRS.

   11              THE COURT:     Good morning.

   12              MR. HAMMOND:     Good morning, Your Honor, I am Tom

   13     Hammond.    With me at counsel table is Matthew Werner.                He

   14     represents Ms. McClaflin in the civil collections suit, as

   15     well.    Ms. McClaflin is present.            She is seated to my

   16     right.    She is on, I believe, a summons, or it is a

   17     personal recognizance bond.

   18              THE COURT:     Okay.     All right.          For the record, the

   19     Court also notes that Officer Michelle Means, representing

   20     the United States Probation Office, is also in attendance

   21     at this hearing.      Good morning.

   22              PROBATION OFFICER:         Good morning, Your Honor.

   23              THE COURT:     Mr. Hammond, would you and

   24     Ms. McClaflin please approach the podium.                 The record

   25     shows that on June 21, 2017, pursuant to a plea agreement,

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     1    Ms. McClaflin entered a plea of guilty to and was

     2    convicted of two counts in an Information, the first

     3    charged violation of 18 United States Code Section 1343;

     4    wire fraud, and a second charged violation of 18 United

     5    States Code Section 1957; money laundering.

     6              We are here today for sentencing.                I have received

     7    and reviewed the full presentence investigation report,

     8    including on -- dated February 5, 2018, as revised on

     9    March 5, 2018, including all addenda thereto, especially

   10     the victim impact statements.

   11               I also reviewed Document No. 18, the defendant's

   12     objections to the presentence report.

   13               26, the defendant's doctor's letter.

   14               17, the Government's objection to the presentence

   15     report.

   16               19, the Government's motion for a 3-level decrease

   17     in offense level for acceptance of responsibility.

   18               15, the stipulation of loss and restitution.

   19               And, 20, the Government's motion for a variant

   20     sentence of 65 months.

   21               Are there any documents that I failed to identify

   22     that I should have reviewed in preparation for this

   23     hearing?

   24               MS. RHYNE:    No, Your Honor.

   25               MR. HAMMOND:     Yes, but I haven't been able to

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     1    provide them to the Court.

     2             THE COURT:     If you don't provide them to me before

     3    the hearing, I don't get to review them, do I?

     4             MR. HAMMOND:     That's correct, Your Honor.              That may

     5    be an issue for another hearing that I'm the subject of,

     6    and that is something that I will shoulder.

     7             I think that there are a couple things that the

     8    Court -- a couple documents that the Court should have.                   I

     9    have been late in getting some of those.                  I have been late

   10     in putting some of that together.               Some of it I have had

   11     for awhile, some of it not so long.

   12              The -- and I just need to put this into

   13     perspective.     May I have just a second?                I think you know

   14     me well enough after all of these years, I tend to get

   15     choked up on certain occasions, and this is certainly one

   16     of the biggest.

   17              The course of this case seems to be prolonged, but

   18     I submit to the Court that it is not.                 Ms. McClaflin was

   19     operating her business in, I believe it was March of 2017.

   20     She was confronted.      She admitted.            We -- the Government

   21     contacted me and Mr. Werner, and what happened was we

   22     pretty much came to a very quick resolution by virtue of

   23     an Information, not an Indictment.

   24              There was a plea, I believe, in a week, and we all

   25     agreed that it was necessary to continue the case for an

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     1    extended period of time for sentencing because of the role

     2    that Ms. McClaflin was playing, and continues to play,

     3    with the Receiver in this case, who is -- has, as I

     4    understand it, I believe it is around $6.5 million in a

     5    trust account that should be going to the named victims in

     6    this case.

     7             There is more than that.             And I can't -- I want to

     8    show the Court, and I would have liked to have provided

     9    the Receiver's plan of distribution.                 It does not -- I am

   10     going to go through this, if we have to go to the

   11     sentencing, with one of the witnesses today; why there is

   12     no date set certain that the current amount, the current

   13     pot of money cannot be distributed at this point in time.

   14              I wanted to also provide the Court with some

   15     additional information, and I will do that as well as I

   16     can.   Ms. McClaflin did two separate interviews, maybe

   17     three, within investigators from the Securities and

   18     Exchange Commission.       That was for an investigation that

   19     I'm not sure I can talk about, and I didn't get ahold of

   20     those agents yesterday.         I would be happy to approach the

   21     bench about that and explain that further.

   22              There is, as of this morning -- let me put it this

   23     way.   I think it was 6.4 million yesterday.               And as of

   24     today, it appears to be 6.5 million in the pot currently.

   25     That pot could grow, too, because there are a couple other

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     1    properties, which we can get into if we have to, and we're

     2    going to get into them at some point, and that could take

     3    it up to 7-and-a-half to $8 million.

     4             There is also a -- I will call it a suit, and that

     5    is a procedure that I am not aware of, because I am a

     6    criminal defense lawyer, and that is called claw back.

     7    And that is for people who made a lot of money, and claw

     8    back -- because the receivership is an equitable

     9    proceeding and everybody should be made whole, those folks

   10     who haven't been made whole -- those people who made more

   11     money than the other people who haven't been made whole

   12     may have to give money back.

   13              Then there is another step, and that is a civil

   14     suit that has been brought by the Receiver, as I

   15     understand it, to sue the bank, Integrity Bank and Trust,

   16     for their role in this, which, if it is resolved in the

   17     plaintiff's favor, could result in as much as a $10

   18     million verdict, which would take us somewhere over $4

   19     million above and beyond the restitution that is set out

   20     in the probation office's report.

   21              That is -- it is still unresolved.               And I

   22     understand that the Court has concerns about moving this

   23     case along.     We have been kind of stalled on the financial

   24     end, in terms of restitution, since about November 29th of

   25     2017.    That doesn't mean that Ms. McClaflin hasn't been

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     1    working with the Receiver every single day that she isn't

     2    getting medical care or in the hospital, because she has,

     3    in my understanding.       And if we have to, we will get into

     4    that.

     5             But, aside from that, the Court knows that I filed

     6    a motion to continue.        I filed two.          The first one was

     7    unopposed, because around -- somewhere right around the

     8    beginning of March of this year, I had information from

     9    Ms. McClaflin's doctor, from the hip ---the hip

   10     replacement doctor, I will call him.                 He is basically the

   11     hip doctor, and the physician's assistant, regarding the

   12     nature of the infection that Ms. McClaflin was

   13     experiencing and what would be, we anticipated, a surgical

   14     procedure that we would know about some time after May

   15     10th, today, -- sometime after May 10th, to determine

   16     which procedure that would be.

   17              As the Court is aware, I got information a few days

   18     ago, I think it was around the middle of last week, very

   19     frankly, right before I filed the motion.                 The

   20     information -- the first information was it appears that

   21     the infection is as low as it can be right now.                 But there

   22     is an additional thing that the doctors are saying; they

   23     don't think they want to do a procedure, but they're still

   24     looking into the nature of the infection.

   25              I think this is critically important, as critically

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     1    important as the potential to realize monetary gain and

     2    get people paid in the amount in which they invested.                     The

     3    reason I think the medical situation is that important is

     4    because I have not yet been able to determine if there is

     5    a facility in the Bureau of Prisons that is fully capable

     6    of dealing with Ms. McClaflin's medical issues.

     7             She has been fortunate in the last several years to

     8    have good insurance that has covered, I believe it is 300-

     9    to $500,000 in medical expenses, and it hasn't stopped.

   10     In addition, there are medications she has been taking,

   11     some of which I don't know how they resolve that in the

   12     Bureau of Prisons.

   13              I have some very teeny tiny amount of information

   14     that that might be accomplished or accommodated if the

   15     sentence was to a federal medical center, and that is what

   16     happened.    But I would like -- that is one of the reasons

   17     I wanted to have some additional time to find that out.                    I

   18     am still asking for that.

   19              THE COURT:     Denied.

   20              MR. HAMMOND:     I expected that.

   21              This is a case in which I have never seen like

   22     facts in the entire time I have been practicing in the

   23     United States District Court.            I would suggest that no one

   24     has seen the facts in a case like this.                   And, by that,

   25     what I mean is, and I would like to know --

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     1              THE COURT:   All right.          I want to go through with

     2    my sentencing.     Are you making your argument for

     3    sentencing?

     4              MR. HAMMOND:     That is what I am trying to find out.

     5              THE COURT:   I would like to go through my normal

     6    colloquy, and then we can get to your argument on her

     7    behalf.

     8              MR. HAMMOND:     And there are a couple witnesses I

     9    would like to call on behalf of Ms. McClaflin.

   10               THE COURT:   Let's move through, and then when we

   11     get to that point, you can call those witnesses.                 Who are

   12     they, and what are they going to address?                  I normally

   13     don't have witnesses at a sentencing hearing unless there

   14     is a dispute as to the presentence report.

   15               MR. HAMMOND:     I spoke to a bunch of people over the

   16     last evening.     The people who I would really like to call

   17     the most, Your Honor, are Mr. James Barash, who is the

   18     Receiver.    There is also a woman named Donna Klimas.                  She

   19     is -- she is someone who the Court has heard from, in

   20     terms of the fact that there is a letter in the materials,

   21     in the presentence report.

   22               I also received, either yesterday or the day

   23     before, an email from her, and spent a fair amount of time

   24     talking to her last night.            And I think that she presents

   25     a complete perspective, if the Court allows her to speak.

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     1             THE COURT:    As her friend?

     2             MR. HAMMOND:     I believe she is a friend.            She is

     3    somebody that --

     4             THE COURT:    I see there is a Klimas on here; Doug

     5    Klimas, who is a victim.

     6             MR. HAMMOND:     As well as Donna Klimas.

     7             MS. RHYNE:    Your Honor, if I may, as a victim, she

     8    has a statutory right to speak here today at the

     9    sentencing, not necessarily to testify.

   10              THE COURT:    I agree.        I am going to hear from the

   11     victims.    So if they want to come forward, they can make

   12     their statement.      But, what is the relevance of

   13     Mr. Barash's testimony?

   14              MR. HAMMOND:     I think it is critical that the Court

   15     understand the nature of what I had discussed earlier, and

   16     that would be in the form of testimony.

   17              THE COURT:    You should have let this Court know you

   18     wanted this scheduled for more than an hour because you

   19     wanted testimony.      You are set for an hour.            I have read

   20     what has been submitted by the Government, in terms of its

   21     motion for a variant sentence.             I have read what the

   22     probation officer put in its report.                 I am aware of the

   23     fact that the Receiver has been able to recover a

   24     significant amount of funds, much more so than I have ever

   25     seen in one of these cases, and that that is in part due

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     1    to the assistance of Ms. McClaflin.

     2             I don't know if we need to put on -- take any more

     3    time, unless you have something more he is going to offer.

     4             MR. HAMMOND:     I tried to give you an outline of

     5    what you have not heard.

     6             THE COURT:    What have I not heard?

     7             MR. HAMMOND:     About the state of the case on the

     8    receivership.

     9             THE COURT:    What impact does that have on my

   10     sentence?    Yes, the victims will be made somewhat whole,

   11     not entirely.     I understand, based on the report, there is

   12     about another million 4 or something still out there in

   13     assets that he is trying to liquidate, which would bring

   14     the total up to, maybe, 7.           But he has to take into

   15     account his fees, which are currently in excess, as I

   16     understand, 500,000; half a million.                 So I understand all

   17     of that.

   18              What else is he going to give me?

   19              MR. HAMMOND:     I think you would need to hear from

   20     him about the plan of distribution, what has and hasn't

   21     happened in El Paso County District Court with respect to

   22     the receivership and where that stands, and get more exact

   23     details regarding what else can be done.                  I think that is

   24     very important for the Court to hear.

   25              It is also important for the Court to hear from

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     1    Mr. Barash.    And I expect him to say that Ms. McClaflin's

     2    help has not only been critical, it still is.                It is

     3    ongoing.    And I think the Court needs to understand and

     4    put that in perspective as a factor in sentencing.

     5             THE COURT:    Ms. Rhyne?

     6             MS. RHYNE:    Your Honor, we don't believe the

     7    outcome of the Receiver's litigation should cut for or

     8    against Ms. McClaflin.        Mr. Hammond presents a very

     9    optimistic view.      I hope he is right.             There is also a

   10     chance they will not prevail in the litigation, and the

   11     victims will recover nothing.            She will not be punished

   12     for a negative outcome, nor should she be rewarded for a

   13     positive outcome.

   14              At this point, the litigation is in the Receiver's

   15     hands, and she does not get credit for that.                She has been

   16     awarded, through the Government's motion -- excuse me, I

   17     should take that back.        A recommendation that she be

   18     rewarded through the Government's motion of a 25 percent

   19     downward variance from her bottom-of-the-guideline range

   20     for her effort.     She does not need additional testimony to

   21     support the facts that are attributed to her at this

   22     point.

   23              THE COURT:    All right.         I agree with the

   24     Government.    I don't think I need any testimony from the

   25     Receiver.    I have received considerable information on

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     1    that, and it will not impact the statement -- the sentence

     2    I impose.

     3             Do you have other witnesses you wish to present?

     4             MR. HAMMOND:     I did mention Ms. Klimas.

     5             THE COURT:    She is a victim.             She can make

     6    statement.    She will not be a witness.

     7             MR. HAMMOND:     Another potential person I spoke to,

     8    I don't know exactly what his position is about, whether

     9    or not he wants to say something.

   10              THE COURT:    What is his name?

   11              MR. HAMMOND:     Can I have a -- I would rather not

   12     say right now.     I understand --

   13              THE COURT:    Well, we are either going to have

   14     testimony, Mr. Hammond, or we are not.                    And I have to move

   15     this hearing along.      So, if you want to come to the bench

   16     and give me his name, we can go through that.                   If he is a

   17     victim, he can make his statement as a victim.                   But,

   18     otherwise, I am not taking testimony.

   19              MR. HAMMOND:     He is a victim.

   20              THE COURT:    He can make his victim statement if he

   21     wishes to when I ask for them to make their statements.

   22              MR. HAMMOND:     I would ask for a brief break to be

   23     able to ask him about that.

   24              THE COURT:    Overruled.         We are going to move

   25     forward.

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     1              MR. HAMMOND:     I am not asking for the moon here,

     2    Your Honor, I am asking for 5 minutes.

     3              THE COURT:   If he wants to make a statement,

     4    Mr. Hammond, he can make a statement when I ask them to do

     5    that.   I will not take a break.

     6              All right.   Getting back to the sentencing hearing,

     7    have you had enough time, Mr. Hammond, to review the

     8    presentence report with Ms. McClaflin?

     9              MR. HAMMOND:     Yes.

   10               THE COURT:   Did you explain the contents of that

   11     report to her?

   12               MR. HAMMOND:     Yes.

   13               THE COURT:   Do you have any concerns about her

   14     ability to understand the contents of that report?

   15               MR. HAMMOND:     No.

   16               THE COURT:   Ms. McClaflin, did you get a copy of

   17     the presentence report?

   18               THE DEFENDANT:      I did.

   19               THE COURT:   Did you read it?

   20               THE DEFENDANT:      Yes, ma'am.

   21               THE COURT:   Did Mr. Hammond explain its contents to

   22     you?

   23               THE DEFENDANT:      Yes.

   24               THE COURT:   Do you understand the contents of the

   25     report?

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     1             THE DEFENDANT:      I do.

     2             THE COURT:    All right.         Mr. Hammond, Ms. Rhyne,

     3    both of you filed objections to the presentence report.

     4    So the Government and the defendant object to paragraphs

     5    32 and 43 of the report, which asserts that the instant

     6    offense resulted in substantial financial hardship to 25

     7    or more victims, and thus applied the corresponding

     8    6-level enhancement pursuant to United States Sentencing

     9    Guideline Section 2B1.1(b)(2)(C).

   10              The Government notes that at the time the plea

   11     agreement was entered into with Ms. McClaflin, the

   12     Government did not have the evidence to support this

   13     enhancement, and the plea agreement only included a

   14     2-level enhancement.

   15              The Government also indicates that the enhancement

   16     requires a victim-by-victim analysis, and the Government

   17     bears the burden of proving to the Court by a

   18     preponderance of the evidence that this enhancement should

   19     apply.   And the Government requests that the Court accept

   20     the calculation in the plea agreement.

   21              As such, Ms. Rhyne, am I to take your pleading as

   22     indicating that you are not going to meet the burden that

   23     the Government has to prove that the enhancement applies?

   24              MS. RHYNE:    Correct, Your Honor.

   25              THE COURT:    All right.         The Government is correct

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     1    that the -- there is a burden on the Government to prove

     2    that the enhancement applies.            The failure of the

     3    Government to protect the interest of the public by

     4    shirking its responsibilities to meet this burden,

     5    especially in a case as egregious of this, cannot tie this

     6    Court's hands in calculating the appropriate guideline

     7    sentence.

     8             In circumstances like this, where a massive fraud

     9    has been perpetrated, to the tune of 14 million, which

   10     is -- 14 million plus, which is admitted by the defendant,

   11     loss to the victims in that amount, proof of application

   12     of enhancement can be established by the victim impact

   13     statements.

   14              Both the Court and the probation office have

   15     conducted the victim-by-victim analysis that the

   16     Government fails to do.         This Court has reviewed all of

   17     the victim statements and declarations of loss that are

   18     attached to the presentence report.

   19              Ms. McClaflin, as I indicated, admits that the

   20     total loss to the victims in this case exceeds $14

   21     million.    Applying the test set forth in Note 4(F) to the

   22     United States Sentencing Guideline 2B1.1, the Court's

   23     review confirms that there were more than 90 investors who

   24     were defrauded.

   25              And in reaching this number, this Court did not

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     1    count separately the husband and wives who invested

     2    together; in other words, the Court counted them as one.

     3    Approximately 63 of these victims filed victim impact

     4    statements.    And, again, this Court is not counting the

     5    individually the victims who were husband and wife

     6    couples.

     7             All 63 indicated that they suffered significant

     8    financial loss from their retirements or other savings or

     9    investment funds.      In addition, 28 victims indicated that

   10     they had to make substantial changes to their employment,

   11     including postponing retirement or going back to work

   12     after having retired, or made substantial changes to their

   13     living arrangements, such as having to sell their homes

   14     and relocate to a smaller, less expensive home; selling

   15     their home and moving in with someone else; or selling the

   16     family farm or home to just make ends meet.

   17              Again, in reaching this number of 28 victims

   18     reporting substantial changes to employment and living

   19     arrangements, this Court did not count as separate those

   20     victims who were husband and wife, otherwise the number of

   21     victims reporting substantial hardship based on these

   22     factors would have been much higher.

   23              A number of victims indicate that they now have to

   24     support their elderly parents because they invested both

   25     their retirement savings, as well as their parents'

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     1    savings, in Ms. McClaflin's fraudulent scheme.

     2             The defendant's fraud resulted in substantial

     3    hardship to both parents, whose funds were invested, and

     4    their children, who thought they were making sound

     5    investments for the parents and themselves.

     6             Thus, the Court finds that the 6-level enhancement

     7    of 2B1.1(b)(2)(C) for an offense that resulted in

     8    substantial financial hardship to 25 or more victims was

     9    properly assessed.      The defendant's objection is

   10     overruled.

   11              Mr. Hammond, you may make any statement for the

   12     record that you wish to make.

   13              MR. HAMMOND:     It is the Government's objection,

   14     Your Honor, not the defendant's.

   15              THE COURT:    I am sorry?

   16              MR. HAMMOND:     It is the Government's objection.

   17              THE COURT:    You objected, as well.

   18              MR. HAMMOND:     I did.

   19              THE COURT:    Do you wish to make any statement for

   20     purposes of your record on appeal?

   21              MR. HAMMOND:     I do not.

   22              THE COURT:    All right.         Does the Government wish to

   23     make any statements for purposes of the record on appeal?

   24              MS. RHYNE:    No, Your Honor.            Thank you.

   25              THE COURT:    All right.         The defendant's objection

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     1    to paragraph 57 was resolved by removal of that conviction

     2    from the presentence report.

     3             Mr. Hammond, are there any additional objections

     4    that the defendant would like to make at this time?

     5             MR. HAMMOND:     No.

     6             THE COURT:    Ms. Rhyne, does the Government wish to

     7    make any objections at this time?

     8             MS. RHYNE:    No, Your Honor.

     9             THE COURT:    All right.         The Government has filed a

   10     motion pursuant to United States Sentencing Guideline

   11     Section 3E1.1(b) requesting that this Court grant the

   12     defendant a full 3-level decrease in offense level for

   13     acceptance of responsibility.            That motion, Document No.

   14     19, is granted.

   15              At this time, Mr. Hammond, you and Ms. McClaflin

   16     can have a seat.      I am going to hear from any victims who

   17     wish to come forward.

   18              MS. RHYNE:    Mr. Tinkle.

   19              THE COURT:    If you could just state your full name,

   20     and then spell it for the record.

   21              VICTIM TINKLE:      Yes, ma'am.          Good morning.   My full

   22     name is David Wayne Tinkle, Jr., T-I-N-K-L-E.

   23              THE COURT:    All right.

   24              VICTIM TINKLE:      And I think I am almost reading off

   25     of your script there, because I represent my father.                I am

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     1    the power of attorney over him.              He is brain injured and

     2    disabled.    He didn't make it here today; it wouldn't be

     3    practical.    My wife, also, Robin and I, we all three

     4    invested into the scheme.          And my father became brain

     5    injured when I was an infant, so I have only know him like

     6    that.

     7             And that is something that I conveyed to Karen when

     8    meeting with her about investing, in going forward with

     9    this deal.    She commiserated with me, because she admitted

   10     that she is also taking care of elderly father, as well.

   11     So we had a common bond there.

   12              And so all of my life growing up -- and, again, I

   13     am 50 years old.     My father had his accident in June of

   14     '68.    He has lived below the poverty line.              I was raised

   15     in poverty.    He has not filed taxes any year since then.

   16              And so it happened to be that he and his siblings

   17     had investments in some property that sold, and in late

   18     2016, his windfall was put into this.                 He received one

   19     interest payment before this all blew up.                 I received

   20     three.   My wife, zero.       She got in probably within a few

   21     hours of this coming to a head.

   22              So we were the latest ones to the game.               And,

   23     again, I believe I had full faith.                I was being the good

   24     son.    I brought him this investment opportunity that

   25     turned out to go sour.

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     1             Yeah, and so meeting with Karen across the table,

     2    she had no problem, once knowing his financial and

     3    physical condition, taking the $100,000 in exchange for

     4    what I believed to be was known as an invalid or useless

     5    deed of trust and promissory note.

     6             Because of the fraud portrayed upon my father, not

     7    only would he fail to receive the agreed upon monthly

     8    payments, and to raise his standard of living at the

     9    poverty line, but his last bit of treasure was now

   10     completely erased.

   11              The stress he incurred lead to various

   12     stress-related illnesses, landing him in the ER and then a

   13     rehab facility for 20 days.           Medicaid only paid for 20

   14     days, so he was discharged back home, where once again he

   15     relapsed and had to go into ER, and now I am scrambling to

   16     find him a Medicaid or VA facility for him to be re-homed

   17     in.   He is in his 70s, and moving.               Here, is impractical,

   18     because of the altitude and stairs in our home, and all of

   19     that.

   20              And his options for relocation are limited due to a

   21     lien on his home.      He has a reverse mortgage.           And, of

   22     course, he has been borrow as much to survive.               He

   23     receives about $330 a month on Social Security, and that

   24     is his only income.      And, of course, I chip in a bunch.

   25              I am not looking for anything out of that, but it

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     1    has been about $20,000 from my family that has been help

     2    to pay for him to live.         So that is my father.

     3             For my wife, Robin, she and I both separately

     4    invested $50,000.      For us, it has been a re-defined

     5    future, and our injured relationship.                 Not only is there a

     6    very understandable and palpable air of disappointment my

     7    father has in me from my lack of wisdom, my wife also has

     8    this, and, of course, it causes stress on our marriage.

     9             And, of course, we've talked about her returning to

   10     the workforce, but she also has a mother with dementia.

   11     And we are both only children, so we have to take care of

   12     our folks.    So Robin returning to the workforce is not

   13     practical at this time.

   14              We also have a daughter who has learning to drive,

   15     and she wants to go to college.              How we are going to pay

   16     for that, of course, it is an ongoing conversation due to

   17     our reduced funds and resources.

   18              And our daughter has been on a life-long asthma

   19     plan, and house we moved into has pets, so we have to get

   20     rid of all of the carpet, that has been delayed.                And so

   21     she keeps a rescue inhaler on hand.                And so we are having

   22     to deal with that.

   23              Oh, I don't know why I mention this, but any

   24     vacation plans, they are deferred, completely dashed for

   25     the time being.

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     1             My wife, Robin, requires medication to fall and

     2    remain asleep due to the anxiety and stress, and that has

     3    been ongoing.

     4             And, of course, I have a security clearance for my

     5    job.   Of course, I come up for review every few years to

     6    make sure I can keep that job.             And any time that there is

     7    a financial hiccup, they look at that as potential for,

     8    well, maybe we don't give this clearance to this guy, and

     9    that limits my employment opportunities.                   I hope it

   10     doesn't happen but, certainly, if it does, I can see how.

   11              And so our past, present, and future have all been

   12     permanently altered due to this event.                    And for all of

   13     this, we don't seek revenge, but we do insist on judgment,

   14     and a full measure of it.          Thank you.

   15              THE COURT:    All right.         Thank you, Mr. Tinkle.

   16              MS. RHYNE:    Mr. Sims.

   17              THE COURT:    Spell your name.             First spell it for

   18     the record.

   19              VICTIM SIMS:     I'm Cecil Dean Sims S-I-M-S.

   20              Your Honor, we request that you deliver the maximum

   21     penalty.    If Ms. McClaflin was sentenced to 1 year for

   22     every year that she stole from the lives of her victims,

   23     we believe it would be -- would exceed the maximum

   24     penalty.

   25              Personally, she caused us financial loss, marital

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     1    stress, unnecessary worry, loss of sleep, loss of

     2    appetite, hundreds and hundreds of wasted hours.

     3             Jointly, her schemes have cost the victims' health,

     4    security, and the ability to care for ailing parents, like

     5    we just heard.

     6             We lost savings, which forced us to change our

     7    retirement plans.      If not reimbursed, we will be required

     8    to work years to rebuild our hard-earned savings.               Our

     9    futures have been altered by Ms. McClaflin's crime.

   10              Karen lived a lavish lifestyle at the expense of

   11     her victims.     She flaunted diamond-studded jewelry,

   12     expense cars, houses, land, and exotic vacations in front

   13     of us and others.

   14              I would categorize her as a master con artist that

   15     operates without remorse or regret.                Karen preys on

   16     trusting members of society that are vulnerable or in need

   17     of assistance.     The ruthlessness of her chosen con is that

   18     she feigns support, offers a helping hand in need, or puts

   19     on a good samaritan act, while she openly deceives and

   20     steals from the people she is pretending to help.

   21              Specifically, she lied to us about the value of the

   22     properties; HomeSource's ownership of the property; the

   23     number of lenders allowed to invest in the properties.

   24     She told us that our investment funds would be used to

   25     improve properties; instead to pay other investors.

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     1             She lied about HomeSource's profitability and

     2    filing our deeds of trust with the county.                We invested in

     3    properties, two specifically.            The ones that are involved

     4    in this case were never upgraded or never refurbished and

     5    sold at a discount.

     6             To further characterize Karen's heartlessness, I

     7    wanted to share one personal account.                 On November 16th, I

     8    was hospitalized for 37 days, requiring two emergency

     9    surgeries.    And I almost died.           Hospital bills amounted,

   10     exceeding a quarter of a million dollars.

   11              Karen McClaflin was made aware of my condition in

   12     early December, while I was still in the hospital, and

   13     both loans mentioned came due.             With full knowledge of my

   14     condition and her fraudulent activities and the collapsing

   15     state of the HomeSource Partners, Karen encouraged us to

   16     extend the fraudulent loans, promulgating her lies, and

   17     acting, in my opinion, without conscience.

   18              And this is a what if, Your Honor.               If I had died,

   19     my wife would have been forced to sell our home and become

   20     the financial provider while being cheated by

   21     Ms. McClaflin.

   22              Your Honor, please do not be deceived by Karen

   23     McClaflin's support and cooperation in this case.                We

   24     request that the Court disregard Karen's self-serving

   25     cooperation and research of the case.                 Karen is providing

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     1    help, however, she does this with self-serving, dishonest,

     2    and fraudulent motives.

     3             She acts without conscience, shame, or forethought

     4    to the impact of others.         We request that the Court

     5    deliver the maximum sentence to Karen McClaflin, including

     6    mandatory restorative therapy; a punishment that is

     7    commensurate with her crimes; and we request that the

     8    Court order a full restitution be made to us and other

     9    injured parties.

   10              And to Karen, not be confused that consequences and

   11     forgiveness are two different things.

   12              Thank you, Your Honor, for the opportunity to share

   13     this information in person.

   14              THE COURT:    Thank you, Mr. Sims.

   15              MS. RHYNE:    Rick Jackson.

   16              THE COURT:    Good morning.

   17              VICTIM JACKSON:       Richard Jackson, J-A-C-K-S-O-N.

   18              I am speaking today on behalf of my wife, myself,

   19     and my mom.    We had just retired, and we thought, "we made

   20     it."   We were free from schedules and from the demands of

   21     work, and had begun to live out our retirement dreams, but

   22     this crime dramatically changed them.

   23              Our trust was broken; still is broken.               We now look

   24     at life through a different lens.               We are suspicious.   We

   25     are anxious.     We have an insecure future.              And the joy of

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     1    our life is vanished, and we feel like our future is gone.

     2             Our retirement has just plain disappeared.                The

     3    stress of this Ponzi scheme has challenged our 44-year

     4    marriage.    It has caused us to -- sorry.                It has been the

     5    most difficult thing we have faced in our marriage.

     6             We have lots of nights where we stress at the

     7    bills.   We stress over the future.               We stress over how we

     8    are going to be able to help our parents.                 Pearl's mom and

     9    dad are 89 and 88.      My mom is 96 and in assisted living.

   10     And we don't see how we are going to have the resources to

   11     help.

   12              We worry about the increasing costs of living and

   13     about the devaluation of the possessions we have.                 Our

   14     home used to be filled with joy and laughter and music and

   15     dancing and entertaining friends and family, and it is now

   16     closed in.    It is a quiet place.            Our conversations used

   17     to flow easily, but they have become very quiet.

   18              Before we invested with Karen, we did the best

   19     research we could.      She came recommended highly from a

   20     neighbor.    And he invested with her for over 10 years

   21     without problems.

   22              We talked about the safety -- we talked with Karen

   23     about the safety of our investment opportunity, and she

   24     said that in all of the years she had been investing for

   25     people, she had never lost anybody's principal.

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     1              When we expressed concern about, what would happen

     2    if you didn't show up one day?             What if you were to die?

     3    And she explained that she had a business continuation

     4    plan that was funded by a keyman insurance policy, and

     5    that she had an advisory board that included an attorney

     6    and an accountant.      And she had been cross training her

     7    employees so that they could provide a smooth transition

     8    for the investors if that were to happen.

     9              We also read in the Colorado Business Journal of

   10     what a great job she was doing for investors.                   They just

   11     sang her praises.      We researched with the Better Business

   12     Bureau and found that she had an A+ rating.                   We couldn't

   13     find anything negative on the internet.

   14               Like Dave and like Dean, we don't come from a

   15     wealthy background.      I worked for 48 years, setting aside

   16     money.    We both worked full-time and part-time jobs to set

   17     it aside.    We were diligent in the way we saved.                 We

   18     didn't go on vacations.         We snuck Cokes and popcorn into

   19     movies.    We tried the best we could.

   20               But, we were able to put together $720,000.                   And we

   21     felt we had a pretty secure retirement.                   But that $720,000

   22     was taken away, and 250-additional-thousand dollars taken

   23     from my mom at 96 years of age.              And she knew those were

   24     her last dollars.

   25               She stripped us of our dignity.                 She destroyed our

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     1    ability to provide in old age.             No more plans of travel or

     2    opportunities or hobbies or our ability to be generous

     3    with our parents or our children or with this community.

     4    We have had to reduce what we give the church.             And all of

     5    this because of fraudulent activity.

     6             Our monthly income was suddenly reduced to a single

     7    Social Security income, a small public school pension, and

     8    limited savings.      We got to the point where we now are

     9    doing thing like postponing haircuts and trying to take on

   10     -- we have a small home business we were about to shut

   11     down.   We now have tried to revitalize that.             I have gone

   12     back to work in order to pay for our house and for our

   13     cars.   We are literally pinching everything we can.

   14              My move still has $4,100 -- excuse me, we moved her

   15     from a $4,100 a month facility to one that was more around

   16     3,600, trying to save in that manner.

   17              We just don't understand how knowing the impact

   18     this could have on people, how someone could continue to

   19     go on and promote this kind of activity.

   20              So, like the others, we seek a fair and just

   21     punishment.    And if she is able to restore, we would be

   22     willing to consider a lesser punishment, but the

   23     punishment she has given us is a long-term punishment.

   24              THE COURT:    Thank you, Mr. Jackson.

   25              MS. RHYNE:    Paula Greco.

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     1              VICTIM GRECO:     Paula Greco.

     2              I will describe how Karen McClaflin gained my

     3    confidence in her mission to steal my money by pretending

     4    to be my friend.     She first started working with my

     5    ex-husband, and I met her through him.                    She gave him 10

     6    percent on his investment to help support his Christian

     7    school.

     8              He and I divorced and sold our home.                 Karen knew I

     9    had just divorced and sold the home and had some money.

   10     That money took me 34 years to earn as a special education

   11     teacher.    I worked for 21 years in a New York City inner

   12     city school, where I taught minority young men to read,

   13     and then continued to teach here in Colorado Springs for 8

   14     more years at the time of my divorce.

   15               I contacted Karen to help me find a house.                 She

   16     took me out a few times to look at homes, even though she

   17     said she usually didn't do that.              She invited me to come

   18     into office to obtain an LLC to protect my assets; how

   19     ironic, and for $50 acquired in LLC for me.

   20               It was then that she sat with me through tears and

   21     anguish other my divorce, as we had many heartfelt talks

   22     in her office.     Karen would stop whatever she was doing to

   23     be kind, supportive, and caring.              She encouraged me that

   24     life will be so much better.

   25               She then offered to be the realtor for the purchase

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     1    of my new home, and would not accept payment for that job.

     2    She offered me the same investment she offered my

     3    ex-husband, so that she could help me out.                Karen promised

     4    that my investment would be safe if anything ever happened

     5    to her or to HomeSource Realty, because I would own a

     6    piece of property, and that I had a deed of trust.

     7             After I bought my home and purchased furniture, I

     8    then reserved 60K, $60,000 to invest with Karen on April

     9    10, 2014.    A few weeks later, Karen called asked if I

   10     would invest $15,000 more; she was waiting on a bank to

   11     make a large transfer, and she was in a bind.               This time I

   12     would get 12 percent, as I would get 10, and then two

   13     points at the time of sale of property.

   14              On my promissory note, she affixed a note, a

   15     Post-It that said, "Thank you so much for doing this, but

   16     more importantly, for your hand in friendship and love.

   17     Hugs, Karen."

   18              Karen promised me that I would receive monthly

   19     interest payments until the homes were sold, whereby I

   20     would get my principal investment returned to me.               I now

   21     know that the first property I invested $60,000 in on

   22     April 2014 was sold on May 16, 2015, and not only was I

   23     never notified and interest payments kept coming, but on

   24     the ONE report, my name was never filed.

   25              The second report, the second property where I

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     1    invested 15,000 on May 21, 2014, the ONE report had a list

     2    of five investor who invested from 146,000 to 200,000, and

     3    I was not on that list.         That house was sold less than 2

     4    months after my investment and, again, I was not notified,

     5    and interest payments kept coming.

     6             Karen knew how vulnerable I was, and believe that

     7    therein lies the tragedy; to be so devoid of humanity to

     8    prey upon me at my lowest point, to seize the opportunity

     9    of my vulnerability of pain for her gain, speaks volumes

   10     to the depravity of Karen McClaflin.

   11              I have heard attorneys -- sorry.                 I have heard

   12     attorneys say in court, in reference to this case, and in

   13     reference to those in first position, that their clients

   14     should be reimbursed because they have done nothing wrong.

   15     Well, I have no position thanks to the slippery dealings

   16     of Karen McClaflin.      But I believe I have done nothing

   17     wrong, and I have the right to restitution as well as

   18     anyone else.     Thank you.

   19              THE COURT:    Thank you.

   20              MS. RHYNE:    Mr. Koch.

   21              And, Your Honor, for the court reporter, Greco is

   22     spelled, G-R-E-C-O.

   23              VICTIM KOCH:     My name is Jeffrey Koch, K-O-C-H.              I

   24     first learned of Karen through my brother, who had

   25     invested with her about a year earlier, and he said, oh,

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     1    she is a great Christian woman.              No problems.   And I was a

     2    little bit hesitant, but like some of the other victims, I

     3    did my homework, and everything seemed to be on the up and

     4    up.   And I am a very trusting person, or I was.

     5             Sorry.    I did have a few doubts, so I brought my

     6    most cynical friend that I know.              He, too, was a realtor,

     7    and we went to her office, and she was point on about

     8    everything.    We did -- after we got home, we did some

     9    number crunching for about a week, and he said, man, she

   10     has got a gold mine.

   11              If she buys and sells -- and even though we get

   12     between 6 and 8 to 10 percent on investment, she is going

   13     to make well over 1.5 to 2 million a year if she would

   14     have done it.

   15              Well, with the number crunches, I went there to

   16     talk to Karen, and I am that "all in" type of guy.              Well,

   17     we invested, and she told me that I would be the first

   18     person on the deed of trust, and that they would go to --

   19     after I put it in there, they would go down to the

   20     courthouse and file it, which they never did, so a month

   21     later I did it.

   22              She just said it was an error on her secretary's

   23     part, which, again, I am a trusting person.               Thank God I

   24     didn't invest any more.

   25              I was number, I believe, number four and number six

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     1    on the properties once I did do the deed of trust.                   And on

     2    one of them, one of my brothers, who could not be here

     3    today, she didn't even own -- or HomeSource did not even

     4    own the property that she had him invest in.                 I said, wow.

     5             I agree with the victims that have come before me,

     6    especially Mr. Sims.       My wife has to continue to work

     7    because of this.      And thank God I am able to watch my

     8    granddaughter -- my daughter and son-in-law have full-time

     9    jobs -- which is the best job I have ever had.

   10              I have become friends with another victim, who I

   11     spoke with today.      She is a very nice lady.             But I have

   12     waited, and I hope you get at least half to full maximum

   13     sentence for what you have done.              Thank you, Your Honor.

   14              THE COURT:    Thank you, Mr. Koch.

   15              MS. RHYNE:    Donna Klimas.

   16              VICTIM KLIMAS:      Donna Klimas.            Last name is

   17     K-L-I-M-A-S.

   18              Karen and I became personal friends after we

   19     invested.    We originally started with Trademark

   20     Properties, and then it transitioned over to Home

   21     Partners.

   22              Do I feel betrayed by what happened?                Absolutely,

   23     yes.   How someone could lie to a friend.                 Yet I know deep

   24     down in my heart that Karen never intended to lose

   25     people's money.     She started her business with high hopes

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     1    of success, like all business owners do.

     2             I think we all need to acknowledge to ourselves

     3    that we were being greedy by believing that Karen could

     4    provide us with such a high rate of return on our money.

     5    Do we need to take some responsibility for what happened

     6    to us?   Yes, we do.

     7             Does she need to take responsibility for her

     8    actions?    Yes, she does.       Is what happened devastating to

     9    all of us?    Yes.    We are in for well over a half a

   10     million.

   11              We did, however, choose to participate, and did not

   12     do the due diligence we should have done.                 Since the

   13     failure of the business, she has done everything she

   14     possibly can to help right the wrong.

   15              I have forgiven her, just as God would ask all of

   16     us to do.    Life is about people; caring for them and

   17     loving them.     It is not all about money.

   18              God said, "let he that is without sin be the first

   19     to a cast stone."      Thank you.

   20              MS. RHYNE:    Your Honor, at this time, there is just

   21     the unknown person who will or will not speak.

   22              THE COURT:    Is there anybody else who wishes to

   23     come forward?     Please do.

   24              And are you a victim?

   25              VICTIM HENSON:      Yes, I was an investor of $110,000.

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     1              THE COURT:   State your name, and spell it for the

     2    record.

     3              VICTIM HENSON:     Cynthia Lynn Henson, H-E-N-S-O-N.

     4              It is a terrible and terrifying experience to have

     5    lost my investment.      But, to have Karen be incarcerated,

     6    it is not going to get my money back or their money back.

     7    Having Karen go to prison is not going to right this

     8    wrong.

     9              I think justice could be better served by keeping

   10     her on the job, assisting in the recovery of our money

   11     with Mr. Barash, no matter how long it takes.

   12               Since there are many things in the works; Integrity

   13     Bank lawsuits, selling more of HomeSource assets, I mean,

   14     think about it.     It is her files, her system.          She knows

   15     where to access these mounds of information to quickly

   16     receive -- to quickly get the information for the Receiver

   17     and the accountant, which saves our money in the long run,

   18     from paying the salaries to the Receiver or the

   19     accountants that would recoup our money.

   20               The Bureau of Prisons is not set up for this

   21     fragile woman.     From 2013 to this date, today, Karen has

   22     endured 11 hip replacement surgeries, medications,

   23     physical therapy, the Center of Disease Control, and she

   24     is running HomeSource Partners in between all of this.

   25     This infection is still growing right now.

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     1              If she goes to prison or is incarcerated, there is

     2    our tax dollars again paying for that.                    She is better

     3    served to be in her office to help recoup our money.

     4    Bottom line, this case is like no other.

     5              Whatever the legal term is, Your Honor, probation,

     6    extended sentence, house arrest, bracelets on her arms and

     7    legs, please let her right this.

     8              And, for the record, I feel she has had

     9    insufficient counsel.        Tom Hammond called me at 5:30 last

   10     night to see if I would be speaking on Karen's behalf.                     In

   11     our conversation, I asked him, did he feel prepared.                      He

   12     laughed and said, "I'm not prepared.                 She's going to

   13     prison.    Don't even think about probation."

   14               Somehow I brought up money, he said he was getting

   15     pennies on the dollar.        So, is he prepared?             Did he put

   16     all of the effort into Karen McClaflin's case because he

   17     got paid up front?      Is it something that she -- this is

   18     this woman's life.      This is this woman's life.               She needs

   19     to be out of prison, out of incarceration to help

   20     recuperate our money.

   21               Thank you, Your Honor.

   22               THE COURT:   All right.         Thank you.

   23               Is there any other victim who would like to speak?

   24               All right.   The total offense level in this case is

   25     33.   The defendant's Criminal History Category -- I am

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     1    sorry, Ms. Rhyne?

     2              MS. RHYNE:   I apologize, Your Honor, I will defer

     3    to the Court's judgment, but there were two enhancements

     4    that were left open to dispute in the plea agreement.                   I

     5    know one was resolved by a stipulation.                    I am concerned

     6    that the 2-level enhancement for the $1 million coming

     7    through a financial institution, while not objected to, is

     8    not factually supported in the plea agreement, and I would

     9    like a very brief opportunity to put that on the record.

   10               THE COURT:   All right.          Yes, then you may.        Because

   11     there was no objection, I didn't see there was anything

   12     else.   Move forward.       Go ahead.

   13               MS. RHYNE:   Thank you, Your Honor.                The Government

   14     calls Melissa Tweet.

   15               COURTROOM DEPUTY:        May I have your attention,

   16     please.

   17               Would you raise your right hand.

   18                                  MELISSA TWEET

   19     having been first duly sworn, testified as follows:

   20               THE WITNESS:     I do.

   21               COURTROOM DEPUTY:        Please be seated.

   22               Please state your name, and spell your first and

   23     last names for the record.

   24               THE WITNESS:     Melissa, M-E-L-I-S-S-A, Tweet,

   25     T-W-E-E-T.

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     1              MS. RHYNE:   Your Honor, before I proceed, I would

     2    like her to testify to restitution, which has not been

     3    stipulated to at this point.

     4              THE COURT:   All right.

     5              MS. RHYNE:   Thank you.

     6                            DIRECT EXAMINATION

     7    BY MS. RHYNE:

     8    Q.      Ms. Tweet, where do you work?

     9    A.      IRS Criminal Investigation.

   10     Q.      What is your role there?

   11     A.      I'm a criminal investigative special agent.

   12     Q.      There should be exhibits in front of you.             Do you see

   13     them?

   14     A.      I do.

   15     Q.      What is Exhibit 1?

   16     A.      It is the chart I created for the loss per investor.

   17     Q.      And what records did you review when you put together

   18     this calculation for restitution and loss?

   19     A.      Deeds filed with El Paso County.              Investor files

   20     provided by Ms. McClaflin.           QuickBooks records.       Bank

   21     records.    Settlement statements.

   22     Q.      Did you also review victim impact statements?

   23     A.      I did.

   24     Q.      And the QuickBooks records that you referred to, do

   25     those belong to HomeSource and Trademark?

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     1    A.    They did.

     2    Q.    The investor files you referenced, were -- they were

     3    from HomeSource and Trademark?

     4    A.    They were.

     5    Q.    To be clear, are the investments that you calculated

     6    for purposes of loss and restitution, investments that

     7    relate to investment that were made into HomeSource and

     8    not Trademark?

     9    A.    Correct.    I did include investments that were made to

   10     Trademark that were transferred into HomeSource.

   11     Q.    So if there was evidence of those specific

   12     investments being rolled into the new company, you did

   13     include them?

   14     A.    I did.

   15     Q.    But if there was an investment specifically into

   16     trademark, the prior company, that was not rolled over,

   17     did you include that?

   18     A.    I did not.

   19     Q.    Is that because the scope of the conduct charged here

   20     was the fraud committed at HomeSource?

   21     A.    Yes.

   22     Q.    And did you also learn that in doing your

   23     calculations, some victims had received interest and other

   24     payments that exceeded the amount of the original

   25     principal investment?

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     1    A.    Yes.

     2    Q.    Where that occurred, did you include those victims in

     3    your loss chart?

     4    A.    I did not.

     5    Q.    Where a victim was not yet made whole but received

     6    credits against their principal, can you explain the

     7    methodology you used?

     8    A.    I looked at the properties that were still

     9    outstanding and the amounts that were outstanding, and

   10     then I subtracted out any interest or points payments.

   11     Q.    And so what is left on this chart is the principal

   12     investment minus any payment to that victim for interest

   13     or fees?

   14     A.    Correct.

   15     Q.    And were there also evidence of loans that were made

   16     personally to Ms. McClaflin that were not part of the

   17     scheme that was charged?

   18     A.    There were.

   19     Q.    Did you include those loans in this chart?

   20     A.    I did not.

   21     Q.    What was the total amount of loss and restitution you

   22     were able to calculate based on your analysis of those

   23     records that you discussed?

   24     A.    $14,528,206.39.

   25     Q.    And approximately how many hours did you spend

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     1    creating and reviewing this chart for accuracy?

     2    A.    Approximately a thousand hours.

     3    Q.    Around a thousand, or in excess of a thousand?

     4    A.    In excess.

     5    Q.    Do you have a specific number that you can tally?

     6    A.    I do not.

     7    Q.    Moving on to Exhibit 2 what is Exhibit 2?

     8    A.    It is a 302 prepared by FBI Special Agent Jonathan

     9    Wayne Cronan.

   10     Q.    For those of us who aren't law enforcement, is a 302

   11     shorthand for a report of interview created by the FBI?

   12     A.    It is.

   13     Q.    Who is the person interviewed?

   14     A.    David Howell.

   15     Q.    And who is he?

   16     A.    He is one of the owners of Season Investments.

   17     Q.    And how did Season Investments -- how is Season

   18     Investments involved in this case?

   19     A.    They found investors that invested with HomeSource.

   20     Q.    Is there a chart in Exhibit 2?

   21     A.    There is.

   22     Q.    And what is that chart?

   23     A.    That chart is the investors that invested in

   24     HomeSource through Seasons.

   25     Q.    Were those people identified by Mr. Howell during his

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     1    interview?

     2    A.    They were.

     3    Q.    And did you compare that list of investors to our

     4    loss calculations that you just talked about?

     5    A.    I did.

     6    Q.    Were each of these investors included in your loss

     7    calculation?

     8    A.    They were.

     9    Q.    And did you have evidence to show that the amount --

   10     at least the amount indicated on this Exhibit 2 was, in

   11     fact, invested by these investors?

   12     A.    I did.

   13              MS. RHYNE:    Your Honor, I have no further questions

   14     for this -- I am sorry Your Honor, I would offer Exhibits

   15     1 and 2.

   16              THE COURT:    All right.         Any objection?

   17              MR. HAMMOND:     No objection, Your Honor.

   18              THE COURT:    Exhibits 1 and 2 are admitted.

   19              (Exhibit Nos. 1, 2 are admitted.)

   20              MS. RHYNE:    I have no further questions of the

   21     witness.

   22              THE COURT:    Mr. Hammond, you may cross.

   23              MR. HAMMOND:     Thank you.

   24                             CROSS-EXAMINATION

   25     BY MR. HAMMOND:

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     1    Q.    Good afternoon Ms. Tweet?

     2    A.    Good afternoon.

     3    Q.    Just now you were asked about how you -- the

     4    methodology that you used.           And you worked in excess of a

     5    thousand hours to come up with the most accurate figures

     6    that you came up with; is that fair to say?

     7    A.    Yes.

     8    Q.    How did you come about working on that?             I know this

     9    is awkwardly worded, so let me see if I can do a little

   10     better job.     In the thousand hours you worked on it, did

   11     you do that by yourself?

   12     A.    I did not.

   13     Q.    Who else did you work with?

   14     A.    I worked with FBI agents special agents in my office.

   15     I also worked with the Receiver's accountant.             And I also

   16     worked with Ms. McClaflin.

   17     Q.    Do you recall any the name of the Receiver's

   18     accountant?

   19     A.    Denise.

   20     Q.    Okay.   To the best of your knowledge, was Denise also

   21     doing a separate accounting as you were doing that?

   22     A.    She was.

   23     Q.    Did you and Denise also cross check each other's

   24     figures?

   25     A.    We did.

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     1    Q.      At the ultimate end of the analysis that you

     2    conducted and that Denise conducted, was there a

     3    difference in the numbers?

     4    A.      There is.

     5    Q.      Do you know how much that difference is?

     6    A.      It is approximately $90,000.

     7    Q.      Basically, for all intents and purposes, the numbers

     8    are really, really close?

     9    A.      They are.

   10     Q.      The numbers of hours in that thousand-plus hours, how

   11     many hours, if you can guesstimate, did you spend with

   12     Denise?

   13     A.      Probably at least 500.

   14     Q.      How many hours of that thousand hours plus did you

   15     spend with Karen McClaflin?

   16     A.      I would say probably about maybe like 80.         That might

   17     be a little high.

   18     Q.      Do you know where Denise got most of her information

   19     from?

   20     A.      From Ms. McClaflin.

   21     Q.      Did you and/or Denise have any problems going through

   22     the financial records, going through the books?

   23     A.      We did.

   24     Q.      Why did that -- what were the problems?

   25     A.      One of the major problems was QuickBooks was not up

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     1    to date.      So Denise had to work with Ms. McClaflin to get

     2    the QuickBooks up to date.

     3    Q.     Were they able to get it up to date?

     4    A.     I do not know if they totally got it up to date or

     5    not.

     6    Q.     Was -- when you were going through the books with

     7    Denise, was it sufficient that you felt comfortable with

     8    each other that your numbers were so close?

     9    A.     Yes.

   10     Q.     Was that in large part due to the fact that

   11     Ms. McClaflin had spent so much time with Denise and you

   12     to get those numbers straight?

   13     A.     Yes.

   14              MR. HAMMOND:     I have no further questions, Your

   15     Honor.

   16              THE COURT:    All right.         Any redirect?

   17              MS. RHYNE:    Just briefly, Your Honor.

   18                            REDIRECT EXAMINATION

   19     BY MS. RHYNE:

   20     Q.     First, Special Agent Tweet, can you explain the

   21     discrepancy between your number and Denise's number?

   22     A.     Denise's number includes interest and points that

   23     were paid through HomeSource's bank account for Trademark

   24     and her personal loan.

   25     Q.     So they included the interest?

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     1    A.    They did.

     2    Q.    In their calculations, do they include as a loss the

     3    underlying investment that was used -- sorry, let me

     4    rephrase that.     Did they include the loss associated with

     5    the principal investment against which those interest

     6    payments were made?

     7    A.    They did not.

     8    Q.    So their analysis, at least as to those investments,

     9    were one sided; all benefit, no loss?

   10     A.    Correct.

   11     Q.    Is that an appropriate methodology, in your opinion?

   12     A.    No.

   13     Q.    Two, just to dispel any concerns that the victims may

   14     have we let the fox watch the henhouse, did you confirm

   15     any information you received from Ms. McClaflin with bank

   16     records to confirm you were getting legitimate loss

   17     numbers?

   18     A.    I did.

   19              MS. RHYNE:    No further questions.

   20              THE COURT:    All right.         Thank you very much.   You

   21     may step down.

   22              Ms. Rhyne, do you have any other witnesses?

   23              MS. RHYNE:    No, Your Honor.            Thank you.

   24              THE COURT:    Mr. Hammond, do you have any witnesses?

   25              MR. HAMMOND:     May I just ask generally the room, is

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     1    there anyone who has something positive to say about

     2    Ms. McClaflin?

     3             I think that answers that, Your Honor.

     4             THE COURT:    Correct.        All right.         If you would

     5    retake the podium.

     6             MS. RHYNE:    There is one more that would like to

     7    speak.

     8             THE COURT:    A victim?         All right.

     9             MR. HAMMOND:     Mr. Barash, Your Honor.

   10              THE COURT:    This is the Receiver?

   11              MS. RHYNE:    Yes.      He is not a victim, Your Honor.

   12              THE COURT:    He is not a victim.                And I don't know

   13     what his testimony would be that I would need for purposes

   14     of the issue that was just raised by Ms. Rhyne.

   15              MR. HAMMOND:     I gave the Court an idea of what I

   16     expected his testimony to be.

   17              THE COURT:    All right.         Mr. Barash, come forward.

   18              MR. BARASH:     Good morning, Your Honor.              I didn't

   19     intend -- when you said is there anybody who would say

   20     something positive about Ms. McClaflin, I would, but I

   21     don't know whether -- I didn't hear what Your Honor said

   22     to --

   23              THE COURT:    I will allow you to take the stand and

   24     have Mr. Hammond question you.

   25              Come forward and be sworn in.

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     1              COURTROOM DEPUTY:        May I have your attention,

     2    please.

     3                                  JAMES BARASH

     4    having been first duly sworn, testified as follows:

     5              THE WITNESS:     I do.

     6              COURTROOM DEPUTY:        Please be seated.

     7              Please state your name and spell your first and

     8    last names for the record.

     9              THE WITNESS:     My name is James Barash, B-A-R-A-S-H.

   10               THE COURT:   You may proceed.

   11                              DIRECT EXAMINATION

   12     BY MR. HAMMOND:

   13     Q.    Good afternoon, Mr. Barash.

   14     A.    Good afternoon.

   15     Q.    What is your occupation?

   16     A.    By training, I am an attorney, but I haven't actively

   17     practiced for many years.           And I do business things and

   18     sometimes serve as a court-appointed receiver, et cetera.

   19     Q.    How long have you been a court-appointed receiver?

   20     A.    Probably 10, 12 years.

   21     Q.    How many cases have you worked on as a

   22     court-appointed receiver?

   23     A.    A dozen, 15, something like that.                    I don't have those

   24     numbers right in front of me.

   25     Q.    Okay.   Do you recall how you came to be a

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     1    court-appointed receiver in this case?

     2    A.    I do.

     3    Q.    How did you come to be appointed?

     4    A.    I was contacted by an attorney who works with

     5    Mr. Warner, and asked if -- he knew I served as a

     6    Receiver.     He has been involved in other cases I served as

     7    a Receiver, and he asked if I might serve as a Receiver in

     8    a real estate case.      That a client of his had a little

     9    problem.

   10               Not knowing anything about it, I said, sure, I

   11     could do that.     Then I learned a little bit more, and

   12     learned about the allegations of fraud and et cetera.                And

   13     I said to him, why do you want -- I have never heard --

   14     when he used this term, and I would like to correct it

   15     later, but what I said is I have never heard of the crook

   16     asking for a Receiver.        What, have you lost your mind?

   17               He said, no, no, my client made some mistakes, but

   18     she really wants to make it right, and she wants to show

   19     she is making it right.         So I said, let me talk to her,

   20     because I wanted her to understand my attitude on these

   21     things.    And I went in with an attitude that I just

   22     assumed that this was horrible.              And it is horrible, that

   23     hasn't changed.     But that she was a crook, that there was

   24     a pot of gold somewhere, and all these bad things

   25     happened.

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     1              I met with her and Mr. Werner for a couple of

     2    hours.    She explained what had occurred.                And I said,

     3    listen, I don't know why you want me as a Receiver.                   I

     4    said, it is crazy.      She said, I want to show that I really

     5    want to help.     And I said, well, let me give you a

     6    warning.    I said, I will only do it on one condition.                   I

     7    said, if you are helpful and you do what you say, I will

     8    be sure to make that fact known.

     9              And she did beyond what I thought, but I will get

   10     to that in a minute.       I said, however, if you lie to me

   11     once about anything, you're toast, this is the worst

   12     mistake of your life, because I will make sure that this

   13     is brought to light.

   14               And then the odyssey began.             And this case is like

   15     no other.    I heard victim impact statements.

   16     Interestingly, two of them were the worst ones.                  I cried

   17     when I read them in my office.             These people, I totally

   18     get it.    They are right.

   19               On the other hand, my job, and what I feel very

   20     strongly about as a Receiver, and I am proud of doing it,

   21     and I have had some success in general.                   I try and

   22     maximize the value of the estate and try and make the

   23     victims as whole as I possibly can.

   24               And for all of the anger that these people have --

   25     and if I were one of them, I would too.                   I don't dispute

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     1    any of it.    But, I can't stress enough, not only how

     2    helpful Karen has been in recreating this stuff -- and if

     3    the Court wanted, I was at the office yesterday just to

     4    see something, and I said, a picture is worth a thousand

     5    words.

     6             Karen was working with Denise Tinsley, our

     7    accountant, finalizing some stuff.                This accounting is

     8    incredibly complex.      What you heard Ms. Tweet testify to

     9    is all accurate, but we had to do a lot more than what she

   10     did because of our other claims between claw backs and a

   11     claim we have against the bank that is very complex.

   12              And Ms. McClaflin's assistance has been invaluable,

   13     not only in finding records and showing and explaining how

   14     this connects to that, because the records weren't

   15     complete.    The records that were there were accurate, but

   16     a lot of the QuickBooks, for instance, the person who put

   17     the date in, they classified things wrong.                All the

   18     entries were there, the dollars were right, but they

   19     called something this when it should have been that.

   20              In addition to this, there are rooms full of files.

   21     I can show you pictures of what they are going through.

   22     There is only one person who knows their way through this

   23     morass, and that is Ms. McClaflin.

   24              So, from a purely economic, trying to get the best

   25     for the investors, our biggest claim is out there, and it

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     1    is our claim against the bank.             The Court knows, you never

     2    know what is going to happen in a case.                    I am telling the

     3    Court, in my opinion, we have a very good case.                    And in a

     4    lot of law enforcement authorities' opinions, they believe

     5    we are right on the facts.

     6             That doesn't mean we will win.                   It doesn't mean we

     7    will lose.    I can make no promises.              I also would love to

     8    be able to tell the Court, and even more than the Court,

     9    the victims, I have a check for you tomorrow because I

   10     have all this money sitting in the bank.                    But I can't

   11     until the District Court Judge in El Paso County

   12     authorizes it.

   13              And there are claims of competing interests of the

   14     various deeds of trust holders, some of whom are

   15     sophisticated lenders, who made sure their deeds of trust

   16     were recorded.     And they are saying, our deeds of trust

   17     are sacrosanct, you can't use any of that money.                    We get

   18     it all, plus our fees, plus interest, plus our et cetera.

   19              Then there are other people who, under various

   20     cases and laws and the way Ponzi schemes are interpreted,

   21     take the position, well now wait a minute, the Ponzi

   22     scheme can be challenged, especially if you knew or should

   23     have known.    And Court knows this far better than I.

   24              The point I am getting to is, I do not have an

   25     honest opinion as to when this money is going to be

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     1    released.    And it is not in my control.                 And the judge has

     2    been very good.     I think he gets the arguments.               He's been

     3    very responsive at setting hearings.

     4             But this big fraudulent transfer action and claim

     5    we have against the bank is going to take awhile.                  And I

     6    don't know what "awhile" means.              I would be lying to you

     7    if I said anything else.         Now I will be quiet.

     8    Q.    I have a couple other questions for you.                  I think it

     9    is obvious, but I have to ask it in this way.                  Have you

   10     recovered -- have you been able to recover an amount of

   11     money for -- ostensibly for the victims in this case?

   12     A.    Well, there is $6.4 million sitting in the HomeSource

   13     trust account.     There is roughly another, I expect another

   14     million plus for the goods from both marital properties.

   15     One of the things, Karen and her husband had some marital

   16     properties, some of which Karen put HomeSource deeds of

   17     trust on and didn't mention to her husband.                  He is a

   18     victim too, in this thing.           And they are divorced now.

   19              And we have agreed that we get Karen's half of the

   20     marital equity, and the husband will get his half.                  So

   21     when that is all netted out, when I take that and when I

   22     take the sale of the HomeSource office building, which we

   23     have continued to use, because there are these thousands

   24     and thousands of pages of files and documents, et cetera,

   25     and when I sell those, I expect to recoup another million

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     1    dollars.

     2             We have got claw back claims.                And, I apologize, I

     3    can't remember right off the top of my head what they

     4    amount to now.     My counsel is back there, and if you want

     5    me to ask him, I can ask him, if you care.                 I am guessing

     6    between half a million and million-and-a-half dollars.                   I

     7    just don't remember.       I don't know.

     8             So, and if we recover on the bank claim, the claim

     9    I honestly believe is worth $10 million on its face.                 That

   10     doesn't mean we will get $10 million.                 And having Karen

   11     there, I believe, will be very helpful to me.                 That is a

   12     purely selfish statement to the investors, to the victims.

   13     Q.    In terms of the liquidation of the assets, is there

   14     also a 5-acre property?

   15     A.    Is there also what?

   16     Q.    A 5-acre property that has been hasn't been

   17     developed, are you aware?

   18     A.    There is a lot, yes.

   19     Q.    And do you have any idea of the value of that?

   20     A.    It is in a hot area that I know very well, because it

   21     is next to Glenn Eagle, that I developed.                 It's -- I don't

   22     know the current -- I know the market is very hot.                 I am

   23     not familiar with 5-acre parcels.               I am not familiar with

   24     whether that is sub-dividable.             I have not focused on that

   25     parcel yet.

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     1    Q.    Is there also an office building that has not been

     2    sold -- I think you might have referred to that.

     3    A.    That is what I just referred to.

     4    Q.    At the end of everything, when this comes -- when you

     5    are done doing all your work, when your folks move out of

     6    that building -- and that is where Denise is; right?

     7    A.    Yes.   She is in the back of the courtroom, but when

     8    she is working.

     9    Q.    She is working out of that building?

   10     A.    Right.

   11     Q.    When she moves out and there is no one else in that

   12     building, do you intend to sell that building?

   13     A.    I intend to sell that building and have an auction of

   14     the personal property that is around.                 It will raise a few

   15     more dollars, but not significant in the grand scale of

   16     things.

   17     Q.    Fair to say the building is worth more than the

   18     personal property?

   19     A.    Oh, the building is worth probably a half million

   20     dollars, using round number.            And the personal property --

   21     I like auctions.     I have been to lots of them.             It could

   22     go as low as $5,000 or as high as $50,000 for the personal

   23     property, depending on the day and the weather and the

   24     people.

   25     Q.    If I am hearing you correctly, right now there is

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     1    about $6.4 million that you have been able to obtain?

     2    A.    Sitting in the trust account, yes.

     3    Q.    Has that been increased, to your knowledge?

     4    A.    What do you mean, "been increased?"

     5    Q.    Did you hand me a document?

     6    A.    No.   The document I handed you was the latest update

     7    of the sales.     You called me last night.               You were telling

     8    me numbers.    I said I don't know if those are the latest

     9    numbers or not.     I stopped in my office this morning and

   10     printed this out.      That document I gave you, that 6-point

   11     --   the number you have there, that is everything that has

   12     sold as of today.

   13     Q.    That is what I am talking about, the number we were

   14     referring to 6.4 million was about November 28th or 29th

   15     of 2017?

   16     A.    I don't know.     6.4 million is what is in the bank.

   17     That may say 6.5 or something, but there are a few

   18     legitimate sales loss that came out.

   19     Q.    I understand that.        The old one goes back to the end

   20     of November.     This one comes to today, and it is in the

   21     amount of $6,515,766.06.

   22     A.    And that was net sales proceeds out of which, what is

   23     left in the bank, because we will have to take some taxes,

   24     et cetera, is the 6.4 million something I told you.                 I am

   25     rounding it to 6.4 something.            I don't know to the penny

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     1    what it is.

     2    Q.      If you were able to get the additional money from the

     3    marital property, from the claw backs, if I understand

     4    correctly from our discussions, that would be somewhere

     5    around 7-and-a-half to $8 million?

     6    A.      I think that is a reasonable guesstimate, yes.

     7    Q.      Okay.   Do you know if it could -- could it be more or

     8    less?

     9    A.      You are right, it could be.

   10     Q.      Okay.   If you were successful -- if you are

   11     successful in the civil suit against Integrity Bank and

   12     Trust, would that add to the pot of money?

   13     A.      Yes.

   14     Q.      And I believe you said a minute ago that that could

   15     be as much takes $10 million?

   16     A.      It could be, or as little as zero.                I have to be

   17     honest.    I believe we will prevail, but I don't know -- I

   18     don't want to represent to anyone in the courtroom or the

   19     Court any guarantees of what -- how the music is going to

   20     end.

   21     Q.      I understand.   I want to just talk to you briefly

   22     about Ms. McClaflin's assistance to you and your

   23     assistance to Denise.        What is Denise's last name?

   24     A.      Tinsley, T-I-N-S-L-E-Y.

   25     Q.      Denise Tinsley.    Have you observed, over the course

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     1    of the last year or more, the work that Ms. Tinsley has

     2    done with Ms. McClaflin to get the books straight and get

     3    the accounts straight?

     4    A.    I have.

     5    Q.    Can you guesstimate the number of hours?

     6    A.    Well, Denise keeps records specifically of hours that

     7    she has worked with -- Karen's work with Denise.               And I

     8    smiled when I heard Ms. Tweet testifying to a thousand

     9    hours, because Karen alone, of the clocked hours she has

   10     physically been present with Denise is 400 hours.              In

   11     addition, to which Denise works at home, and et cetera for

   12     more hours.     In addition to which Karen has come and met

   13     with me on different things that our accountant -- she

   14     knows the properties.        She knows the neighborhood, and she

   15     was an excellent realtor.

   16              So she was helpful in upping the value of the sales

   17     and getting me some subs to fix things up, et cetera.                 So

   18     she spent a lot of time with me.              Any time I ever called

   19     her for any assistance, if she doesn't answer the phone

   20     immediately, I get a call back very rapidly, if not within

   21     minutes, it is the next day.            And it starts with an

   22     apology; I am sorry I couldn't call you yesterday, I was

   23     in the hospital.

   24              She has been -- I know the bad things that she did.

   25     I am not minimizing them at all.              They are true.   But,

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     1    these good things are true, too.

     2    Q.     You have heard from Agent Tweet, who testified

     3    earlier.    Are you aware of any other FBI or IRS agents who

     4    worked with you and/or Ms. McClaflin?

     5    A.     Well, I know that -- when I first got into this and I

     6    saw a few things that caused me concern, I went to the

     7    FBI.   And as I was explaining what had -- I had seen so

     8    far, plus what I had been told by Ms. McClaflin to the

     9    FBI.

   10              They had some questions.             And I said, why don't I

   11     get her to come in and talk to you.                And the response was,

   12     well, we doubt that she would talk to us.                 And I said,

   13     well, I will talk to her and her lawyer.                  The whole deal

   14     she made was she was going to be helpful and do things.

   15              So, I called Matt, who is sitting there, and I

   16     said, Matt, the FBI wants to talk to Karen.                 And if the

   17     deal is she is going to show that she is helping, it makes

   18     sense to me.     And Matt said okay.            So we went up to the

   19     FBI office, and Ms. Tweet was there, and agent Cronan was

   20     there.   There were a lot of other people from a lot of

   21     other agencies all around this table.                 And it was a

   22     multi-hour, very interesting interview, that was much more

   23     than I understood, at the end of which many law

   24     enforcement people, like, afterwards, gave me this like,

   25     wow, that was something.

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     1             I have continued to stay in touch, primarily with

     2    Mr. Cronan, mostly because he is just a very nice guy, and

     3    we get along.     And he and I both share the common opinion;

     4    we have never seen a situation like this.                 When there is

     5    this kind of theft in a situation, the money is usually in

     6    someone's pocket, and they have enriched themselves.

     7             This woman took a $40,000 a year salary, and every

     8    other penny is accounted for.            I heard stories of

     9    luxurious trips and all.         She was married to a husband who

   10     was a professional at making money, and I don't think,

   11     from what I've heard, that I have heard anything

   12     extraordinary.

   13              I am not minimizing any of the complaints.               They

   14     are right.    But I think Karen did not, from what I can

   15     tell, lead a high flying lifestyle, and she has given us

   16     everything.

   17     Q.    Have you filed a plan of distribution with the El

   18     Paso County District Court?

   19     A.    We have filed a proposed -- I have to emphasize that

   20     word -- plan of distribution with the Court.                And until

   21     and unless the Court approves it, that is not it.                There

   22     are going to be objections.           There are going to be

   23     hearings.    Counsel will get to talk.               But, in a nutshell,

   24     Your Honor, what we are proposing -- and if you want to

   25     hear it better than me, my counsel is here, and he can

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     1    explain it better.

     2             We take winners and losers.              The winners are the

     3    people who got more than they put in.                 We don't care

     4    called whether it was called points or interest or

     5    whatever.    If you put in a hundred dollars, and you got

     6    back 150, I want 50 back.          The losers, if they put in a

     7    hundred dollars and they got 35 back, I am going to try to

     8    get them 65.

     9             So, in the plan of distribution, we are saying,

   10     there are many deeds of trust that we're challenging.                 And

   11     we think the Court should put them aside and throw that

   12     money into a pot for the other -- for the remaining

   13     unsecured creditors.       Treat some of those -- some of the

   14     deeds of trust just like the other investors who were

   15     unsecured.

   16              There are other deeds of trust that are seasoned

   17     and older and may have gone of record prior to the Ponzi

   18     being established.      That is one of the reasons this

   19     accountant took so long; we had to go through thousands of

   20     documents to figure out at what point did this stop being

   21     a legitimate business and turn into this Ponzi scheme;

   22     taking from Peter to pay Paul.

   23              And our senior accountant, Marvin Strait, has been

   24     directing Denise Tinsley.          And this took all of this time

   25     to do, but we will end up acknowledging that this pile of

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     1    deeds of trust gets the first money.

     2             Now, let's say one of those deeds of trust is good,

     3    and they have a deed of trust on a house for $75 and the

     4    house sells for a hundred, then our position is they get

     5    the 75, the 25 goes into the pot for everyone else.

     6             And that is, in short, a summary -- we are

     7    proposing that is what the Court does and how the Court

     8    distributes the money amongst the victims.                    It is up to

     9    the Court.

   10     Q.    Was that Receiver's plan of distribution filed in the

   11     El Paso County District Court on April 17th of this year?

   12     A.    You got a filing stamp, I believe you.                   I have no

   13     idea of the date.      I am terrible on dates.

   14     Q.    Okay.   Is there anything I have missed in speaking

   15     with you?

   16     A.    No.    It's been -- I think everybody has the picture,

   17     the good and the bad.        And I am glad I don't have your

   18     job, but I hope I have Karen to help me.

   19              THE COURT:    Nope, you can't leave yet.

   20              THE WITNESS:     I am sorry, excuse me.

   21              THE COURT:    Cross-examination.                 Ms. Rhyne may have

   22     cross-examination.

   23                             CROSS-EXAMINATION

   24     BY MS. RHYNE:

   25     Q.    To be clear, you have this ongoing litigation with

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     1    Integrity Bank and Trust; correct?

     2    A.    Yes, ma'am.

     3    Q.    And they have, I am not sure what it is styled as in

     4    the Court, but something that at least amounts to a

     5    counterclaim, where they are seeking to enforce any of the

     6    first deeds of trust their investors have, yes?

     7    A.    Their position -- I am glad you raised that.                  Let me

     8    make it clear so everybody understands it.

     9    Q.    Sure.

   10     A.    Their position is, listen, guys, we have deeds of

   11     trust, they're good.       We are owed the hundred dollars we

   12     put in, plus, per the deeds of trust, we want our attorney

   13     fees, court costs, interest, et cetera.                   That is the

   14     dispute.

   15     Q.    And if they prevail --

   16     A.    If they prevail --

   17     Q.    -- not only will you not get 10 million extra, they

   18     will dip heavily into the 6.5 you have collected; yes.

   19     A.    Absolutely.    It would be a disaster.

   20     Q.    So maybe this goes very well for the victims, yes?

   21     A.    Yes.

   22     Q.    Maybe it goes poorly?

   23     A.    Absolutely.

   24     Q.    Today we don't know?

   25     A.    That is correct.

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     1    Q.    I wish you all the luck in the world, but I wanted to

     2    make that reality clear.

     3             I want to make something else clear.                You and I

     4    have discussed this case a number of times; correct?

     5    A.    I think two.

     6    Q.    At the very beginning of our discussions, I made it

     7    perfectly clear to you that the criminal case was not

     8    going to take second seat to the receivership, and we were

     9    not agreeing to allow Ms. McClaflin to stay out of jail

   10     for the term that it took you to resolve the estate.                 I

   11     made that perfectly clear, did I not?

   12     A.    You were very clear that that was your position.                    And

   13     I never suggested that the receivership should run the

   14     criminal case.     I want to make that clear, also.

   15              MS. RHYNE:    Thank you.

   16              THE COURT:    All right.         I have a few questions.

   17              So, with respect to the -- when you testified that

   18     there are claims of competing interest of various deed

   19     holders, are you talking about the deeds of trust held by

   20     Integrity Bank or its investors?

   21              THE WITNESS:     Among others.           Integrity Bank put in

   22     money from individual's self-directed IRAs.                 So some of

   23     them are in this mix I am talking about.                  Some of them,

   24     they are in first place.         And then there are other regular

   25     investors, individuals who have got these claims, as well.

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     1             THE COURT:    All right.         So, have all of the

     2    properties related to those deeds of trust been sold?                In

     3    other words, is the 6.4 that is in the bank subject to

     4    those deeds of trust, and there is not any other assets

     5    out there that have those on them?

     6             THE WITNESS:     No.     The money that is in the bank

     7    includes all of the HomeSource properties and deeds of

     8    trust, that would include Integrity.                 But, in addition to

     9    that there are marital properties that were titled in the

   10     name of Karen and her husband, that I am also selling, and

   11     I have not sold those yet.

   12              And, off the top of my head, I cannot remember

   13     whether or not there are some HomeSource deeds of trust on

   14     those or not.     I don't think there are, but I could be

   15     mistaken.

   16              THE COURT:    All right.         Well, put those aside, and

   17     looking only to the 6.4 million that is in the bank, if

   18     the deed of trust holders who are contesting that theirs

   19     should be set aside, prevail, what does that reduce that

   20     pot of money to, ballpark?

   21              THE WITNESS:     What does that what?

   22              THE COURT:    Reduce the pot of money, 6.4 million

   23     to, just ballpark?      What are we talking about of the 6.4

   24     million?

   25              THE WITNESS:     May I ask my counsel if he remembers

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     1    the number?

     2             THE COURT:    You may.        And I will tell you, this is

     3    not so much for sentencing as for letting the investors

     4    know what they are looking at.

     5             MR. LUCAS:    Your Honor, Peter Lucas, Appel, Lucas &

     6    Christensen.     I don't know if I need to be sworn.               But, to

     7    answer your question most directly, there is no

     8    unencumbered property in the receivership estates.                  If

     9    those deeds of trust were all proved to be valid, with the

   10     exception of the office building, which might have a very

   11     small slice of equity, there would be nothing in the

   12     receivership estate for investors.

   13              So, unless we can get rid of some or all of the

   14     deeds of trust, there will be nothing.

   15              THE COURT:    All right.         And how long do you

   16     anticipate that litigation is going to take?

   17              MR. LUCAS:    If the litigation were to go to

   18     fruition, we're a year or more before we even get to

   19     trial.   We are in fairly serious discussions with some of

   20     the investors, in terms of settlements.                   So we think that

   21     things could progress more quickly, and that is only

   22     because of settlement.        If we are talking litigation, we

   23     will not get to trial in a year.

   24              THE COURT:    All right.         And so I assume, then,

   25     Mr. Barash, that the investors will see none of their

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     1    money in pay back until these issues are all resolved,

     2    which could be more than a year, then?

     3              THE WITNESS:     I believe that is correct.               It is all

     4    dependent on what happens with the Court in El Paso

     5    County.

     6              THE COURT:   All right.          That is all I have.

     7              Mr. Hammond, do you have anything further?

     8              MR. HAMMOND:     No, Your Honor.

     9              THE COURT:   All right.          Thank you very much, sir,

   10     you are excused.

   11               THE WITNESS:     Thank you very much, Your Honor.

   12               MS. WULF:    Your Honor, may I speak for a moment?

   13               THE COURT:   Who are you?

   14               MS. WULF:    My name is Jessica Wulf, and I am a

   15     friend of Karen McClaflin.

   16               THE COURT:   Are you a victim?

   17               MS. WULF:    I am not.

   18               THE COURT:   Then you may not.

   19               MS. WULF:    But Mr. Hammond asked if any of us could

   20     say anything positive.

   21               THE COURT:   You may not speak.                  You are not a

   22     victim.    You are not a witness here.                We don't do

   23     character witnesses.

   24               All right.   Mr. Hammond, would you and

   25     Ms. McClaflin please retake the podium.

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     1              Court finds that the total offense level in this

     2    case is properly calculated in the presentence report;

     3    that is an offense level 33.             The defendant's Criminal

     4    History Category is a I.          That results in an advisory

     5    range of imprisonment of 135 to 168 months.                The

     6    supervised release range is not more than 3 years.                And

     7    the fine is in the range of 17,500 to 29 million plus,

     8    which is twice the gross gain or loss.

     9              The Court also finds, unless you have some evidence

   10     to present otherwise, Mr. Hammond, that the restitution

   11     amount, based on the evidence presented, would be

   12     $14,528,206.39.

   13               MR. HAMMOND:     Your Honor, I am assuming that comes

   14     from --

   15               THE COURT:   The testimony that was just put on.

   16               MR. HAMMOND:     -- the final result in Government's

   17     Exhibit 1.

   18               THE COURT:   Yes.

   19               MR. HAMMOND:     I do not -- is the Court going to

   20     allow me to speak on Ms. McClaflin's behalf?

   21               THE COURT:   Absolutely.           Yes, absolutely.    We are

   22     just going through the preliminaries here.

   23               My way of dealing with sentencing, because it has

   24     been a long time since you have been before me, is I will

   25     tell you where I am going, in terms of my inclinations, so

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     1    that you can target any arguments you have to what my

     2    concerns are, and to persuade me otherwise, or to persuade

     3    me to go the way I have indicated, if that is what you

     4    want.

     5             I will hear from you, then Ms. Rhyne, and finally,

     6    if Ms. McClaflin wishes to make any statement to me on her

     7    own behalf, I will hear from her.

     8             All right.    As part of my protocol for determining

     9    whether the advisory guideline range is a range that is

   10     sufficient, but not greater than necessary, to achieve the

   11     objectives of sentencing, I have reviewed the presentence

   12     report, I have considered the sentencing guidelines, and

   13     the factors set forth at 18 United States Code Section

   14     3553.

   15              Ms. McClaflin is 59 years old.                   She stands before

   16     this Court for sentencing on her third felony conviction.

   17     Although her first two felony convictions occurred more

   18     than 30 years ago, the Court notes that they involved

   19     stealing from her employers.            She was convicted of

   20     embezzlement.

   21              In this offense, she ran a Ponzi scheme for several

   22     years, where she made false promises to her investors and

   23     manufactured documents intended to make it appear as

   24     though those promises were being kept.

   25              She was aware that she could not continue to meet

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     1    the promises she was making to these investors.           And

     2    instead of declaring bankruptcy, as her original partner

     3    did, and cutting her losses, she chose to continue to seek

     4    out investors in order to continue her fraudulent scheme.

     5             During the course of that scheme, Integrity Bank

     6    and Trust began funneling investors to the defendant.                At

     7    some point, apparently, Integrity Bank began pressuring

     8    her to protect its investors.            This pressure resulted in

     9    the defendant then forging documents to show Integrity

   10     Bank that its investors were protected.

   11              That is what this testimony was all about of the

   12     litigation with the bank, to see -- they are claiming they

   13     have the first position on those properties because of the

   14     forged documents that were put forward by Ms. McClaflin.

   15              Eventually, Ms. McClaflin was not able to make the

   16     minimum payments that she was making to cover the interest

   17     to show the investors that they were getting something

   18     back, and her scheme was uncovered.

   19              Ultimately, the defendant ended up defrauding many

   20     of her investors of a substantial amount of their savings,

   21     and as a result, the investors lost -- or her victims lost

   22     more than $14 million.

   23              Many of the victim investors, as I have indicated,

   24     have submitted declarations of victim losses and victim

   25     impact statements.      A review of those statements reveal

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     1    that the defendant's action has caused significant

     2    financial hardship for her many investors.

     3              Her investors were impacted in a variety of ways,

     4    including loss of most or all of their savings, inability

     5    to retire, having to return to work, inability to provide

     6    their children with financial assistance or any

     7    inheritance, selling or downsizing their homes, and a few

     8    have even had to move in with friends or family.

     9              Many of the investors also discussed how the

   10     defendant's action made them feel betrayed or left them

   11     questioning their ability to trust people.

   12               It has caused marital difficulties from some

   13     investors because of the stress they are experiencing as a

   14     result of their losses.

   15               I am going to read from those statements that I

   16     found to be the most pertinent.              And some of you have

   17     spoken.    I have chosen your statement, and to the extent

   18     you have already indicated something that I was going to

   19     read, I am going to skip over it.               But these are some of

   20     the victim impact statements:

   21               "I am 71 years old, and my wife is 63.            To have

   22     someone wipe out the majority of our retirement income has

   23     been emotionally difficult.           There is a wide range of

   24     emotions, from anger to fear to sadness and resignation.

   25     In fact, she stole my last remaining retirement dollars.

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     1             Any possibility of slowing down at work and

     2    enjoying more time together or with family has been

     3    eliminated."

     4             Another one talks about his mother:              "Due to a

     5    brain tumor and the effect of surgery to remove it, my

     6    95-year old mother has lost the use of one eye and has

     7    advanced macular degeneration in her remaining eye.               She

     8    has no hearing in one ear because the auditory nerve was

     9    cut during surgery.      She requires a hearing aid in her

   10     other ear.    My mother requires help with medication

   11     management and balance issues, person hygiene, dressing,

   12     and food preparation.

   13              If her money, in fact, is lost, which was 250,000,

   14     we will not be able to continue her care without depending

   15     on governmental aid and assistance."

   16              "Karen has totally changed our lives.             She has

   17     taken our dignity, destroyed our retirement, robbed my

   18     mom's security, and threatened her well-being.

   19              Her greed has caused damages on all her investors

   20     and possibly some employees and has displaced her

   21     renters."

   22              "My wife and I worked hard to set aside money for

   23     retirement.    I worked for a small company that did not

   24     participate in retirement programs, so I knew I had to

   25     save.   We were successful at building what we thought was

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     1    a comfortable retirement account of 720,000.

     2              Eventually we invested all retirement money and

     3    most of our personal savings with HomeSource Partners.

     4    Ms. McClaflin took it all; 720,000.

     5              Our hopes for an independent future, the pride of

     6    knowing our children would not have to provide for us as

     7    we age, our dreams of travel, and our ability to be

     8    generous with family, friends, church, and our community,

     9    have been lost.

   10               Now that our retirement account has been pillaged

   11     by Karen's Ponzi scheme, we are dependent on my Social

   12     Security income, my wife's small pension, and what remains

   13     of a small emergency fund."

   14               "This has strained us not only financially, my

   15     husband and I haven't slept through the night since early

   16     February, and I often wake up in a panic, with my heart

   17     racing.    I have so much anxiety.

   18               Do you know how crushing it feels to have your

   19     daughter tell you that they will provide 500 a month to

   20     help?

   21               The money we invested with Karen was lost, and lost

   22     because of her actions was my life savings and profit from

   23     the sale of our personal home.             We will now be living with

   24     our son.    I am 72 years old, have cancer, and suffer from

   25     depression because of this loss.              I will now have to find

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     1    a job in order to buy food, pay bills, et cetera.                  She has

     2    totally destroyed my life."

     3             "We will not be able to purchase a home now and

     4    will live with our son.         At this age, we will never be

     5    able to recover that investment and will be forced to work

     6    the rest of our lives if we are able.                 It is very

     7    difficult to explain the stress and turmoil this has

     8    placed on us."

     9             One gentleman described the emotional impact as

   10     "unbelief, anger, and foolishness" as to how he could let

   11     someone "trick me out of most of our retirement savings.

   12     Karen took more than money.           She stole whole generations

   13     of family vacations, gifts, college educations, which

   14     cannot be replaced."

   15              "This money derived from my mom's hard work that

   16     she left me in a family trust when she passed away.                 I

   17     felt that I had done her a great disservice in letting

   18     this happen.     And it has sent me, at times, into a state

   19     of deep depression.

   20              This has made my current living situation very

   21     unstable, to the point where I just break down.                It has

   22     also caused some pre-existing medical problems to

   23     intensify."

   24              Since I no longer have this income, I was forced to

   25     file for Social Security early, and now I am trying to

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     1    make it on a little over 1,400 a month.                   So this means

     2    that the home I have with my shop on it that keeps me

     3    entertained for 37 years has to go.                And I am currently

     4    trying to find somewhere I can afford to live."

     5             "Due to her actions, I have been forced to move in

     6    with a friend and try to obtain other employment and sell

     7    many other assets.      Karen McClaflin took money that I

     8    worked many years to obtain and used it as her own.                  She

     9    made promises to me and several others that she could not

   10     have ever intended to keep.           She has nearly destroyed my

   11     life financially."

   12              "Emotionally this has been devastating.                 Karen had

   13     become a trusted friend.         To be lied to and betrayed,

   14     resulting in the loss of our life savings has been

   15     extremely painful and difficult to cope with.                  The

   16     majority of our life savings was invested in HomeSource.

   17     This loss caused us to lay off two employees, and the

   18     viability of our organization, which was a non-profit, is

   19     also at risk.

   20              Any plans to move in 2017 have been delayed

   21     indefinitely, and our kids' college funds and retirements

   22     were seeded in this investment.              It has impacted every

   23     area of our work and financial future."

   24              "The loss of this income crushed our future plans.

   25     Travel, possibly becoming snow birds, that plan is now

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     1    impossible.    We are still going to have to sell our

     2    Colorado home to repay the HELOC and move into something

     3    smaller, and the rest of the plan has been destroyed.

     4              In addition to the emotional stress of having

     5    $300,000 stolen and our retirement funds devastated, the

     6    stigma of trusting Karen and having that trust betrayed

     7    has left us with questions about our ability to discern

     8    unscrupulous people and opportunities."

     9              "This was inherited money from my mother and

   10     father.    Some of it belonged to the family trust, which

   11     includes myself and my two sisters.                Even writing this

   12     statement is like tearing duct tape off an open wound.

   13     Although our financial loss may not be as large as others,

   14     in our, my sister's and I world, this is a huge loss.

   15     There has been a noticeable increase in anxiety, not

   16     knowing what our financial outcome may be.

   17               I have also noticed an increase level of skepticism

   18     that I never felt before.          My trust in humanity is quickly

   19     disappearing.     I have been emotionally torn apart by

   20     this."

   21               "The principal amount was planned to be used to buy

   22     a house for retirement.         I was hoping to have been able to

   23     retire by September of 2017.            Now that this money is lost,

   24     I have no idea if or when that may happen."

   25               So those are just a few of the victim impact

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     1    statements that were submitted that I felt were worthy of

     2    being put on the record.

     3             The Government has filed Document 20, the

     4    Government's motion for a variant sentence of 65 months

     5    based on the defendant's cooperation.                 That would be

     6    greater than a 52 percent reduction from the

     7    bottom-of-the-advisory guideline range, as I believe has

     8    been properly calculated.

     9             The Government indicates that Ms. McClaflin's

   10     efforts to aid the Government in its resolution of the

   11     case have been substantial and unusual and warrants a

   12     variant sentence.

   13              In addition to meeting with the Government and

   14     confessing to her crimes, Ms. McClaflin agreed to plead

   15     guilty to an Information rather than requiring an

   16     Indictment, which the Government indicates allowed it to

   17     charge this case much more quickly than usual.

   18              The Government also indicates, and the Receiver

   19     testified here today, that Ms. McClaflin has been actively

   20     providing information and locating documents to assist the

   21     Government and the Receiver in its loss and restitution

   22     calculations and to liquidate the estate to the benefit of

   23     the recipients of those moneys.

   24              She has stipulated that the loss and restitution in

   25     this case exceeds 14 million, although apparently there is

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     1    a dispute over about 90,000 of that amount.

     2             The Receiver in the El Paso County District Court

     3    civil case did testify today.            He has reported that

     4    Ms. McClaflin's assistance in the investigation has been

     5    invaluable.    And I will agree with him and with everybody

     6    else that this is a very unusual case.

     7             Normally, in these cases, I find that the

     8    defendants have either not kept records or have shredded

     9    everything they can, and it is very difficult to put

   10     together the records to show what has been invested, what

   11     has been lost, and then to liquidate the assets.            And

   12     generally investors receive maybe 10 cents on the dollar.

   13              The Receiver in this case noted that her assistance

   14     in deciphering her business records and which assets could

   15     be liquidated in order to pay the investors was extremely

   16     helpful.    And he believes that without her assistance it

   17     could have taken years to determine the financial portion

   18     of this offense.

   19              He was appointed by the El Paso County District

   20     Court to dissolve the defendant's company, and thus far

   21     has recovered 6.4 million.           Unfortunately, it appears that

   22     there is a real squabble over most, if not all, of that

   23     from the deeds of trust that were forged by Ms. McClaflin

   24     and put into the hands of the investors for the bank.

   25              It was interesting to read that FBI Agent John

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     1    Cronan indicated that the Ponzi scheme that the defendant

     2    was conducting was different from the average Ponzi scheme

     3    because the defendant did not pocket much of that money,

     4    nor did she close down her business and take the money and

     5    flee the jurisdiction.

     6             He indicates that she has accepted responsibility

     7    for her actions and has provided invaluable assistance to

     8    the FBI in this offense.

     9             In the majority of these types of cases, the

   10     victims are rarely made whole.             I am hoping that there

   11     will be prevailing outcomes with respect to Integrity

   12     Bank, and that the investors here will be made somewhat

   13     whole, if not entirely whole.

   14              But I also noted that despite this assistance, the

   15     Government objects to the presentence report, indicating

   16     that Ms. McClaflin and her husband "divorced about one

   17     month after her fraud was discovered."                    Yet, both continue

   18     apparently to reside in the same house, and her husband

   19     has admitted that the primary reason for the divorce was

   20     to secure his assets, and states that he hopes to stay

   21     together with the defendant, because he still loves her.

   22              The Government also indicates that Ms. McClaflin

   23     has failed to account for personal assets.                   The Court sees

   24     this as hardly behavior of a defendant who is truly sorry

   25     for her conduct and wishes to make her victims whole.                   As

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     1    usual, it appears she is looking out for her own best

     2    interest.

     3              Therefore, based on my review of this case, and

     4    after consideration of the 3553(a) factors, especially the

     5    nature and circumstances of this offense, I would normally

     6    not be inclined to vary or depart at all from the advisory

     7    guideline range.

     8              However, based on the conduct of Ms. McClaflin post

     9    discovery of her fraud, I am inclined to grant a variant

   10     sentence, but not one as low as that requested by the

   11     Government.

   12               If I had determined that there was insufficient

   13     evidence to apply the 6-level enhancement of United States

   14     Sentencing Guideline Section 2B1.1(b)(2)(C) in this case,

   15     the advisory guideline range would have been 87 to 108

   16     months.

   17               In such a case, I would not have granted any

   18     variant sentence, because despite her cooperation, I think

   19     that range is sufficient, but not greater than necessary,

   20     to meet the objectives of sentencing.

   21               However, because of her cooperation, and the fact

   22     that it is at least allowing assets to be put into the

   23     hands of someone who will not dissipate them, while I am

   24     inclined to deny the Government's motion, I am inclined to

   25     grant a variant sentence somewhere within that adjusted

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     1    advisory guideline range had I not applied 2B1.1(b), so in

     2    the guideline range of 87 to 108 months, because I believe

     3    that is a sufficient, but not greater than necessary,

     4    sentence.

     5             However, I have not yet decided where within that

     6    range of 87 to 108 months the sentence should actually be.

     7    I am inclined to impose 3 years of supervised release,

     8    with all of the special conditions, including the

     9    restitution, as I indicated, in the amount of

   10     $14,528,206.39 to the victims, as set forth in the

   11     presentence report.

   12              So, the sentence would run concurrently.          It would

   13     be imposed as to both Counts 1 and 2, to be run

   14     concurrently, and the supervised release to also be run

   15     concurrently.

   16              With that being said, Mr. Hammond, I will hear from

   17     you, then I will hear from Ms. Rhyne, then, finally, if

   18     Ms. McClaflin wishes to make any statement to me on her

   19     own behalf, I will hear from you.

   20              MR. HAMMOND:     Your Honor, I have heard the Court

   21     talk about property that was misleading, or something like

   22     that.   And I am going to assume -- so I am asking

   23     direction from the Court -- that that had to do with the

   24     vehicles that were mentioned?

   25              THE COURT:    There were the vehicles that were

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     1    objected to, and then whatever -- I don't know what has

     2    happened with this "divorce."

     3             MR. HAMMOND:     Well, I can tell you, as far as the

     4    vehicles go, the 2006 ML350 has been sold, and that was, I

     5    believe, that was purchased in 2006.                 It was sold as part

     6    of the down payment -- or the payment on a 2011 ML350 that

     7    belongs to Mr. McClaflin.          I am sorry, Mr. Strange.

     8             The 2010 Audi SE coup was sold in 2017 to pay for

     9    attorney fees.     The 2014 Audi Q5 belongs to Mr. Strange.

   10     I don't know if that helps the Court or not.

   11              THE COURT:    A bit.       But we have been going for 2

   12     hours.   I need to give Ms. Martinez a break from typing.

   13     So we are going to take a 15-minute break.                We will

   14     reconvene at 1:15.

   15              (A break is taken from 12:58 p.m. to 1:11 p.m.)

   16              THE COURT:    You may be seated.

   17              Mr. Hammond, you may proceed.

   18              MR. HAMMOND:     Your Honor, I think the last place I

   19     left off was about the personal property.                 And my question

   20     for the Court was, did that sufficiently answer the

   21     Court's questions.

   22              THE COURT:    Well, it did as to those vehicles, but

   23     I don't know what other personal property is out there.

   24              MR. HAMMOND:     And that's why I asked that question.

   25     I am not aware of any other personal property that has

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     1    been mentioned besides the automobiles.

     2             THE COURT:    All right.         And then the real property

     3    that got split up in the divorce, I don't know much about

     4    that.

     5             MR. HAMMOND:     And I anticipate, or I'm going to

     6    inform the Court that as far as I can tell about the

     7    divorce, I think the divorce was something that

     8    Ms. McClaflin initiated, in large part, because she had

     9    betrayed her husband, as well as the rest of the people in

   10     this room.    And in terms of feeling like she had to do

   11     what she had to do, that is how the divorce came about.

   12              I think that they don't have the same relationship.

   13     I think that Mr. Strange cares deeply for her.             I think

   14     she cares deeply for him.          But, as many of the people told

   15     you this morning, it has caused severe marital problems,

   16     and hers is one of the -- part of the wreckage of this

   17     whole thing.     I don't know if that helps the Court with

   18     respect to that, either.

   19              One of the things that I don't believe you know, is

   20     that while all of this has been going on, just before or

   21     just after Ms. McClaflin was -- I think it was before,

   22     because it was in March, before she was charged by

   23     Information, her mother died on March 28, 2017.

   24              It was after Ms. McClaflin had gotten out of the

   25     hospital on her seventh surgery.              She had taken care of

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     1    her mom, taken care of her dad.              She was very close with

     2    her dad.    He is also -- he was also a victim.                He had been

     3    hospitalized.     He got out of the hospital and was doing

     4    pretty well, and I think it was a massive heart attack,

     5    and he died on September 23, 2017.

     6             So, the train wreck basically continues for

     7    everybody.    The loss continues for everybody.                Financial

     8    loss, the emotional loss.

     9             I will tell you, as I started to say earlier this

   10     morning at the very beginning, this is the first case that

   11     I have seen in my practice, that started in 1993 in the

   12     federal court, that the probation office recommended a

   13     downward variance based on everything that was done, and

   14     it was a substantial downward variance.                   And it was a

   15     variance of 60 months.

   16              It is the first time I have seen, in the time that

   17     I have been practicing in the United States District

   18     Court, that the Government recommended a significant

   19     downward variance on sentencing.              And I think, as I said,

   20     there are -- well, I didn't get that far, so I will start

   21     now.   I think there are four extremely relevant facts why

   22     that happened, and I want the Court to consider them.

   23              When Ms. McClaflin was confronted by the investors

   24     who were associated with the bank, she admitted what she

   25     had done and what she had been doing.

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     1             Second, when the Receiver was appointed by the El

     2    Paso County District Court, Ms. McClaflin was committed to

     3    assisting the Receiver in sorting through the documents

     4    and organizing all of the HomeSource material and business

     5    records and assisting the Receiver in how everything

     6    worked and how it started and how it would unravel.

     7             Third, she agreed that she would assist the

     8    Government.    She agreed to assist FBI agents.                 She agreed

     9    to assist IRS agents.        She agreed to assist anyone in law

   10     enforcement who had a question at any time they had a

   11     question.

   12              When I was contacted on this case, there was a

   13     meeting in the U.S. Attorney's Office.                    I expressed my

   14     constant concern about my client speaking to government

   15     agents without my being present.

   16              But it became very clear that there were things

   17     that had to be discussed in Colorado Springs that I

   18     couldn't get there, the timing was something that had to

   19     be resolved.     And the agents who called me said, do you

   20     mind if I talk to Ms. McClaflin, and I said, go ahead and

   21     do that.    She has been there for everything they have

   22     asked about.     She has cooperated in every way possible.

   23              And, fourth, beginning in about 2011,

   24     Ms. McClaflin's body went through hell.                   She started

   25     having medical issues with her hip.                And, as you have

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     1    heard, she has now had 11 surgeries, and there may be

     2    more.    The likelihood -- it is more likely than not that

     3    there will be more surgeries.

     4             She has lost 30 to 40 pounds since 2011 based on

     5    her medical condition.        And it is interesting, because

     6    that explains a lot of how this happened.                 As Agent Cronan

     7    said in the presentence report, this case is unique,

     8    because in any kind of a Ponzi scheme, the defendant takes

     9    the money, the defendant buys lavish things for himself or

   10     whoever he wants to.       The defendant goes out and takes the

   11     money or runs with the money and is never heard from

   12     again.   They spend it.

   13              She didn't spend it.          What she was doing was trying

   14     to keep things afloat.        The Court noted, the issue about

   15     Ms. McClaflin's partner and how he had -- he got out of

   16     the business.     He saw what was happening, and he declared

   17     bankruptcy and cut the losses.

   18              She didn't do that.          The reason she didn't do that

   19     wasn't because she wanted to keep a scheme going for

   20     herself, it was so everybody would get back what they put

   21     in.   That is why she kept doing it and kept doing it.               She

   22     convinced herself that if she could do that, at some point

   23     the economy was going to get better.                 At some point, it

   24     was going to turn.      And, in deed, it has.             And the values

   25     were going to go up, and she was going to be able to pay

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     1    those folks.

     2             How she did it was, to put it mildly, a mistake.

     3    What she did was wrong.         The manner in which she did it

     4    was wrong.    What she -- the goal she wanted to accomplish,

     5    that was not wrong.

     6             I have seen so many of these cases involving fraud

     7    that -- and I have done them in front of this Court, and

     8    we are familiar with each other.              I just did a sentence in

     9    front of you 2 months ago.           You know my style.

   10              I have seen these cases, and this is unique.                That

   11     is why probation did what they did.                That is why the

   12     Government did what they did.            That is why I would ask you

   13     to reconsider, because I think she can still help.               She

   14     can still help the Receiver.            She can still help whoever

   15     needs to get the help, to get money back to those who

   16     deserve to get their money back.

   17              But I cannot stress enough that what happened was

   18     she was working in a bad economy.               She kept trying to get

   19     more money so she could pay people on the front end so

   20     that she would have the money to get it when the economy

   21     got better to pay them on the back end.

   22              And she was able to juggle those balls.              She was

   23     able juggle those for a number of years, until she got

   24     sick, until she started having surgeries, and then she

   25     couldn't keep doing it.         She couldn't keep her -- she

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     1    couldn't get focused.        She couldn't even go to work.

     2             The business plan -- there were people who did due

     3    diligence, and they did check it out.                 And someone

     4    testified earlier, that told you earlier this morning,

     5    they went with the most cynical person, and that person

     6    said, she is sitting on a gold mine.

     7             And the business plan made sense.                The problem was,

     8    the business plan started to fall.                And instead of doing,

     9    as her partner did, and declaring bankruptcy and cutting

   10     the losses, maybe for them, but certainly for him,

   11     Ms. McClaflin was trying to make sure that everybody got

   12     taken care of.

   13              THE COURT:    The ends do not justify the means.

   14              MR. HAMMOND:     I understand.

   15              THE COURT:    They don't.

   16              MR. HAMMOND:     And I have said that it was wrong.

   17     But, I think -- and I know this Court knows that this is a

   18     different kind of case.         I'm willing to bet that this

   19     Court has never seen a scheme like this.

   20              THE COURT:    I have never seen a defendant

   21     cooperate, which is why I am willing to vary somewhat.

   22              MR. HAMMOND:     Okay.       But does the Court also agree

   23     -- well --

   24              THE COURT:    Everybody comes here and tells me, for

   25     the most part, that we were just trying to get them their

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     1    money back.

     2              MR. HAMMOND:     Right.

     3              THE COURT:   I had one of those, what, 2 or 3 years

     4    ago, a lawyer who did it.

     5              MR. HAMMOND:     I understand.

     6              THE COURT:   So, yeah, but you did this fraudulent

     7    scheme.    How much extra work did it take to develop all of

     8    these false documents to keep her scheme going?                 I mean,

     9    she put an awful lot of time and efforts into falsifying

   10     things, as opposed to doing something constructive.

   11               MR. HAMMOND:     And, I am sorry, I am not sure what

   12     was constructive.      She did --

   13               THE COURT:   There wasn't anything constructive.

   14               MR. HAMMOND:     Well, and I understand that the end

   15     result was bad.     I am not arguing with the Court on the

   16     ends justifying the means.            I am not doing that.       What I

   17     am saying is, you know that that other person who was

   18     sentenced before you didn't mean it.                  You know that that

   19     other person was, as you were talking about, was involved

   20     in their own personal greed.

   21               You can look through these things, and I think the

   22     agents told you in the presentence report, that they

   23     believe that that was what the motive was to keep this

   24     going.    That is what they believe the motive was.               That is

   25     unique in this jurisdiction, and I believe every

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     1    jurisdiction in the country.            That, I think, is important.

     2             The fact is, as I said before, her body began to

     3    betray her.    She got sick.         And I know the Court is

     4    considering the fact that even though she has had a number

     5    of surgeries, even though she has had a number of

     6    infections that had to be treated, even though this is

     7    ongoing, she still went into the office and assisted the

     8    Receiver and the Receiver's assistant every day that she

     9    could.   She went in and assisted the agents every day that

   10     she could.    She went and did everything that she could.

   11              I can probably guarantee -- I don't know, I don't

   12     have a crystal ball, but I can probably guarantee that

   13     that person who got sentenced last before you, didn't go

   14     in and cooperate with the agents, didn't go in every day

   15     with the Receiver and try to make sense of the records and

   16     put them straight so that those people would not only get

   17     paid, but tried to make it sooner rather than later.

   18              That is another thing that is interesting, I think,

   19     about this case, because as you were talking about that

   20     other person, there is a certain amount of arrogance that

   21     people have when they think that they can get away with

   22     something.    In this case, I don't think the failure was

   23     arrogant.    And I don't think the human failure was

   24     arrogance.    I think the human failure was vanity.          I think

   25     the human failure of vanity was that she thought she could

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     1    get there on the other side, and it didn't happen.

     2             There were people who, I believe, appealed to that

     3    sense of vanity when they came to her and said, look, we

     4    can give you a whole lot of capital, but you have to

     5    consolidate all of those with us and put us first.                  And I

     6    think that appealed also to the vanity.                   And I think that

     7    is a different factor than the arrogance that you normally

     8    see.

     9             Everyone agrees, I think, in this case, that the

   10     guidelines really don't work.            This is not a guideline

   11     sentencing case.      You have the authority to issue a

   12     different kind of sentence.           You can create a sentence

   13     that will provide an adequate amount of punishment under

   14     18 U.S.C. 3553.     The other needs that she has, which are

   15     primarily her medical needs, and the needs that I believe

   16     that the Receiver told you that he had to maintain contact

   17     and communication with her.

   18              I think that the Court has already indicated that

   19     there will be a sentence to the Bureau of Prisons.

   20     Assuming that that happens, I am just trying to remember

   21     to do this now rather than later, I am going to ask that

   22     you recommend a sentence to a federal medical center.

   23              THE COURT:    All right.         Thank you.

   24              Ms. Rhyne, do you wish to have the podium?

   25              MS. RHYNE:    If I could, Your Honor.

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     1             THE COURT:    All right.         If you can have a seat.

     2             MS. RHYNE:    Your Honor, I would like to preface for

     3    my remarks, so they are not confusing or perceived as

     4    disrespectful by the Court, but there is Tenth Circuit

     5    authority that says the Government can't argue for a

     6    sentence that was not contemplated by the plea agreement

     7    or is in conflict with the plea agreement.

     8             So, I hear the Court's directive that I am to argue

     9    for what the appropriate sentence is between 87 and 108

   10     months, which would have been the calculation the parties

   11     came up with absent any downward variance requested by the

   12     Government.    So I am going to use that terminology.            It is

   13     not because I misunderstand, it is just trying to --

   14              THE COURT:    Well, actually, I had a question about

   15     that, because I thought her plea agreement said that she

   16     would waive her right to appeal only if her guideline

   17     sentence was with an offense level 27, not 29.            So I

   18     wasn't quite sure what had really been agreed to.

   19              MS. RHYNE:    I think that represents the

   20     acknowledgment in the calculation that she was not

   21     agreeing to the 2-level enhancement for the more than $1

   22     million.

   23              THE COURT:    All right.

   24              MS. RHYNE:    And I may be overly cautious, Your

   25     Honor, I just don't want the Tenth Circuit to find that I

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     1    have breached the plea agreement.

     2              THE COURT:   Okay.

     3              MS. RHYNE:   Be that as it may, understanding your

     4    construct of where should she be sentenced within 87 to

     5    108 months, the Government does believe she should be

     6    acknowledged or rewarded for her efforts, which have been

     7    long talked about in this hearing, so I won't go over it.

     8              THE COURT:   And your recommendation was essentially

     9    a 25 percent downward variance.

   10               MS. RHYNE:   That was the intention based on the

   11     calculation in the plea agreement.                So, yes, that is the

   12     rubric.    So the Government would ask that between the 87

   13     and 108 months, she be sentenced to 87 months, because at

   14     least under my rubric, that would be a low-end guideline

   15     sentence, understanding that the Court would view that as

   16     a variant sentence.      But that is going to be my position.

   17               Not only that she substantially helped in this

   18     case, both in putting loss calculations together, but also

   19     the Receiver has indicated, in wrapping things up.               And I

   20     know it is not expedient in the eyes of most people, but

   21     federal litigation and, apparently, state litigation,

   22     often takes a long time.         And to get this case from a

   23     charging document to a sentencing in a year is actually

   24     pretty fast.

   25               And I would like to comment, one of the reasons

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     1    that the Government was willing to go forward early on and

     2    perhaps cut a deal before it had all of the facts, was

     3    because I, too, have litigated these cases, and I have

     4    seen them when they take a year to 2 years to charge,

     5    because we need to get all of the bank records and make

     6    sure we have everything, and another year to 2 years to

     7    sometimes 3 years to go to trial, and another 3 to 7 to 8

     8    months to sentence.

     9             And there we are -- my math is not quite up to

   10     speed yet -- but maybe 5 years later, the defendant is

   11     being sentenced, the victims haven't received restitution,

   12     and there is no money left.

   13              And that is something I see frequently in large

   14     white collar cases.      That was why the Government was

   15     willing to go forward quickly, with the idea that she was

   16     wanting to confess, plead guilty, and assist the case,

   17     even at the expense of the 4 levels that the Court has

   18     found that the Government missed.               And I appreciate the

   19     Court's disagreement there.

   20              But that is where those compromises get made,

   21     because in looking at the lay of the land, what do we

   22     think is the best approach to serve justice in the bigger

   23     picture, and that is the compromise the Government made.

   24              And, so, with that in mind, at least an 87-month

   25     sentence does acknowledge her assistance in cooperating,

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     1    which was valuable, and we want to encourage any other

     2    defendant who might be willing to do that, to do so in the

     3    future.    And if there was a message from this case, that

     4    that would not be rewarded, that becomes an even less

     5    likely result for the future.

     6              So, that is the Government's position.          You have

     7    heard from the victims.         You understand fully the impact

     8    of this case, but that is the Government's position.

     9              THE COURT:   All right.         Thank you.

   10               All right.   Mr. Hammond, would you and

   11     Ms. McClaflin please retake the podium.

   12               Ms. McClaflin, do you wish to make any statement to

   13     me on your own behalf before I impose sentence?

   14               THE DEFENDANT:     Yes, Your Honor, I do.

   15               THE COURT:   You may.

   16               THE DEFENDANT:     This is really tough.        I guess one

   17     of the first things that I want to say, and this is really

   18     to the victims, is just how sorry I am that we're here

   19     today; that I made such a mess of things, because I never

   20     set out to hurt anybody.         I really screwed up.      I tried to

   21     make it right, and in my desperation in trying to make it

   22     right, I crossed the line, and I did some illegal things

   23     that I should not have done.

   24               I did a lot of things right, but I did a lot of

   25     things wrong, and that is why I'm here today.

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     1             One of my co-workers was suspected of altering an

     2    ownership and encumbrance report that was provided to one

     3    of our investors, and when they questioned her about it, I

     4    went to them and admitted that it was me that had done

     5    that and not her, and that is what brought down the whole

     6    kind of crash of HomeSource, if you can call it that.

     7             All of these years, I have tried so desperately to

     8    hold this up, believing, genuinely believing, given enough

     9    time, that I could make it right.               And I realize now, over

   10     the last 13 months, in working with Denise, who works for

   11     the Receiver, and she and I meet over at the office, and

   12     going through all of the records and holding each of the

   13     investor files, I see I see their faces.

   14              I see the Jacksons.          I see the Tinkles.     I see

   15     their victim impact statements, because I have read them

   16     over and over and over, and even the ones that you have

   17     read, I could tell you who wrote each one, because I have

   18     read them so often.

   19              And I know that the pain that they wrote in those

   20     impact statements is the same pain that I carry, because I

   21     am responsible.     I am the one that did this.           I took money

   22     from, you know, that I shouldn't have, from my marital

   23     assets, that I never told my husband about, and plowed it

   24     into the company to make sure everybody was getting their

   25     payments, and that nothing was wrong, because I needed to

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     1    buy time to make it right.

     2              My dad is a victim of HomeSource.               My husband is a

     3    victim of HomeSource.        My friends, and the people who are

     4    standing here, sitting behind me, were my friends.                 And I

     5    didn't befriend them so -- some of them became friends

     6    after they were investors.

     7              But I didn't befriend Paula Greco so that she would

     8    be an investor.     She was my friend.             I was just unable to

     9    call and talk to anybody after this whole thing happened,

   10     and I wanted to so desperately, to reach out and talk to

   11     everybody and tell them how sorry I was and how hard I was

   12     working to try and get them their money back, and that I

   13     continued to try to get them their money back.

   14               And by working with Denise and working with the

   15     Receiver and this lawsuit, and claw backs, I believe we

   16     have a really good shot in making these people whole.                  And

   17     I don't want to stop until they are whole.                 I mean, I

   18     can't.    I can't stop.

   19               And I wake up with it in the morning.              I go to bed

   20     with it at night.      It is all encompassing to me.             I told

   21     one of the, I think it was Mr. Sims, said that I had told

   22     him that I never lost a dime of money for anybody, and I

   23     hadn't.    And I never intended to.

   24               THE COURT:   But you had.           You had lost it.    And you

   25     defrauded others to try to make it look like you didn't.

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     1             THE DEFENDANT:      I guess that is right.              I didn't

     2    see it that way at the time, but it was like the wrong

     3    words seemed to rhyme.        And I thought, just another couple

     4    of years, I can make this right.              And I realize now how

     5    unrealistic that was.

     6             I am so -- I am ashamed.             If there is one good

     7    thing about my dad passing in September, it is that he is

     8    not here to see my shame.          And I am doing everything I

     9    know to do to try and make this right for everybody.                   And

   10     I don't want these -- any of these investors to lose a

   11     dime.

   12              And I want -- I will spend the rest of my life

   13     making restitution, until everybody is okay.                   Whether it

   14     comes from this court case, whether it comes from me

   15     working and making it happen that way, I won't stop until

   16     they are okay.

   17              And I'm just so sorry.           And it is my fault.         I take

   18     complete responsibility for it.              I always have.       It is no

   19     one else's fault but mine.           I created HomeSource, and I

   20     destroyed HomeSource.        And I never meant to destroy all

   21     these people and the lives in between.                    Never intended to

   22     do that, never.

   23              And it is very painful to hear what -- you know,

   24     when they get up here and talk, because I care very much

   25     about them.     And what -- my actions have, you know, hurt

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     1    them.    And it is not who I am.           And I wish I could go back

     2    and never have started HomeSource, and stayed a realtor,

     3    and just had had my simple little company, and done things

     4    correctly, like we always had.

     5             The little real estate company was perfect.               And

     6    then when HomeSource started, then everything was -- it

     7    was like there was a cancer, and I couldn't cure it.                I

     8    couldn't.    And I should have stopped.               And my big mistake

     9    was to continue.      I never should have continued, and I

   10     should have stopped.

   11              And, you know, at that point, there is a lot of

   12     things I should have done that I didn't do.                But what I

   13     can do is to continue to help the Receiver for as long as

   14     this Court will allow me, and in helping to get as much

   15     money back for these investors as I possibly can.                And

   16     that is what I intend to do for as long as I can.

   17              THE COURT:     All right.        As a result of the United

   18     States Supreme Court's rulings in United States v. Booker

   19     and United States v. Fanfan, the United States Sentencing

   20     Commission Guidelines have become advisory to this Court.

   21     Although this Court is not bound to apply those

   22     guidelines, it has consulted them and taken them into

   23     account, along with the sentencing factors set forth at 18

   24     United States Code Section 3553(a).

   25              The Court finds that the 6-level enhancement

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     1    pursuant to United States Sentencing Guideline

     2    2B1.1(b)(2)(C) does apply in this case.                   The Court

     3    determines that no finding is necessary concerning the

     4    remaining objections to the presentence report, because

     5    the controverted matters will not be taken into account in

     6    imposing sentence, nor will they affect the sentence that

     7    the Court imposes.

     8             Neither the Government nor the defendant has

     9    challenged any other aspect of the presentence report,

   10     therefore, the remaining factual statements and guideline

   11     applications are adopted without objection as the Court's

   12     findings of fact concerning sentencing.

   13              The Court finds that the total offense level is 33.

   14     The defendant's Criminal History Category is a I.                     That

   15     results in an advisory imprisonment range of 135 to 168

   16     months, and a fine range of $17,500 to $29,056,412.78.

   17     The supervised release range is not more than 3 years.

   18              The Court denies the Government's motion for a

   19     variant sentence of 65 months.

   20              However, for the reasons previously stated by this

   21     Court, in particular, the cooperation of the defendant

   22     post discovery of her criminal fraudulent scheme, the

   23     Court finds that a variant sentence is warranted in this

   24     case.

   25              Pursuant to the Sentencing Reform Act of 1984, it

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     1    is the Judgment of the Court that the defendant, Karen

     2    Lynne McClaflin, is hereby committed to the custody of the

     3    Bureau of Prisons to be imprisoned for a term of 96 months

     4    on Counts 1 and 2, to run concurrently.

     5             Upon release from imprisonment, she shall be placed

     6    on supervised release for a term of 3 years on Counts 1

     7    and 2, both terms to run concurrently.

     8             Within 72 hours of release from the custody of the

     9    Bureau of Prisons, she shall report in person to the

   10     probation office in the district to which she is released.

   11              While on supervised release, she shall not commit

   12     another federal, state, or local crime; shall not possess

   13     a firearm, as defined in 18 United States Code Section

   14     921; and shall comply with the standard conditions that

   15     have been adopted by this Court in General Order 2016-1.

   16              She shall not unlawfully possess a controlled

   17     substance.     The Court waives the mandatory drug testing

   18     provisions, because the presentence report indicates a low

   19     risk of future substance abuse by this defendant.

   20              She shall cooperate in the collection of DNA as

   21     directed by the probation officer.

   22              The Court finds that the following special

   23     conditions of supervision are reasonably related to the

   24     factors set forth at 18 United States Code Sections

   25     3553(a) and 3583(d).

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     1             Further, based on the nature and circumstances of

     2    this offense and the history and characteristics of this

     3    particular defendant, these conditions do not constitute a

     4    greater deprivation of liberty than reasonably necessary

     5    to accomplish the goals of sentencing.

     6             The defendant shall make restitution in the total

     7    amount of $14,528,206.39 to the victims, and in the

     8    amounts indicated in the presentence report.              Each victim

     9    shall receive an approximately proportionate payment based

   10     on victim's share of total loss.              Any disbursements

   11     returned to the Clerk of the Court as unclaimed or

   12     undeliverable shall be deposited into the Court's registry

   13     and disbursed to the remaining victims on a pro rata

   14     basis.

   15              Restitution is ordered and directed to the

   16     addresses provided to the Clerk of the Court by the

   17     probation officer.      The Court has determined that the

   18     defendant does not have the ability to pay interest, and

   19     it is ordered that the interest requirement is waived for

   20     the restitution.

   21              The defendant shall not incur new credit charges,

   22     open additional lines of credit, or obtain or entering

   23     into any financing agreement or arrangement without the

   24     approval of the probation officer unless the defendant is

   25     in compliance with the periodic payment obligations

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     1    imposed pursuant to the Court's judgment and sentence.

     2             As directed by the probation officer, the defendant

     3    shall apply any moneys received from income tax refunds,

     4    lottery winnings, inheritances, judgments, and any

     5    anticipated or unexpected financial gains to the

     6    outstanding Court-ordered financial obligation in this

     7    case.

     8             The defendant must provide the probation officer

     9    with access to any requested financial information, and

   10     authorize the release of any financial information to the

   11     probation officer until all financial obligations imposed

   12     by the Court are paid in full.

   13              She shall make payment on the restitution

   14     obligation that remains unpaid at the commencement of the

   15     supervised release.      Within 60 days of release from

   16     confinement, she shall meet with probation officer to

   17     develop a plan for the payment of restitution.            She shall

   18     work with the probation officer in the development of a

   19     monthly budget that shall be reviewed with the probation

   20     officer quarterly.

   21              She shall document all income, compensation, and

   22     financial support generated or received from any source,

   23     and provide that information to the probation officer as

   24     requested.     The plan of payment will be based upon

   25     defendant's income and expenses, with the restitution

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     1    amount to be paid in monthly installment payments.             Such

     2    monthly installment payments shall be at least 10 percent

     3    of the defendant's gross monthly income.

     4             Because this sentence imposes restitution, it is a

     5    condition of supervision that she pay in accordance with

     6    this Order.

     7             All employment must be approved in advance by the

     8    probation officer, and the defendant shall not engage in

     9    any business activity unless approved by the probation

   10     officer.    All approved business activity must operate

   11     under a formal registered entity, and the defendant shall

   12     provide the probation officer with a business entities and

   13     their registered agents.

   14              She shall maintain business records for any

   15     approved business activity and provide all documentation

   16     and records as requested by the probation officer.

   17              She shall maintain separate personal and business

   18     finances and shall not commingle personal and business

   19     funds or income in any financial accounts, including, but

   20     not limited to bank accounts and lines of credit.

   21              If she has an outstanding financial obligation, the

   22     probation officer may share any financial or employment

   23     documentation relevant to the defendant with the Asset

   24     Recovery Division of the United States Attorney's Office

   25     to assist in the collection of the obligation.

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     1             She shall pay a special assessment of $200.              The

     2    Court finds that the defendant does not have the ability

     3    to pay a fine, so the Court waives the fine in this case.

     4             It is ordered that the payment of the special

     5    assessment and restitution obligations are due and payable

     6    immediately.     Any unpaid restitution balance upon release

     7    from incarceration shall be paid in monthly installment

     8    payments as previously described by this Court.

     9             Pursuant to Rule 32.2 of the Federal Rules of

   10     Criminal Procedure and the defendant's admission to the

   11     forfeiture allegation contained in the Indictment -- or it

   12     in the Information, rather, the defendant shall forfeit to

   13     the United States any and all property, real or personal,

   14     derived from proceeds from the instant offense.

   15              Now, Ms. McClaflin, I want you, and I want

   16     everybody in the audience to know that I take my task of

   17     sentencing very seriously.           As you can see, I have spent

   18     hours and hours on this case.            Because, on one hand I want

   19     to be fair to you, because I understand I have impacting

   20     your life by the sentence I impose.                But I also have an

   21     obligation to the public and to society to protect them

   22     from further crimes by you and by others, to promote force

   23     the laws of the United States, and to impose a sentence

   24     that is going to deter you and others from committing

   25     similar criminal conduct.

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     1             Now, in this particular case, I just cannot fathom

     2    how you could look at people and pretend to be their

     3    friend, and then take their money, knowing they were never

     4    going to get it.      Because while you may have had this

     5    pie-in-the-sky thought that you could do it, this went on

     6    for years.

     7             You knew you were in way over your head.           And you

     8    looked at them and you lied to them, and then you

     9    fraudulently did documents when the bank came to you and

   10     said, we want our investors in the first place, you took

   11     them out of that position and put these others in that

   12     place.    I just can't imagine how anyone, who has any

   13     conscience, could do that.

   14              I gave you a break here because you did cooperate,

   15     otherwise you would have been looking at spending probably

   16     the 135 months in prison, more than 10 years.             I gave you

   17     a break which is equal to approximately the 25 percent

   18     that the Government was seeking for your cooperation.

   19              And, normally, I will tell you the truth, I take

   20     these fraudulent white collar fraud crimes very seriously,

   21     because, I think that, for the most part, the guidelines

   22     really slap defendants who sell drugs, as it should, and

   23     others very hard, and they give people like you a slap on

   24     the wrist.     But you took $14 million, and you destroyed

   25     the lives of all of these people.

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     1             I think that the 135 of the original range that

     2    came up here was a sufficient, but not greater than

     3    necessary, sentence.       And if you hadn't cooperated, I

     4    would have probably given you a sentence at the top of

     5    that guideline.      But, because you cooperated, and this

     6    case is unique because of that.              Most of the other cases,

     7    the money is gone, the defendant won't help.                I am hopeful

     8    that your victims will get at least some money back.

     9             And I am hopeful that the Receiver and the attorney

   10     are going to be able to help do that.                 But, for some of

   11     them, it is going to be too late.               They are elderly.

   12     Their parents are elderly.           And it is going to take years

   13     to unravel the mess that you made.

   14              I do believe that this sentence of 96 months of

   15     imprisonment, with the 3 years of supervised release and

   16     the restitution, does reflect the seriousness of this

   17     offense and is a sufficient, but not greater than

   18     necessary, sentence to achieve the objectives of

   19     sentencing.

   20              Now, Ms. McClaflin, although you waived your right

   21     to appeal the under the circumstances outlined in your

   22     plea agreement, to the extent that you have not waived

   23     your right to appeal, you are advised that if you desire

   24     to appeal, a Notice of Appeal must be filed with the Clerk

   25     of the Court within 14 days after entry of Judgment or

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     1    your right to appeal will be lost.

     2             If you are not able to afford an attorney for an

     3    appeal, one will be appointed to represent you.            And, if

     4    you request, the Clerk of the Court must immediately

     5    prepare and file a Notice of Appeal on your behalf.

     6             I guess I need to ask Ms. Rhyne, are you wanting me

     7    to remand immediately, or are you willing to allow

     8    Ms. McClaflin to voluntarily surrender?

     9             MS. RHYNE:     Your Honor, we agreed to allow her to

   10     voluntarily surrender.

   11              May I make a point as to the order of forfeiture,

   12     Your Honor?

   13              THE COURT:     Yes.

   14              MS. RHYNE:     On April 25, 2018, you entered a

   15     preliminary order of forfeiture, and I wanted a

   16     clarification that you are making it a final order of

   17     forfeiture as of your Order today.

   18              THE COURT:     Yes.

   19              MS. RHYNE:     Thank you, Your Honor.

   20              THE COURT:     All right.        The Court does find that

   21     the defendant's bond conditions do reasonably assure that

   22     she will not flee or pose a danger to the safety of any

   23     other person or the community.             And, as such, I hereby

   24     allow Ms. McClaflin to remain free on bond, subject to the

   25     same conditions as set forth in her Order setting

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     1    conditions of release.

     2             It is ordered, however, Ms. McClaflin, that you

     3    will surrender to the institution designated by the Bureau

     4    of Prisons before noon within 15 days of the date of

     5    designation.     Your bond is exonerated at the time of your

     6    voluntary surrender at the institution designated by the

     7    Bureau of Prisons.

     8             I am directing you, immediately after this hearing,

     9    to go down to the third floor of this building, to the

   10     Marshal's Office, and fill out the self-surrender card

   11     with them.

   12              Is there anything further, Mr. Hammond?

   13              MR. HAMMOND:     Your Honor, as I said earlier, I

   14     would ask the Court to consider designation to a federal

   15     medical center.      I met the former chief of designations

   16     for the Bureau of Prisons last year at a Sentencing

   17     Commission seminar here in Denver.

   18              It is my understanding, from the brief conversation

   19     I was able to have with him, that a designation to an FMC

   20     would be the best.      He suggested Carswell.            I also learned

   21     from that seminar that a specific designation to a

   22     specific institution isn't as easy to do, but a general

   23     designation to a medical center is considered by the

   24     Bureau of Prisons.

   25              THE COURT:     All right.        I am not willing to make

                                  DARLENE M. MARTINEZ, RMR, CRR
                                     United States District Court
                                     For the District of Colorado

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     1    that recommendation.       I think the Bureau of Prisons can

     2    sort out whether she really does have serious medical

     3    issues that are different from any of the other defendants

     4    that they see on a regular basis who have medical issues.

     5    So I am not willing make that designation or that

     6    recommendation to the Bureau of Prisons.

     7             Nothing further, then Court will be in recess.

     8             (Proceedings conclude at 1:51 p.m.)

     9

   10               R E P O R T E R ' S           C E R T I F I C A T E

   11

   12              I, Darlene M. Martinez, Official Certified

   13     Shorthand Reporter for the United States District Court,

   14     District of Colorado, do hereby certify that the foregoing

   15     is a true and accurate transcript of the proceedings had

   16     as taken stenographically by me at the time and place

   17     aforementioned.

   18

   19              Dated this 24th day of May, 2018.

   20

   21              _____________________________

   22              s/Darlene M. Martinez

   23              RMR, CRR

   24

   25

                                  DARLENE M. MARTINEZ, RMR, CRR
                                     United States District Court
                                     For the District of Colorado

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AO 245C (Rev. 09/17)    Amended Judgment in a Criminal Case                                                                  (NOTE: Identify Changes with Asterisks (*))
                        Sheet 1



                                           UNITED STATES DISTRICT COURT
                                                                     District of Colorado
               UNITED STATES OF AMERICA                                                  AMENDED JUDGMENT IN A CRIMINAL CASE
                                    v.                                        )
                                                                              )     Case Number:                     17-cr-00168-CMA-1
                 KAREN LYNN MCCLAFLIN                                         )
                                                                              )     USM Number:                      44166-013
                                                                              )
                                                                                    Thomas James Hammond
Date of Original Judgment: 5/10/2018                                          )
                                         (Or Date of Last Amended Judgment)         Defendant’s Attorney
                                                                              )
Reason for Amendment:                                                         )
‫ ܆‬Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                   ‫ ܆‬Modification of Imposed Term of Imprisonment for Extraordinary and
                                                                              )
‫ ܆‬Reduction of Sentence for Changed Circumstances (Fed. R. Crim.P. 35(b))                Compelling Reasons (18 U.S.C. § 3582(c)(1))
                                                                              )
‫ ܆‬Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))               ‫ ܆‬Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
                                                                              )
‫ ܈‬Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                      to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
                                                                              )
‫ ܆‬Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))          ‫ ܆‬Direct Motion to District Court Pursuant to
                                                                                      ‫ ܆‬28 U.S.C. § 2255 or        ‫ ܆‬18 U.S.C. § 3559(c)(7)
                                                                                    ‫ ܆‬Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
‫ ܈‬pleaded guilty to count(s)         1 and 2 of the Information
‫ ܆‬pleaded nolo contendere to count(s)
   which was accepted by the court.
‫ ܆‬was found guilty on count(s)
   after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                    Nature of Offense                                                                    Offense Ended                  Count
18 U.S.C. § 1343                   Wire Fraud                                                                              02/2017                       1
18 U.S.C. § 1957                   Monetary Transaction in Property Derived from Wire Fraud                              09/02/2016                      2


       The defendant is sentenced as provided in pages 2 through                         9         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
‫ ܆‬The defendant has been found not guilty on count(s)
‫ ܆‬Count(s)                                                    ‫ ܆‬is      ‫ ܆‬are dismissed on the motion of the United States.
          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                  0D\, 2018
                                                                                  Date of Imposition of Judgment


                                                                                  Signature of Judge
                                                                                  Si

                                                                                  Christine M. Arguello, United States District Judge
                                                                                  Name and Title of Judge
                                                                                          6/11/2018
                                                                                  Date




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 DEFENDANT:                  KAREN LYNN MCCLAFLIN
 CASE NUMBER:                17-cr-00168-CMA-1

                                                            IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
         NINETY-SIX (96) MONTHS as to each count, to run concurrently.




      ‫܆‬    The court makes the following recommendations to the Bureau of Prisons:




      ‫܆‬    The defendant is remanded to the custody of the United States Marshal.

      ‫܆‬    The defendant shall surrender to the United States Marshal for this district:
           ‫܆‬      at                                       ‫܆‬      a.m. ‫܆‬        p.m.   on                                                      .
           ‫܆‬      as notified by the United States Marshal.

      ‫܈‬    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           ‫܈‬      before 2 p.m. within 15 days of designation              .
           ‫܆‬      as notified by the United States Marshal.
           ‫܈‬      as notified by the Probation or Pretrial Services Office.

                                                                   RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                            to

 at                                                  , with a certified copy of this judgment.



                                                                                                    UNITED STATES MARSHAL



                                                                               By
                                                                                                 DEPUTY UNITED STATES MARSHAL




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 DEFENDANT:                  KAREN LYNN MCCLAFLIN
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                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of: THREE (3) YEARS, as to each count, to run
concurrently.




                                                     MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              ‫ ܈‬The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                   substance abuse. (check if applicable)
4.    ‫ ܆‬You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
      restitution. (check if applicable)
5.    ‫ ܈‬You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    ‫ ܆‬You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
             directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
             reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    ‫ ܆‬You must participate in an approved program for domestic violence. (check if applicable)




You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.




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                                       STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
 because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
 officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
       time frame.
 2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
       the court or the probation officer.
 4.    You must answer truthfully the questions asked by your probation officer.
 5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware of a change or expected change.
 6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
 8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
 9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
       was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
       tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
 12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
 13.   You must follow the instructions of the probation officer related to the conditions of supervision.



 U.S. Probation Office Use Only
 A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
 judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
 Release Conditions, available at: www.uscourts.gov.


 Defendant's Signature                                                                                     Date




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 DEFENDANT:                  KAREN LYNN MCCLAFLIN
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                                         SPECIAL CONDITIONS OF SUPERVISION
 1. You must not incur new credit charges or open additional lines of credit without the approval of the probation officer,
    unless you are in compliance with the periodic payment obligations imposed pursuant to the Court’s judgment and
    sentence.
 2. You must provide the probation officer access to any requested financial information and authorize the release of any
    financial information until all financial obligations imposed by the court are paid in full.
 3. As directed by the probation officer, you must apply any monies received from income tax refunds, lottery winnings,
    inheritances, judgments, and any anticipated or unexpected financial gains to the outstanding court-ordered financial
    obligation in this case.
 4. You must make payment on the restitution obligation that remains unpaid at the commencement of supervision. Within
    60 days of the commencement of supervision, you must meet with the probation officer to develop a plan for the
    payment of the obligation. This plan will be based upon your income and expenses. The plan will be forwarded to the
    Court for review and approval.
 5. You must work with the probation officer in development of a monthly budget that will be reviewed with the probation
    officer quarterly.
 6. If you have an outstanding financial obligation, the probation office may share any financial or employment
    documentation relevant to you with the Asset Recovery Division of the United States Attorney's Office to assist in the
    collection of the obligation.
 7. You must document all income and compensation generated or received from any source and must provide that
    information to the probation officer as requested.
 8. All employment for you must be approved in advance by the supervising probation officer and you must not engage in
    any business activity unless it is approved by the probation officer. All approved business activity must operate under a
    formal, registered entity, and you must provide the probation officer with the names of the business entities and their
    registered agents. You must maintain business records for any approved business activity and provide all documentation
    and records as requested by the probation officer.
 9. You must maintain separate personal and business finances and must not co-mingle personal and business funds or
    income in any financial accounts, including but not limited to bank accounts and lines of credit.




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                                              CRIMINAL MONETARY PENALTIE6
      The defendant must pay the total criminal monetary penalties under the schedule of payments on the following page.

                       Assessment                 JVTA Assessment*                   Fine                        Restitution
 TOTALS            $ 200.00                    $ 0.00                              $ 0.00                     $ 14,528,206.39


‫ ܆‬The determination of restitution is deferred until                         . An Amended Judgment in a Criminal Case (AO 245C) will be entered
  after such determination.

‫ ܈‬The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid. Disbursement of restitution payments sent to victims and returned to the Clerk of Court as unclaimed or
    undeliverable shall be deposited into the Court’s registry and disbursed to the remaining victims.

 Name of Payee                                   Total Loss**                       Restitution Ordered                    Priority or Percentage
 Willem & Emily Adams                            $213,500.00                           $213,500.00
 ASI Capital Income Fund Inc                     $319,450.00                           $319,450.00
 Wendy Banning                                   $24,250.00                            $24,250.00
 Roger Barrack                                   $793,673.01                           $793,673.01
 Trevor & Laura Black                            $94,000.00                            $94,000.00
 John Jay Bradley                                $671,890.27                           $671,890.27
 Leland & Delores Brinkman                       $268,262.49                           $268,262.49
 Camisa LLC                                      $47,665.75                            $47,665.75
 Karole Campbell                                 $11,906.14                            $11,906.14
 William & Jeanette Childs                       $85,979.72                            $85,979.72
 Sarah Davison-Steward                           $104,595.04                           $104,595.04
 Carol Dobbin                                    $124,549.84                           $124,549.84
 Mark & Jodi Dunn                                $141,851.56                           $141,851.56
 GST Exempt Trust (Sandra D. Elliot)             $60,094.70                            $60,094.70
 Judith Fasano                                   $68,055.60                            $68,055.60

 SEE NEXT PAGE FOR ADDITIONAL PAYEES
‫ ܆‬Restitution amount ordered pursuant to plea agreement                  $

‫ ܆‬The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
  to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‫ ܈‬The court determined that the defendant does not have the ability to pay interest and it is ordered that:

    ‫ ܈‬the interest requirement is waived for the                ‫ ܆‬fine       ‫ ܈‬restitution.

    ‫ ܆‬the interest requirement for the          ‫܆‬        fine    ‫ ܆‬restitution is modified as follows:




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                                                          ADDITIONAL PAYEE6

 Name of Payee                                      Total Loss**     Restitution Ordered                Priority or Percentage
 Chris and Laura Fowler                              $64,425.54         $64,425.54
 Susan Fowler                                        $88,000.00         $88,000.00
 Westcor Land Title (formerly Ganz)                 $92,400.00         $92,400.00
 Gerald & Gertie Geurin                              $88,000.00         $88,000.00
 Diane E. Glaser, Living Trust                       $79,717.56         $79,717.56
 Jeffrey B. Grafton                                  $156,236.30        $156,236.30
 Mark Grissom                                        $77,941.20         $77,941.20
 Samuel & Sarah Grondin                              $56,786.20         $56,786.20
 Robert M. Haddock                                   $494,320.00        $494,320.00
 Metal Roof (Robert Haddock)                         $253,175.84        $253,175.84
 Renee Hames                                         $92,500.00         $92,500.00
 Mark & Peggy Henjum                                 $132,318.10        $132,318.10
 Cynthia Henson                                      $17,597.96         $17,597.96
 Edward H. Houle                                     $132,000.00        $132,000.00
 Patrick & Susie Houle                               $133,650.00        $133,650.00
 John O. Howard, Jr.                                 $216,773.12        $216,773.12
 Scott Charles Ignatius                              $286,140.00        $286,140.00
 Pearl R. Jackson                                    $129,050.00        $129,050.00
 Richard Jackson                                     $410,884.50        $410,884.50
 Richard C. & Pearl R. Jackson                       $71,538.52         $71,538.52
 Lois H. Jackson                                     $183,530.56        $183,530.56
 Christopher A. Jahns                                $89,700.00         $89,700.00
 Venkatesan & Jayanthi Kailasam                     $5,588.63          $5,588.63
 Hunter Kemper                                       $148,500.00        $148,500.00
 Larry & Pauline King                                $304,642.77        $304,642.77
 Brent W. King                                       $29,600.00         $29,600.00
 Doug Klimas                                         $165,266.66        $165,266.66
 Douglas J. & Donna K. Klimas                        $296,661.16        $296,661.16
 Donna K. Klimas                                     $154,939.79        $154,939.79
 Good Life Properties (Klimas)                       $23,850.00         $23,850.00
 Randy Knoche                                        $80,000.00         $80,000.00
 Bernard L. & Ruthanne Koch                          $199,000.00        $199,000.00
 Jeff Koch                                           $198,500.00        $198,500.00
 Joyce Koch Living Trust                             $183,050.00        $183,050.00
 Scott R. Koch Living Trust                          $243,950.00        $243,950.00
 Donald & Carol Koenig Revocable Trust               $295,723.15        $295,723.15
 Lindholm Family Trust                               $34,964.72         $34,964.72
 Rob Loren                                           $31,536.10         $31,536.10
 Rob Loren Revocable Trust                           $85,424.24         $85,424.24
 Glenn W. & Elizabeth W. Lutjens                     $148,913.15        $148,913.15
 Kim Young-Wha, Kim Lutjens Trust                   $10,003.66         $10,003.66
 M&M Technology LLC (Mark Manthei)                   $847,309.44        $847,309.44
 Robert S. Maness                                    $267,874.30        $267,874.30
 Timothy J. & Janice C. Mayer                        $100,889.63        $100,889.63
 Michael McCoy                                       $56,440.56         $56,440.56
 John McDougal                                       $57,835.44         $57,835.44
 Aspen Capital (formerly McDougall                  $104,111.55        $104,111.55
 Capital Management LLC)
 Mark McMillHn                                       $799,252.32        $799,252.32
 Sue McMillin                                        $21,643.57         $21,643.57
 Robyn Menard a/k/a Robyn Haddock                   $132,920.00        $132,920.00
 Maureen L. Miller                                   $159,647.71        $159,647.71
 Judy A. Moffat                                      $409,017.98        $409,017.98
 Gerald Mork                                         $39,479.36         $39,479.36
 William & Mary Emily Nelson                         $68,000.00         $68,000.00
 Michael O’Connor Revocable Trust                    $39,179.05         $39,179.05



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 Name of Payee                                      Total Loss**         Restitution Ordered                   Priority or Percentage
 Paulette O’Hotto                                    $228,750.00            $228,750.00
 OREV, LLC (Elliott Orsillo)                         $129,924.82            $129,924.82
 Corliss Palmer                                      $67,366.88             $67,366.88
 Parks Properties, LLC                               $154,259.22            $154,259.22
 John Reinsma                                        $42,300.00             $42,300.00
 Darryn Roasa                                        $88,000.00             $88,000.00
 David C. Roudebush                                  $182,355.19            $182,355.19
 Joseph A. & Melissa Saliba                          $11,046.44             $11,046.44
 Lauren D. Schneider Revocable Trust                $142,500.00            $142,500.00
 Grant & Lauren Schneider                            $263,295.44            $263,295.44
 Justin & Rebecca Scott                              $94,800.00             $94,800.00
 Simpson Living Trust                                $18,650.28             $18,650.28
 Cecil D. & Elizabeth A. Revocable Trust             $66,750.00             $66,750.00
 Dean Steward                                        $58,967.93             $58,967.93
 Leona Strait                                        $74,000.00             $74,000.00
 Robbie D. Strait                                    $165,621.97            $165,621.97
 Michael & Linda Thornton                            $183,950.44            $183,950.44
 David W. Tinkle, Jr.                                $48,000.00             $48,000.00
 David W. Tinkle, Sr.                                $99,000.00             $99,000.00
 Robyn Tinkle                                        $50,000.00             $50,000.00
 Truesdell Family Trust                              $24,000.00             $24,000.00
 Eric E. & Janet Y. Wermel                           $31,926.53             $31,926.53
 Gregory T. & Kelly J. Wise                          $182,616.79            $182,616.79


 TOTALS                            $      14,528,206.39                 $     14,528,206.39
* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.




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 DEFENDANT:                   KAREN LYNN MCCLAFLIN
 CASE NUMBER:                 17-cr-00168-CMA-1

                                                      SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ‫ ܆‬Lump sum payment of $                                   due immediately, balance due

            ‫܆‬     not later than                                    , or
            ‫܆‬     in accordance with ‫܆‬           C,   ‫܆‬     D,      ‫ ܆‬E, or ‫ ܆‬F below; or

 B     ‫ ܈‬Payment to begin immediately (may be combined with ‫܆‬                    C,      ‫ ܆‬D, or       ‫ ܈‬F below); or

 C     ‫ ܆‬Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

 D     ‫ ܆‬Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     ‫ ܆‬Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F     ‫ ܈‬Special instructions regarding the payment of criminal monetary penalties:
            The special assessment is due immediately. The defendant shall make payment on the restitution obligation that remains unpaid at
            the commencement of supervised release. Within 60 days of commencement of supervision, the defendant shall meet with the
            probation officer to develop a plan for the payment of restitution. This plan will be based upon the defendant’s income and
            expenses. The plan will be forwarded to the Court for review and approval. The balance of the monetary obligations will be paid
            in monthly installments calculated as at least 10 percent of the defendant’s gross monthly income.

 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


 ‫܆‬     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.



 ‫܆‬     The defendant shall pay the cost of prosecution.

 ‫܆‬     The defendant shall pay the following court cost(s):

 ‫܈‬     The defendant shall forfeit the defendant’s interest in the following property to the United States:
       As addressed in the Preliminary Order of Forfeiture, filed April 25, 2018 in Docket No. 32.

 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
 interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.




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                         UNITED STATES COURT OF APPEALS                     September 20, 2019

                                                                            Elisabeth A. Shumaker
                               FOR THE TENTH CIRCUIT                            Clerk of Court
                           _________________________________

    UNITED STATES OF AMERICA,

          Plaintiff - Appellee,

    v.                                                          No. 18-1217

    KAREN LYNN MCCLAFLIN,

          Defendant - Appellant.
                         _________________________________

                        Appeal from the United States District Court
                                for the District of Colorado
                            (D.C. No. 1:17-CR-00168-CMA-1)
                          _________________________________

   Ann Marie Taliaferro, Brown, Bradshaw & Moffat, L.L.P., Salt Lake City, Utah, for
   Defendant-Appellant.

   James C. Murphy, Assistant United States Attorney (Jason R. Dunn, United States
   Attorney, with him on the brief), Denver Colorado, for Plaintiff-Appellee.
                           _________________________________

   Before MATHESON, SEYMOUR, and BACHARACH, Circuit Judges.
                     _________________________________

   SEYMOUR, Circuit Judge.
                      _________________________________

         Defendant Karen McClaflin pled guilty to two counts stemming from the

   operation of a residential Ponzi scheme which defrauded investors of more than

   $14.5 million dollars. At sentencing, the district court calculated the advisory

   sentencing guidelines at 135 to 168 months’ imprisonment, applied a 6-level




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  enhancement for substantial financial hardship to more than twenty-five victims, and

  then determined that a downward variant sentence of 96 months was appropriate. On

  appeal, Ms. McClaflin argues the district court: (1) abused its discretion by denying

  her motion for an additional continuance of the sentencing hearing, (2) procedurally

  erred by imposing the 6-level enhancement based upon victim impact statements, and

  (3) failed to consider all of the requisite 18 U.S.C. § 3553(a) factors. We affirm.



                                             I.

        Between March 2011 and early 2017, Ms. McClaflin operated a “fix and flip”

  real estate Ponzi scheme in which she made false promises to investors. On June 21,

  2017, Ms. McClaflin entered into a plea agreement with the government for wire

  fraud and money laundering. The plea deal included a 2-level enhancement for a

  crime involving more than ten victims. The government indicated that it did not have

  the evidence at that time to support a 6-level enhancement for substantial financial

  hardship to more than twenty-five victims.

        The parties jointly filed a motion to continue on September 1, 2017, and the

  district court moved the sentencing hearing set for January 17, 2018 to March 14 to

  give the parties more time to analyze documents regarding loss and restitution. On

  March 5, counsel for Ms. McClaflin requested another continuance due to Ms.

  McClaflin’s poor health and hip problems. The district court moved the sentencing

  hearing to May 10, nearly an entire year after Ms. McClaflin pled guilty to the




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  charges. The week of the hearing Ms. McClaflin again requested her sentencing be

  continued on the grounds of her ill health. The district court denied the motion and it

  repeated this denial when Ms. McClaflin’s counsel urged a continuance at the

  sentencing hearing.

        At sentencing, the court questioned the government’s decision not to pursue

  the 6-level enhancement. Notwithstanding the government’s reticence and in order to

  implement the enhancement, the district court conducted an extensive review of the

  sworn victim impact statements attached to the presentence Report (“PSR”). The

  court made independent findings of fact regarding Ms. McClaflin’s scheme and

  specifically found that Ms. McClaflin’s offense resulted in substantial financial

  hardship to twenty-five or more victims. See U.S.S.G. § 2B1.1(b)(2)(C).

        Prior to passing sentence, the district court heard testimony from victims of

  Ms. McClaflin’s scheme from the Receiver who had been appointed by the court to

  recover assets related to the scheme, and from Ms. McClaflin herself. Finding that

  Ms. McClaflin committed a level 33 offense with a criminal history category of I,

  resulting in an advisory imprisonment range between 135 and 168 months, the court

  determined a downward variant sentence of 96 months was warranted. Ms.

  McClaflin appeals.



                                             II.

        We review the denial of a motion for continuance for abuse of discretion and

  will only find error if the district court’s decision was “arbitrary or unreasonable and


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  materially prejudiced” the defendant. Rogers v. Andrus Transp. Services, 502 F.3d

  1147, 1151 (10th Cir. 2007). In determining whether the denial of a continuance

  constitutes an abuse of discretion, we look to the individual circumstances of the

  case. Id.

        The framework for reviewing the denial of a motion for a continuance

  “involves an examination of four factors: (1) the diligence of the party seeking the

  continuance; (2) the likelihood the continuance, if granted, would have accomplished

  the stated purpose; (3) the inconvenience to the opposing party, witnesses, and the

  court; and (4) the need for the continuance and any harm resulting from its denial.”

  United States v. Glaub, 910 F.3d 1334, 1345 (10th Cir. 2018). “The final factor is

  the most important.” United States v. Orr, 692 F.3d 1079, 1100 (10th Cir. 2012).

        Of those four factors, Ms. McClaflin has not clearly satisfied any of them. Ms.

  McClaflin’s counsel admitted that he was not prepared for the sentencing hearing,

  that he had not sufficiently talked to witnesses, and that he had not explained the

  extent of Ms. McClaflin’s medical condition or ascertained proper facilities through

  the BOP. Nor had he filed a motion for a variant sentence. There was not a high

  likelihood that if a continuance were granted, Ms. McClaflin’s health would improve

  much more than it already had. The district court noted that Ms. McClaflin was not

  undergoing an imminent medical procedure, and Ms. McClaflin’s counsel conceded

  that her hip infection was “as low as it can be right now.” Rec., vol. IV at 11.

        Conversely, granting the continuance would have greatly inconvenienced the




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  opposing party and the court. Ms. McClaflin requested the continuance a mere five

  days before the hearing was set to commence, and it is likely that the victims and

  witnesses had previously made preparations to attend. The district court already had

  granted Ms. McClaflin and the government almost a year to review financial

  information and to prepare for sentencing, and it would have been required to

  rearrange its calendar even further in order to grant Ms. McClaflin a new hearing

  date.

          Significantly, Ms. McClaflin has failed to demonstrate prejudice. In United

  States v. West, 828 F.2d 1468, 1471 (10th Cir. 1987), we held that the district court

  abused its discretion in denying the requested continuance because it precluded the

  defendant from calling “the only eyewitness who might have presented directly

  exculpatory testimony.” 1 There,“the testimony was important and the prejudice

  resulting from the denial of a continuance was severe.” Id. Here, however, the

  continuance would merely allow Ms. McClaflin to accumulate additional mitigating

  evidence. The district court did not abuse its discretion in denying the motion for a

  continuance.




          1
          In West, 828 F.2d at 1470, the defendant’s primary defense to a first-degree
  murder charge was that he did not strike the victim and was therefore innocent. The
  court denied the defendant’s continuance motion until the next day, even when a
  subpoenaed witness who would testify that the defendant did not strike the victim did
  not appear on the day he was called and a reasonable possibility existed he would
  voluntarily appear the next day. Id. at 1470–71.

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                                             III.

        Ms. McClaflin also contends that the district court made two procedural errors:

  first, by relying on sworn victim impact statements to sua sponte impose the 6-level

  enhancement; and second by failing to consider the requisite § 3553(a) factors. The

  parties disagree on the relevant standard of review.

        “Fairness and judicial efficiency demand that litigants notify the district court

  of a procedural sentencing error with reasonable specificity, thereby providing that

  court the opportunity to correct its action in the first instance.” United States v.

  Robertson, 568 F.3d 1203, 1209 (10th Cir. 2009). We require timely objections so

  the district court can consider and resolve them at the time they are raised and

  because “[i]n the case of an actual or invited procedural error, the district court can

  often correct or avoid the mistake so that it cannot possibly affect the ultimate

  outcome.” Puckett v. United States, 556 U.S. 129, 134 (2009). It is Ms. McClaflin’s

  position that she properly objected to the procedural errors and any failure to

  preserve the issues was excused because it was plain that further objection would

  have been futile. On the other hand, the government contends these claims were not

  properly objected to and should only be reviewed for plain error, which requires there

  be an “(1) error, (2) that is plain, which (3) affects substantial rights, and which (4)

  seriously affects the fairness, integrity, or public reputation of judicial proceedings.”

  United States v. Wright, 848 F.3d 1274, 1278 (10th Cir. 2017).

         A. 6-level enhancement




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        Prior to sentencing, the government filed a written objection to the 6-level

  enhancement recommended in the PSR for substantial financial hardship to twenty-

  five or more victims. The only ground stated for the objection was that the

  government elected to stand by the plea agreement’s offense level calculation of a 2-

  level enhancement based on more than ten victims. Ms. McClaflin joined the

  government’s objection. At sentencing, the district court explained its process for

  applying the 6-level enhancement and walked through its underlying findings of fact.

  When the court prompted Ms. McClaflin’s counsel to make any statement in regards

  to the written objection to the 6-level enhancement, defense counsel merely stated,

  “[i]t is the Government’s objection . . . not the defendant’s.” Rec., vol. IV at 22. The

  judge prompted counsel a second time “to make any statement for purposes of your

  record on appeal” and counsel reiterated that he did not have a statement. Id. Ms.

  McClaflin’s claim that further objection would have been futile is thus unconvincing.

        We require that parties object with specificity so that the district court can

  correct its actions in the first instance. See, e.g., United States v. Holloway, 826 F.3d

  1237, 1251 (10th Cir. 2016); Robertson, 568 F.3d at 1209. Ms. McClaflin did not

  object to the accuracy of the sworn victim impact statements nor to the district

  court’s reliance upon them. “We have repeatedly held that if a defendant fails to

  object to his presentence report, he waives his right to challenge the district court’s

  reliance on it, unless the district court’s decision to do so amounts to plain error.”

  Holloway, 826 F.3d at 1251; see also United States v. Figueroa-Labrada, 720 F.3d




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  1258, 1266 (10th Cir. 2013). Because Ms. McClaflin did not properly preserve the

  issue at sentencing, we review for plain error.

        The district court did not err by using the sworn victim impact statements to

  make its own independent findings of fact. “The sentencing judge remains ultimately

  responsible for determining the facts and must establish the relevant facts even if all

  the parties argue to the contrary.” United States v. Aragon, 922 F.3d 1102, 1109

  (10th Cir. 2019) (internal brackets omitted). In determining the number of victims

  and calculating loss, a district court must make independent findings supporting its

  conclusions. Holloway, 826 F.3d at 1251. In doing so, the court can look beyond

  admissible evidence at trial as long as the information has a sufficient indica of

  reliability to support its probable accuracy. See, e.g., United States v. Caiba-Antele,

  705 F.3d 1162, 1165 (10th Cir. 2012); see also United States v. Sunmola, 887 F.3d

  830, 836–37 (7th Cir. 2018); U.S.S.G. § 6A1.3(a).

        Here, the district court made independent factual findings by relying upon

  victim impact statements that were submitted under penalty of perjury and whose

  accuracy was not disputed by any party. The court heard testimony from the

  government’s IRS agent who likewise relied upon the victim impact statements.

  Speaking in allocution, Ms. McClaflin referred to the statements, indicating she had

  “read them over and over and over . . ..” Rec., vol. IV at 101. At no point did Ms.

  McClaflin raise any concerns or objection or otherwise contend that these sworn

  victim impact statements were unreliable. Accordingly, the victim impact statements

  were properly considered by the court.


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        In calculating the number of victims who suffered substantial financial

  hardship2, the district court first determined that there were over ninety investors who

  were defrauded by Ms. McClaflin, counting husband and wife couples together as

  one victim. Of those ninety, sixty-three filed victim impact statements under penalty

  of perjury. Twenty-eight of these indicated that they had to make substantial changes

  to their employment or substantial changes to their living arrangements as a direct

  result of Ms. McClaflin’s fraudulent scheme. At the very least the twenty-eight

  sworn statements meet the standard for substantial financial hardship laid out in the

  Sentence Guidelines Application Note. See U.S.S.G. § 2B1.1, cmt. n.4(f) (iv), and

  (v). Because the district court’s consideration of this evidence was well within its

  discretion, the district court did not procedurally err in relying on the sworn victim

  impact statements.

            B. § 3553(a) factors


        2
           “Substantial Financial Hardship.—In determining whether the offense
  resulted in substantial financial hardship to a victim, the court shall consider, among
  other factors, whether the offense resulted in the victim—
         (i) becoming insolvent;
         (ii) filing for bankruptcy under the Bankruptcy Code (title 11, United States
  Code);
         (iii) suffering substantial loss of a retirement, education, or other savings or
  investment fund;
         (iv) making substantial changes to his or her employment, such as postponing
  his or her retirement plans;
         (v) making substantial changes to his or her living arrangements, such as
  relocating to a less expensive home; and
         (vi) suffering substantial harm to his or her ability to obtain credit.”

        U.S.S.G. § 2B1.1, cmt. n.4(f).


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          Ms. McClaflin also claims the district court failed to properly consider all of the

   relevant § 3553(a) factors before imposing its sentence. But, once again, she never

   objected to the district court’s sentencing process at trial. We therefore review only

   for plain error.

          Ms. McClaflin contends that the court did not ask to hear from counsel or the

   defendant until after it had already made up its mind. She relies on the court’s

   statement prior to sentencing that “I am inclined to grant a variant sentence

   somewhere within that adjusted advisory guideline range . . . . However, I have not

   decided where within that range of 87 to 108 months the sentence should actually

   be.” Rec., vol. IV at 85-86. But Ms. McClaflin takes a single statement out of the

   context of the entire sentencing process. Overall that process shows that the district

   court proceeded properly and considered the requisite factors. For example, when

   the court began it’s sentencing, it stated:

          I will tell you where I am going, in terms of my inclinations, so that
          you can target any arguments you have to what my concerns are, and
          to persuade me otherwise, or to persuade me to go the way I have
          indicated, if that is what you want. I will hear from [defense counsel],
          then [the government], and finally, if Ms. McClaflin wishes to make
          any statement to me on her own behalf, I will hear from her.

   Id. at 73–74. The court thus clearly demonstrated that, although it had a general idea

   based upon the PSR, it would hear from the parties involved before making the final

   decision.

          Ms. McClaflin further contends the district court failed to consider other

   relevant mitigating factors besides Ms. McClaflin’s cooperation with the government



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   when imposing her sentence. We disagree. While the court put an emphasis on Ms.

   McClaflin’s cooperation, this was not the only factor it considered. For example, the

   court clearly considered the nature and circumstances of the offense by noting the

   impact of Ms. McClaflin’s scheme on her victims. It also noted that Ms. McClaflin

   did not act in a manner entirely consistent with a woman who was truly sorry for her

   conduct, expressing concerns about Ms. McClaflin’s failure to account for personal

   assets and her divorce from her husband to secure his assets. With respect to the

   § 3553(a) factors, “[w]e do not require a ritualistic incantation to establish

   consideration of a legal issue, nor do we demand that the district court recite any

   magic words to show us that it fulfilled its responsibility to be mindful of the factors

   that Congress has instructed it to consider.” United States v. Lopez-Flores, 444 F.3d

   1218, 1223 (10th Cir. 2006) (citation omitted); see also United States v. Rines, 419

   F.3d 1104, 1107 (10th Cir. 2005) (“It is true that the district court did not march

   through § 3553(a)’s sentencing factors, but we have never imposed such a

   requirement.”).

         Although Ms. McClaflin specifically alleges that the district court did not

   consider her medical circumstances, the record reveals that in fact it did do so before

   determining that the Bureau of Prisons was better suited to decide which facilities

   and treatments were necessary. Rec., vol. IV at 115 (“I think the Bureau of Prisons

   can sort out whether she really does have serious medical issues that are different

   from any of the other defendants that they see on a regular basis who have medical




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   issues.”). The court was clearly aware of and considered Ms. McClaflin’s medical

   needs at sentencing, but it did not deem them determinative, noting that Ms.

   McClaflin was not at risk of undergoing a major procedure in the imminent future.

   Because the district court clearly considered the relevant § 3553(a) factors, it did not

   plainly err when it sentenced Ms. McClaflin.

         We AFFIRM the judgment of the district court.




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                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                Byron White United States Courthouse
                                         1823 Stout Street
                                      Denver, Colorado 80257
                                          (303) 844-3157
   Elisabeth A. Shumaker                                                           Chris Wolpert
   Clerk of Court                    September 20, 2019                       Chief Deputy Clerk




   Ms. Ann Marie Taliaferro
   Brown, Bradshaw & Moffat
   10 West Broadway
   Suite 210
   Salt Lake City, UT 84101-0000

   RE:       18-1217, United States v. McClaflin
             Dist/Ag docket: 1:17-CR-00168-CMA-1

  Dear Counsel:

  Attached is a copy of the opinion of the court issued today in this matter. The court has
  entered judgment on the docket pursuant to Fed. R. App. P. Rule 36.

  Pursuant to Fed. R. App. P. 40(a)(1), any petition for rehearing must be filed within 14
  days after entry of judgment. Please note, however, that if the appeal is a civil case in
  which the United States or its officer or agency is a party, any petition for rehearing must
  be filed within 45 days after entry of judgment. Parties should consult both the Federal
  Rules and local rules of this court with regard to applicable standards and requirements.
  In particular, petitions for rehearing may not exceed 3900 words or 15 pages in length,
  and no answer is permitted unless the court enters an order requiring a response. If
  requesting rehearing en banc, the requesting party must file 6 paper copies with the clerk,
  in addition to satisfying all Electronic Case Filing requirements. See Fed. R. App. P.
  Rules 35 and 40, and 10th Cir. R. 35 and 40 for further information governing petitions
  for rehearing.




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  Please contact this office if you have questions.

                                              Sincerely,



                                              Elisabeth A. Shumaker
                                              Clerk of the Court



   cc:      James C. Murphy




   EAS/at




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                                 U.S. District Court − District of Colorado

                                            District of Colorado

  Notice of Electronic Filing


  The following transaction was entered on 6/8/2020 at 7:58 AM MDT and filed on 6/8/2020

  Case Name:       USA v. McClaflin
  Case Number:     1:17−cr−00168−CMA
  Filer:
  Document Number: 119(No document attached)
  Docket Text:
   ORDER: The Government and the Probation Office are DIRECTED to file a Response to [117]
  Defendants Motion on or before 6/15/2020. The Government's Response shall specifically
  address: what steps the warden at this facility is taking/has taken to protect especially
  vulnerable people like Defendant from the COVID−19 virus, what the status of Defendant's
  administrative request is, and whether the warden has put in place any process to expedite
  the determination of these types of compassionate release requests. Probation's Response
  shall specifically address: what steps would need to be taken by their office to put in place
  adequate supervision if the Court were to find that release is appropriate, what the time
  frame would be, and what particular risks if any the relief Defendant requests may create for
  the community. SO ORDERED by Judge Christine M. Arguello on 6/8/2020. Text Only Entry
  (cmasec)


  1:17−cr−00168−CMA−1 Notice has been electronically mailed to:

  Thomas James Hammond       hammondlaw@solucian.com


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  1:17−cr−00168−CMA−1 Notice has been mailed by the filer to:

  Karen Lynn McClaflin(Terminated)
  44166−013
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  FEDERAL MEDICAL CENTER
  Inmate Mail/Parcels
  P.O. BOX 27137
  FORT WORTH, TX 76127




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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO



 Criminal Case No. 17-cr-00168-CMA-1

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 KAREN LYNN McCLAFLIN,
     Defendants.

 _____________________________________________________________________

             DEFENDANT’S REPLY IN SUPPORT OF MOTION FOR
            COMPASSIONATE RELEASE OR HOME CONFINEMENT
 _____________________________________________________________________

       Defendant Karen McClaflin, through counsel, respectfully submits this Reply in

 Support of Motion for Compassionate Release or Home Confinement:

       1.      INTRODUCTION:       On June 5, 2020, Defendant filed her Pro Se Motion

 for Compassionate Release or Home Confinement Per the Care and First Step Acts.

 [Doc.117]. This Court has previously observed that pro se pleadings should be

 reviewed liberally and held to a less stringent standard than those drafted by an

 attorney. See e.g. Hutchinson v. Milyard, 2011 U.S. Dist. LEXIS 743 (2011). On June

 15, 2020, the Probation Office’s Response [Doc.121] and the Government’s Response

 to Defendant’s Motion for Compassionate Release [Doc. 122] were filed. Ms. McClaflin,

 through counsel, now submits this Reply.

       2.      EXHAUSTION OF ADMINISTRATIVE REMEDIES:                 The government

 first responds by claiming that Ms. McClaflin has failed to exhaust administrative
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 remedies. The government claims that “the defendant never submitted a new request

 for compassionate release to address her concerns regarding COVID-19.” [Doc.122,

 p.3]. In fact, she has. The history of Ms. McClaflin’s efforts to exhaust administrative

 remedies is detailed and documented in her pro se motion. Ms. McClaflin filed separate

 requests for an administrative remedy on November 18, 2019 and January 27, 2020

 based on her medical condition. [Doc.117, pp.33, 35-36]. These requests for

 administrative remedy did not specifically cite the COVID-19 pandemic as grounds for

 relief. However, on June 1, 2020, Ms. Claflin submitted a third request for

 administrative remedy which specifically noted that she was at extraordinary risk to

 contract COVID-19 with potential catastrophic consequences. [Doc. 117, pp.25-26

 (Attachment to BP-9)]. More than thirty (30) days have now passed since June 1, 2020

 when Ms. McClaflin submitted her third request for administrative remedy.

        18 U.S.C. §3582(c)(1)(A) provides that a motion for compassionate release can

 be filed after the lapse of 30 days from the date a request for administrative remedy is

 received by the warden of the defendant’s facility. Ms. McClaflin is not certain of the

 date that her third request was received by the warden; however, she does know that

 the request was submitted on June 1, 2020. More than 30 days have passed since Ms.

 McClaflin requested an administrative remedy based on concerns about COVID-19.

 Accordingly, Ms. McClaflin’s submits that her requests for administrative remedy are

 ripe for review by this Court.

        Counsel is aware that this Court has consistently held that exhaustion is a

 jurisdictional requirement for the Court to entertain a request for compassionate release.



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 See e.g. United States v. Soto, 16-cr-238-CMA (April 15, 2020); United States v. Riley,

 17-cr-134-CMA (April 17, 2020); United States v. Ramirez-Argueta, 14-cr-427-CMA

 (May 29, 2020); United States v. Maynard, 18-cr-395-CMA (May 15, 2020). In these

 cases the Court found a failure to exhaust based on (1) the record being “devoid” of any

 evidence of an attempt to comply with administrative exhaustion requirements

 (Ramirez-Argueta, Soto); (2) the defendant conceded a failure to exhaust (Riley); or (3)

 the defendant “provide(d) no direct evidence” of exhaustion (Maynard). Unlike these

 cases, Ms. McClaflin has provided direct evidence of exhaustion. [Doc. 117, pp.25-26

 (Attachment to BP-9)].

       3.     MS. McCLAFLIN’S MEDICAL CONDITION AND VULNERABILITY TO

 COVID-19:    Ms. McClaflin’s medical records confirm that she is especially vulnerable

 to COVID-19. The Center for Disease Control and Prevention website states the

 following: “People of any age with the following conditions are at increased risk of

 severe illness from COVID-19: COPD (chronic obstructive pulmonary disease).” See

 Exhibit A, print-out from CDC website (emphasis in original on CDC website). 1 Ms.

 McClaflin has Chronic Obstructive Pulmonary Disease. [Doc. 122-3, pp.2, 26]. Whether

 or not, as the U.S. Attorney opines, Ms. McClaflin’s COPD is related to her history of

 being a smoker is irrelevant. [Doc. 122, p.5]. What is relevant is that (1) COPD creates




       1  Full document available at https://www.cdc.gov/coronavirus/2019-ncov/need-
 extra-precautions/people-with-medical-
 conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F
 2019-ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html



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 an “increased risk of severe illness from COVID-19”, and (2) Ms. McClaflin has COPD.

        While the etiology of Ms. McClaflin’s COPD diagnosis is not relevant, her history

 of smoking is. As recently as last week the CDC updated its list of underlying medical

 conditions that increase a person’s risk of severe illness from COVID-19 and noted that

 a history of smoking may create increased risk. See Exhibit B. 2

        The government argues that Ms. McClaflin’s request for relief should be denied

 because, inter alia, the BOP medical records that the government attached to its

 Response do not note a diagnosis of autoimmune disorder. The extensive record that

 has previously been made in this case regarding Ms. McClaflin’s medical condition

 should not be ignored. [Docs. 26, 36, 55, 65, 87, 93, 99, 107, 108, 109] 3. The record in

 this case is replete with documentation that Ms. McClaflin has a history of “chronic”,

 “acute”, “recurrent” infections. One medical report in the Court file describes Ms.

 McClaflin as “relatively frail and in a weakened state” and as being in a “physically

 deconditioned and weakened state.” [Doc.36].

        Further, a report relied on by the CDC when it updated the list of underlying

 medical conditions that increase a person’s risk of severe illness from COVID-19

 (Exhibit B, pp.2,5) states as follows: “Smoking . . . increase(s) risk and severity of


        2 From CDC website at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

 precautions/evidence-table.html.
        3 In addition to these court filings, on January 14, 2019 a hearing was held in this

 matter and the Court received testimony from two medical professionals. [Doc. 81]. The
 Court file does not include transcript of the hearing. Accordingly, counsel is unable to
 comment of the substance of the testimony; however, counsel suspects that Ms.
 McClaflin’s long-standing heath issues were discussed.



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 pulmonary infections because of damage to upper airways and a decrease in

 pulmonary immune function.” 4 The report further states, “our analysis confirms that

 smoking is a risk factor for progression of COVID-19, with smokers having 2.25 times

 the odds of severe COVID-19 outcomes that never smokers. . . . The finding that

 smoking is associated with COVID-19 progression is not surprising because of the

 adverse effects of smoking on pulmonary immune function.” In short, smoking

 causes immunodeficiency. This is not a novel medical concept or a recent discovery,

 see e.g. Bauer, CMT, et al, The Influence of Cigarette Smoking on Viral Infections,

 available at https://doi.org/10.1378/chest.12-0930 (“cigarette smoke profoundly affects

 the immune system, compromising the host’s ability to mount appropriate immune and

 inflammatory responses. . .”(emphasis added)).

        It is also noteworthy that Ms. McClaflin’s medical records document that she

 suffers from “Renal insufficiency” [Doc. 93, p.3] and that the CDC states that there is

 strong and consistent evidence that “chronic kidney disease” increases a person’s risk

 of severe illness from COVID-19. Exhibit B.

        Unquestionably, Ms. McClaflin suffers from a medical condition(s) identified by the

 CDC as putting her at a higher risk of serious illness from COVID-19. Recently, the

 Department of Justice has taken the position that inmates who suffer from a condition

 identified by the CDC as putting them at higher risk for severe illness from COVID-19 and



        4 Patanavanich, R and Glantz, S, Smoking is Associated with COVID-19

 Progression: A Meta-Analysis, available at:
 https://www.medrxiv.org/content/10.1101/2020.04.13.20063669v1.



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 who are not expected to recover from that condition, present an “extraordinary and

 compelling reason” to be considered for compassionate release under U.S.S.G. § 1B1.13

 cmt. n. 1(A)(ii)(I)—even if that condition in ordinary times would not meet the terms of the

 policy statement. See, e.g., Letter Amending Government’s Response, United States v.

 Wise, 1:18-cr-00072-ELH, ECF 185 (D. Md. May 18, 2020) (“consistent with current DOJ

 policy, the Government does not contest the Defendant’s eligibility for being considered

 for compassionate release in this case because he suffers from a condition identified by

 the CDC as putting him at higher risk for severe illness.”); see also Government’s

 Response, United States v. Feucht, 0:11-cr-60025, ECF 51, p.5 (S.D. Fla. May, 26, 2020)

 (“The Government acknowledges that during the current COVID-19 pandemic, an inmate

 who presents one of the CDC risk factors, which include diabetes, as confirmed by

 medical records, and who is not expected to recover from that condition, presents an

 extraordinary and compelling reason that would allow compassionate release under the

 statute and guideline policy statement, even if that condition in ordinary times would not

 allow compassionate release.”); Government’s Response to Defendant’s Motion for

 Compassionate Release, United States v. Moralez, 1:13-cr-00073-SWS, ECF 50, p.3 (D.

 Wyo. May 27, 2020) (“The Department of Justice takes the position that the mere

 existence of COVID-19 is not sufficient to qualify an inmate for compassionate release.

 However, if an inmate has a chronic health condition that makes him particularly

 vulnerable to serious illness from COVID-19, as determined by the CDC, then the

 Department would deem he has satisfied the pertinent criteria in Application Note

 1(A)(ii)(I).”).



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       4.     MEASURES TAKEN BY THE BOP TO MITIGATE THE RISKS OF

 COVID-19:    The government claims that the BOP has taken appropriate measures to

 mitigate the risks of COVID-19. To support this assertion the government relies, inter

 alia, on a Declaration from the Associate Warden at FMC Carswell, Raul Campos.

 [Doc.122-4]. Several statements in Mr. Campos’ Declaration are noteworthy.

       The Campos Declaration states, “As of today’s date, there are currently no

 inmates or staff with active COVID-19 at FMC Carswell.” [Id., ¶28]. Having no evidence

 to the contrary, the Defendant will accept that this statement was accurate when written;

 however, it is no longer true. According to the BOP’s own website, as of this morning,

 there are 24 confirmed active case of COVID-19 at FMC Carswell (23 inmates and 1

 staff). This represents a 2,300% increase of confirmed active cases at FMC

 Carswell in the past week. The percentage increase based on numbers from Mr.

 Campos’ Declaration is incalculable. Further, because of the BOP’s testing protocol,

 little confidence can be placed in the BOP’s reporting of confirmed active cases of

 COVID-19 at FMC Carswell. According to the BOP’s procedures, “symptomatic

 inmates” are tested for COVID-19. See Exhibit C, p.2, BOP Implementing Modified

 Operations. 5 The current best estimate from the CDC is that 35% of persons infected

 with COVID-19 are asymptomatic with possible asymptomatic infections ranging from




       5 BOP Modified Operations available at https://www.bop.gov/coronavirus/

 covid19_status.jsp.



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 20% to 50%. See Exhibit D, CDC COVID -19 Pandemic Planning Scenarios. 6

 Accordingly, because a high percentage of persons infected with COVID-19 are

 asymptomatic but only symptomatic inmates are tested, the number of active cases

 reported by FMC Carswell is of limited value. In any event, the staggering increase of

 confirmed COVID-19 infections at FMC-Carswell leaves no doubt that the BOP’s efforts

 to mitigate the risks of COVID-19 are largely ineffective.

        Mr. Campos reports on two inmates at FMC Carswell who had COVID-19.

 Regarding the first of those inmates Mr. Campos reports that “she was housed in

 quarantine and isolation the entire time she was at FMC Carswell.” [Doc.122-4, ¶28].

 What Mr. Campos does not say it that this inmate’s “entire time” at FMC Carswell was

 extremely short because she died from COVID-19. Commendably the government’s

 response does include this inconvenient fact that apparently slipped Mr. Campos’ mind.

        Mr. Campos also reports that “FMC Carswell has reviewed all of its Care Level 4

 inmates for eligibility for priority consideration for home confinement under the CARES

 Act and the Barr memoranda.” [Doc.122-4, ¶26]. Mr. Campos neglects to point out that

 Ms. McClaflin was not included in this review. Again, the government’s response does

 report that Ms. McClaflin was not included in this review but does so by suggesting that

 she isn’t really all that sick. [Doc. 122, p.7].

        Mr. Campos also suggests that Ms. McClaflin will be safer at FMC Carswell,



        6 CDC report available at https://www.cdc.gov/coronavirus/2019-

 ncov/hcp/planning-scenarios.html. In this report the CDC also estimates that the
 infectiousness of asymptomatic individuals relative to symptomatic individual is 100%.



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 where one inmate has already died from COVID-19 and where there has been a

 2,300% increase in confirmed cases in the last week, than she would be at home

 serving her sentence in home confinement. [Doc.122-4, ¶6]. To be blunt, this

 suggestion is preposterous and was rejected by Judge Raymond Jackson in the

 Eastern District of Virginia:

              Despite the BOP’s protection measures, individuals housed in
              prisons remain particularly vulnerable to infection. Even in the best
              run prisons, officials might find it difficult if not impossible to follow
              the CDC’s guidelines for preventing the spread of the virus among
              inmates and staff: practicing fastidious hygiene and keeping a
              distance of at least six feet from others. Thus, the Court need not
              wait until an outbreak occurs to determine whether to release
              Petitioner, especially whereas here, Petitioner suffers from
              underlying health conditions that may become fatal if she contracts
              COVID-19.
 Benn v. United States, E.D.VA, Case No. 2:17-cr-30, ECF 122, PageID# 711 (internal

 citations and quotations omitted).

        In Reply to the government’s claim that the BOP has taken appropriate measures

 to mitigate the risks of COVID-19, Ms. McClaflin invites the Court’s attention to a letter

 from Regina Warren, the President of AFGE Local 1006 to Senator John Cornyn,

 attached hereto as Exhibit E. According to Ms. Warren, and contrary to the assurances

 from the BOP, in addressing COVID-19 “FMC Carswell knowingly and willingly misled

 the public placing the staff, inmates, and community at risk to the most lethal pandemic

 since 1920.”

        5.      The Legal Standard for Relief:       Pursuant to the First Step Act, 18 U.S.C.

 3582(c)(1)(A), a court may modify a term of imprisonment, “after considering the factors

 set forth in section 3553(a) to the extent they are applicable,” if (a) “extraordinary and



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 compelling reasons warrant” relief and (b) relief is “consistent with applicable policy

 statements issued by the Sentencing Commission.” The Sentencing Commission has

 provided an expansive definition of “extraordinary and compelling reasons” at U.S.S.G.

 §1B1.13, note 1. The definition has three general categories of “extraordinary and

 compelling reasons” (medical condition, age and family circumstances) but also includes a

 “catch-all provision” that allows a finding of “extraordinary and compelling reasons” on

 other grounds. The Sentencing Guidelines also provide that “an extraordinary and

 compelling reason need not have been unforeseen at the time of sentencing.” Id, note 2.

        Here, Ms. McClaflin has made a showing of extraordinary and compelling reasons

 to grant relief. She has been diagnosed with an underlying medical condition (COPD) that

 increases her risk of severe illness from COVID-19. Additionally, her history as a smoker,

 standing alone, not only increases her risk from COVID-19, but also, “decreases her

 pulmonary immune function.” “Renal insufficiency” further increases her risk. On top of all

 this, the chronic issues surrounding Ms. McClaflin’s hip replacement and resulting

 infections remain unresolved. The fact that her hip replacement issues were known at

 time of sentencing does not preclude consideration of those facts in finding “extraordinary

 and compelling” reasons to grant relief. In the age of COVID-19, it is “extraordinary and

 compelling” that Ms. McClaflin has COPD, renal insufficiency, is a smoker with the

 attendant consequences, has significant unresolved medical issues, and is housed in a

 facility where infections are increasing at an alarming rate and a fellow inmate has already

 died from COVID-19. Further, Ms. McClaflin will not pose a danger to the safety of any

 other person or to the community and relief is consistent with applicable policy statement



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 issued by the Sentencing Commission.

            The requested relief is consistent with Section 3553(a) factors. In considering Ms.

 McClaflin’s motion the Court is directed to consider the sentencing factors set forth in

 section 3553(a) to the extent that they are applicable.” 18 U.S.C. §3582(c)(1)(A). Ms.

 McClaflin will not attempt to relitigate the §3553(a) factors that were thoroughly discussed

 at the sentencing hearing; however, §3553(a) factors remain relevant and additional

 pertinent information has become available. As the Court is aware, Ms. McClaflin worked

 diligently to assist in locating assets that could be returned to the victims. Indeed, because

 of her cooperation and assistance, the government filed a motion requesting a variant

 sentence. [Doc.20]. We are happy to report that Ms. McClaflin’s efforts have been

 successful. Attached hereto as Exhibit F, is a letter from James Barash who was

 appointed receiver by the El Paso County District Court to pursue assets that could be

 returned to victims.     Mr. Barash reports that to date the Receiver has recovered over $9.2

 million for the estate and has distributed over $5 million to secured claimants and over

 $1.6 million to unsecured claimants. Secured claimants have received a 100% return of

 principal. As the Court well knows, this sort of recovery for victims of white-collar crime is

 extraordinary. These recoveries are in no small measure the result of Ms. McClaflin’s

 efforts. Mr. Barash reports that he continues to pursue assets that can be returned to the

 victims and that, if transferred to home confinement, Ms. McClaflin could assist in those

 efforts.

            6.     Relief Requested:    Ms. McClaflin’s request is that she be permitted to

 serve her sentence in home confinement. If sentenced to home confinement she would



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 (1) be relatively more safe from exposure to COVID-19 than she will be in the custody of

 the BOP; (2) be able to receive necessary medical care more effectively and efficiently

 (see §3553(a)(2)(D) ; and (3) be able to assist the court appointed Receiver in pursuing

 assets for the benefit of victims.

        Despite Ms. McClaflin’s wishes, this Court likely lacks the authority to order that

 she be transferred to home confinement. Pursuant to 18 U.S.C. §3586 and §3621(b), the

 BOP, and not this Court, has the authority to choose the place of defendant’s

 incarceration. 18 U.S.C. 3621(b) provides that "[t]he Bureau of Prisons shall designate

 the place of the prisoner's imprisonment." "The term 'imprisonment' refers to any type of

 custody,   including   custody       in   a   correctional   facility   or   home   confinement

 program." Moresco v. United States, 982 F.2d 529, [published in full-text format at 1992

 U.S. App. LEXIS 32819, 1992 WL 372399 (10th Cir. 1992)). Thus, the decision as to

 defendant's placement rests with the Bureau of Prisons. The Court is without jurisdiction

 to order how defendant's sentence is to be administered. Id; United States v. Samuels,

 2019 U.S. Dist. Lexis 144787 (W.D.Ok. 2019). Accordingly, defendant’s understanding

 is that this Court does not have the authority to order that Ms. McClaflin’s sentence be

 served in home confinement. That said, this Court does have the statutory authority to

 accomplish a similar result. 18 U.S.C. 3582(c) gives this Court the legal authority.

        18 U.S.C. 3582(c), provides that this Court “may modify a term of imprisonment”

 and “may impose a term of probation or supervised release with or without conditions

 that does not exceed the unserved portion of the original term of imprisonment.” 18

 U.S.C. 3563(b)(19) specifically authorizes home confinement as a condition of



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 probation. 18 U.S.C. 3583(d) gives the Court broad authority to impose conditions of

 supervised release:

               The court may order, as a further condition of supervised
               release, to the extent that such condition—

                       (1) is reasonably related to the factors set forth in
                           section 3553(a)(1), (a)(2)(B), (a)(2)(C), and
                           (a)(2)(D) [18 USCS § 3553(a)(1), (a)(2)(B),
                           (a)(2)(C), and (a)(2)(D)];

                       (2) involves no greater deprivation of liberty than is
                           reasonably necessary for the purposes set forth
                           in section 3553(a)(2)(B), (a)(2)(C), and (a)(2)(D)
                           [18 USCS § 3553(a)(2)(B), (a)(2)(C), and
                           (a)(2)(D)]; and

                       (3) is consistent with any pertinent policy statements
                           issued by the Sentencing Commission pursuant
                           to 28 U.S.C. 994(a);

               any condition set forth as a discretionary condition of
               probation in section 3563(b) [18 USCS § 3563(b)] and any
               other condition it considers to be appropriate.

 In addition to its authority to order home confinement as a condition, this Court has the

 authority to order “any other condition it considers to be appropriate.” Accordingly, the

 Court could, if it considered it appropriate, place Ms. McClaflin on location monitoring.

 Further, although it probably goes without saying, Ms. McClaflin would be under the

 supervision of the Probation Office and this Court would retain the authority to place her

 back in BOP custody should she violate any condition of probation or supervised

 release.

        7.     Conclusion: Based on the foregoing, Defendant respectfully request that

 this court find that “extraordinary and compelling reasons” exist to modify the sentence in



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 this case and order that:

               a. Her term of imprisonment be modified to time served with a term of

                  supervised release, with conditions that the Court deems appropriate, but

                  including, home confinement;

                  OR,

               b. Her sentenced be modified to a term of probation, with conditions that

                  the Court deems appropriate, but including, home confinement.

        DATED: July 3, 2020.       Respectfully submitted,

                                   NATHAN D. CHAMBERS LLC
                                   By:    s/Nathan D. Chambers
                                   Nathan D. Chambers
                                   303 16th Street, Suite 200
                                   Denver, Colorado 80202
                                   (303) 825-2222




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 3, 2020, I presented the foregoing to the Clerk of the
 Court for filing and uploading to the CM/ECF system which will send notification of such filing
 to counsel of record.



                                            By:    s/Nathan D. Chambers
                                            Nathan D. Chambers
                                            303 16th Street, Suite 200
                                            Denver, Colorado 80202
                                            (303) 825-2222




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                                                             People Who Are at Higher Riskof
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                                                                                              Severe Illness | Coronavirus | COVID-19 | CDC




                                                                                                                                                                    EXHIBIT A

      Coronavirus Disease 2019 (COVID-19)

     People of Any Age with Underlying Medical Conditions
     Updated June 25, 2020                                                                  Print Page




        Summary of Recent Changes

        Revisions were made on June 25, 2020 to re ect available data as of May 29, 2020. We are learning more about COVID-19
        every day, and as new information becomes available, CDC will update the information below.


     People of any age with certain underlying medical conditions are at increased risk for severe illness from COVID-19:


     People of any age with the following conditions are at increased risk of severe illness from COVID-19:

              Chronic kidney disease
              COPD (chronic obstructive pulmonary disease)
              Immunocompromised state (weakened immune system) from solid organ transplant
              Obesity (body mass index [BMI] of 30 or higher)
              Serious heart conditions, such as heart failure, coronary artery disease, or cardiomyopathies
              Sickle cell disease
              Type 2 diabetes mellitus


            Children who are medically complex, who have neurologic, genetic, metabolic conditions, or who have congenital heart
            disease are at higher risk for severe illness from COVID-19 than other children.


     COVID-19 is a new disease. Currently there are limited data and information about the impact of underlying medical
     conditions and whether they increase the risk for severe illness from COVID-19. Based on what we know at this time, people
     with the following conditions might be at an increased risk for severe illness from COVID-19:

              Asthma (moderate-to-severe)
              Cerebrovascular disease (a ects blood vessels and blood supply to the brain)
              Cystic brosis
              Hypertension or high blood pressure
              Immunocompromised state (weakened immune system) from blood or bone marrow transplant, immune de ciencies,
              HIV, use of corticosteroids, or use of other immune weakening medicines
              Neurologic conditions, such as dementia
              Liver disease
              Pregnancy
              Pulmonary brosis (having damaged or scarred lung tissues)
              Smoking
              Thalassemia (a type of blood disorder)
              Type 1 diabetes mellitus

     Want to see the evidence behind these lists?



            The list of underlying conditions is meant to inform clinicians to help them provide the best care possible for patients,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-extra-precaution…   1/10
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                                               Evidence used to update the list of underlying medical  of 230that increase a person’s risk of severe illness from COVID-19 | CDC




                                                                                                                                                                                   EXHIBIT B
      Coronavirus Disease 2019 (COVID-19)

     Evidence used to update the list of underlying medical
     conditions that increase a person’s risk of severe illness
     from COVID-19
     Updated June 25, 2020                                                                        Print Page



     Updates to the list of underlying medical conditions that put individuals at increased risk for severe illness from COVID-19
     were based on published reports, articles in press, unreviewed pre-prints, and internal data available between December 1,
     2019 and May 29, 2020. This list is a living document that will be periodically updated by CDC, and it could rapidly change as
     the science evolves. Severe illness from COVID-19 was de ned as hospitalization, admission to the ICU, intubation or
     mechanical ventilation, or death.

     The level of evidence for each condition was determined by CDC reviewers based on available information about COVID-19.
     Conditions were added to the list (if not already on the previous underlying medical conditions list [originally released in
     March 2020]) if evidence for an association with severe illness from COVID-19 met any of the following criteria:

             Strongest and most consistent evidence: De ned as consistent evidence from multiple small studies or a strong
             association from a large study,
             Mixed evidence: De ned as multiple studies that reached di erent conclusions about risk associated with a condition, or
             Limited evidence: De ned as consistent evidence from a small number of studies. categorization for a condition’s
             association with severe illness from COVID-19, the condition was added to the list (if not already on the previous
             underlying medical conditions list [originally released in March 2020]).

     Quali ers to previously listed conditions were added or removed if there was strong evidence to support that the condition
     be expanded. Conditions previously listed were to be removed if there was strong and consistent evidence demonstrating no
     association with severe outcomes. Based on this criterion, no conditions were removed from the previous underlying medical
     conditions list dated March 2020.


                                                                                                             Evidence of Impact on
      Level of Evidence                Condition                                                             COVID-19 Severity               Notes

      Strongest and Most               Serious heart conditions, such as heart failure,                      Cohort Study [1, 2]             On previous version of list as “Serious Heart
      Consistent Evidence              coronary artery disease, or cardiomyopathies                          Meta Analyses [3, 4]            Conditions”
                                                                                                             Case Series [5]

                                       Chronic kidney disease                                                Case Series [6, 7, 8]           On previous version of list as “Chronic Kidney
                                                                                                             Cohort Studies [9, 10,          Disease Requiring Dialysis”
                                                                                                             11]

                                       COPD                                                                  Meta Analyses [4, 12]           On previous version of list
                                                                                                             Case Series [13]
                                                                                                             Cohort Study [10]

                                       Obesity (BMI> 30)                                                     Cohort Studies [14, 15,         On previous version of list as “Severe Obesity
                                                                                                             16, 17, 18]                     (BMI ≥40)”
                                                                                                             Cross-sectional [19]

                                       Sickle cell disease                                                   Case Series [20, 21, 22,        On previous version of list
                                                                                                             23, 24]

                                       Solid organ transplantation                                           Case Series [8, 25, 26,         New to updated list as of June 25, 2020
                                                                                                             27, 28, 29, 30]

                                       Type 2 diabetes mellitus                                              Case Series [7]                 On previous version of list
                                                                                                             Longitudinal Study [31]
                                                                                                             Cohort Study [32, 33]
                                                                                                             Meta Analysis [34]



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                                                                                                             Evidence of Impact on
      Level of Evidence                Condition                                                             COVID-19 Severity               Notes


      Mixed Evidence                   Asthma                                                                Cohort Study [10, 35,           On previous version of list
                                                                                                             36, 37]
                                                                                                             Case Series [13]

                                       Cerebrovascular disease                                               Meta Analysis [38, 39,          New to updated list as of June 25, 2020
                                                                                                             40, 41]
                                                                                                             Synthesis of Evidence
                                                                                                             [42]
                                                                                                             Cohort Study [1, 2, 43,
                                                                                                             44, 45]

                                       Hypertension                                                          Cohort Study [1, 2, 45,  New to updated list as of June 25, 2020
                                                                                                             46, 47]
                                                                                                             Systematic Review [48]
                                                                                                             Meta Analyses [3, 4, 49]

                                       Pregnancy                                                             Systematic Review [50]
                                                                                                             Case Control Study [51]
                                                                                                             Case Series [52, 53, 54,
                                                                                                             55]
                                                                                                             Cohort Study [56, 57,
                                                                                                             58]

                                       Smoking                                                               Meta Analyses [3, 59,           On previous version of list
                                                                                                             60, 61, 62]

                                       Use of corticosteroids or other immunosuppressive                     Case Series [63, 64, 65]        On previous version of list
                                       medications                                                           Cohort Study [66, 67]

      Limited Evidence                 Bone marrow transplantation                                           Review [68]                     On previous version of list

                                       HIV                                                                   Case Series [69, 70]            On previous version of list

                                       Immune de ciencies                                                    Case Series [71]                On previous version of list
                                                                                                             Systematic Review [72]

                                       Inherited metabolic disorders                                         Cohort Study [43, 73]           New to updated list as of June 25, 2020; speci c
                                                                                                                                             to pediatric populations at this time

                                       Neurologic conditions                                                 Cross-Sectional Study           New to updated list as of June 25, 2020; speci c
                                                                                                             [74]                            to pediatric populations at this time
                                                                                                             Cohort Study [37, 45,
                                                                                                             73]

                                       Other chronic lung diseases                                           Meta Analysis [4]               On previous version of list
                                                                                                             Case Series [13]
                                                                                                             Cohort Study [10, 75]

                                       Liver disease                                                         Meta Analysis [76]              On previous version of list
                                                                                                             Cohort Study [77, 78]
                                                                                                             Literature Review [79]

                                       Type 1 diabetes mellitus                                              Case Series [7]                 On previous version of list
                                                                                                             Cohort Study [32, 33]
                                                                                                             Meta Analysis [34]

                                       Thalassemia                                                           Case Series [80]                On previous version of list
                                                                                                             Cross-Sectional Study
                                                                                                             [81]


     Bold citations indicate the reference is published
     Italicized citations indicate the reference is not peer reviewed
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                   BOP Implementing Modi ed Operations
                      In order to mitigate the spread of COVID-19, the BOP is operating under the following conditions:




            SOCIAL VISITS: Social visits are suspended. Inmate telephone system minutes will be increased to 500 minutes per
            calendar month Bureau-wide.

            INMATE MOVEMENT (Updated): As we previously described generally, inmate internal movement is suspended with
            limited exceptions. This suspension, however, does not mean the BOP has ceased all inmate movements because the
            federal judicial system as well as state courts continue to process criminal cases.

            These movement exceptions may include, but are not limited to, transfers related to forensic studies, writs, Interstate
            Agreements on Detainers (IAD), medical or mental health treatment (including local medical trips), and RRC
            placements. The BOP also needs to move inmates to better manage the detention bedspace as well as assure that
            administrative facilities do not become overcrowded beyond available resources.

            The BOP and the USMS are coordinating carefully to transport and transfer federal inmates into the Bureau's custody
            while taking proactive steps, including aggressive testing, to mitigate the transmission of COVID-19 into the federal
            prison environment. The Bureau is processing all newly-sentenced BOP inmates through one of three quarantine sites
            - - FCC Yazoo City, MS; FCC Victorville, CA; and FTC Oklahoma City, OK, or to a BOP detention center/jail unit. The BOP
            will test all inmates upon arrival at a BOP detention center/jail unit or at one of the three quarantine sites. All inmates
            will be tested again before movement to their designated BOP facility.

                  Inmates being released to community custody are quarantined for 14 days prior to release. After that period: If
                  the inmate has no symptoms and a temperature less than 100.4 degrees F, the inmate will be transferred;
                  If the inmate has COVID-19 symptoms, or temperature greater than 100.4 degrees F, they will not be transferred
                  and will instead be immediately placed in isolation.

            LEGAL VISITS: Legal visits will be suspended for 30 days, at which time the suspension will be re-evaluated. Case-by-
            case approval at the local level and con dential legal calls will be allowed in order to ensure access to counsel. If
            approved for an in-person visit, the attorney will need to undergo screening using the same procedures as staff.

            Access to legal counsel remains a paramount requirement and will be accommodated to the maximum extent
            practicable. Although legal visits are generally suspended for 30-days, case-by-case accommodation will be made at
            the local level. If approved for an in-person visit, the attorney will need to undergo advanced health screening, to
            include a temperature check.

            OFFICIAL STAFF TRAVEL: O cial staff travel, with the exception of relocation travel, is suspended.

            TRAINING: All staff training is suspended (to include conferences and meetings), with the exception of basic training
            for new staff.

            CONTRACTORS: Contractors performing essential services or necessary maintenance on essential systems will
            undergo advanced health screening, to include a temperature check. All other contractor access is suspended.
            Contractors who require access will be screened using the same procedures as staff prior to entry.

            Essential services include, for example, medical services, mental health services, religious services and critical
            infrastructure repairs.

            A copy of the Visitor/Volunteer/Contractor COVID-19 Screening Tool will be required for all vistors, volunteers, and
            contractors. A copy will be provided by staff members at the lobby for all institutions.


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             VOLUNTEERS: Volunteer visits are suspended, unless approved by the Deputy Director of the BOP. Alternate means of
             communication will be considered for inmates who request to speak with a religious advisor. Volunteers who are
             approved for access will be screened using the same procedures as staff prior to entry.

             A copy of the Visitor/Volunteer/Contractor COVID-19 Screening Tool will be required for all vistors, volunteers, and
             contractors. A copy will be provided by staff members at the lobby for all institutions.

             SCREENING OF STAFF: Enhanced health screening of staff is being performed at all BOP locations. Such screening
             includes self-reporting and temperature checks.

             SCREENING OF INMATES: The BOP will continue to screen inmates for COVID-19 following previously-indicated
             practices:

                     All newly-arriving BOP inmates are processed through quarantine or jail/detention sites and screened for COVID-
                     19 exposure risk factors and symptoms.
                     Asymptomatic inmates with exposure risk factors are quarantined.
                     Symptomatic inmates with exposure risk factors will be isolated and tested for COVID-19 per local health
                     authority protocols.

             TOURS: Tours are suspended. Any exceptions must be approved by the Deputy Director. If approved, participants will
             be screened using the same procedures as staff prior to entry.

             MODIFIED OPERATIONS: BOP is implementing modi ed operations to maximize social distancing in our facilities, as
             much as practicable. To that end, inmates are limited in their movements to prevent congregate gathering and
             maximize social distancing. Essential inmate work details, such as Food Service, continue to operate with appropriate
             screening. Inmate movement in small numbers is authorized for the following purposes:

                  A. Commissary

                  B. Laundry

                  C. Showers three times each week

                  D. Telephone, to include legal calls, and access to TRULINCs


             Note that inmate movement is still expected to allow, when necessary, for the provision of required mental health or
             medical care, including continued Sick Call. Select Unicor operations also continue.

             PRIVATE DETENTION CONTRACTORS: This COVID-19 guidance is being shared with private prisons and RRCs for
             dissemination to staff and inmates in these facilities, so that similar protocols can be implemented.




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 COVID-19 Pandemic Planning Scenarios

 CDC and the Office of the Assistant Secretary for Preparedness and Response (ASPR) have developed
 five COVID-19 Pandemic Planning Scenarios that are designed to help inform decisions by modelers and
 public health officials who utilize mathematical modeling. The planning scenarios are being used by
 mathematical modelers throughout the Federal government. Models developed using the data provided in
 the planning scenarios can help evaluate the potential effects of different community mitigation strategies
 (e.g., social distancing). The planning scenarios may also be useful to hospital administrators in assessing
 resource needs and can be used in conjunction with the COVID-19Surge Tool.

 Each scenario is based on a set of numerical values for biological and epidemiological characteristics of
 COVID-19. These values—called parameter values—can be used to estimate the possible effects of
 COVID-19 in U.S. states and localities. The parameter values in each scenario will be updated and
 augmented over time, as we learn more about the epidemiology of COVID-19.

 New data on COVID-19 is available daily; information about its biological and epidemiological
 characteristics remain limited, and uncertainty remains around nearly all parameter values.

 The parameters in the scenarios:
 • Are estimates intended to support public health preparedness and planning.
 • Are not predictions of the expected effects of COVID-19.
 • Do not reflect the impact of any behavioral changes, social distancing, or other interventions.

 The Five Scenarios

 The five COVID-19 Pandemic Planning Scenarios (Box 1) represent a range of possible parameters for
 COVID-19 in the United States. All parameter values are based on current COVID-19 surveillance data
  and scientific knowledge.
 • Scenarios 1 through 4 are based on parameter values that represent the lower and upper bounds of
     disease severity and viral transmissibility (moderate to very high). The parameter values used in
     these scenarios are likely to change as we obtain additional data about the upper and lower bounds of
     disease severity and the transmissibility of SARS-CoV-2, the virus that causes COVID-19.
 • Scenario 5 represents a current best estimate about viral transmission and disease severity in the
     United States, with the same caveat: that the parameter values will change as more data become
     available.

 Parameter values that vary among the Pandemic Planning Scenarios are listed in Table 1, while parameter
 values common to all five scenarios are listed in Table 2. Definitions of the parameters are provided
 below, and the source of each parameter value is indicated in the Tables.

 The Parameter Values: Definitions

 Parameter values that vary across the five COVID-19 Pandemic Planning Scenarios (Table 1) include
 measures of viral transmissibility, disease severity, and pre-symptomatic and asymptomatic disease
 transmission. Where sufficient data are available, age-stratified estimates are provided.

     Viral Transmissibility

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    •   Basic reproduction number (R0): The average number of people that one person with COVID-
        19 is likely to infect in a population without any immunity (from previous infection) or any
        interventions. R0 is an estimate of how transmissible a pathogen is in a population.

    Disease Severity
    • Symptomatic Case Fatality Ratio: The number of symptomatic individuals who die of the
        disease among all individuals experiencing symptoms from the infection. This parameter is not
        necessarily equivalent to the number of reported deaths per reported cases, because many cases
        and deaths are never confirmed to be COVID-19, and there is a lag in time between when people
        are infected and when they die. This parameter reflects the existing standard of care and may be
        affected by the introduction of new therapeutics.
    • Symptomatic Case Hospitalization Ratio: The number of symptomatic individuals who are
        hospitalized from the disease among all individuals experiencing symptoms from the infection.
        This parameter is not necessarily equivalent to the number of reported hospitalizations per
        reported cases, because many cases and deaths are never confirmed to be COVID-19, and there is
        a lag in time between when people are infected and when they die. This parameter reflects the
        existing standard of care and may be affected by the introduction of new therapeutics.

    Pre-symptomatic and Asymptomatic Contribution to Disease Transmission

    A pre-symptomatic case of COVID-19 is an individual infected with SARS-CoV-2 who has not
    exhibited symptoms at the time of testing, but who later exhibits symptoms during the course of the
    infection. An asymptomatic case is an individual infected with SARS-CoV-2 who does not exhibit
    symptoms during the course of infection. Parameter values that measure the pre-symptomatic and
    asymptomatic contribution to disease transmission include:
    • Percentage of infections that are asymptomatic: The percentage of persons who are infected
        with SARS-CoV-2 but never show symptoms of disease. Asymptomatic cases are challenging to
        identify because individuals do not know they are infected unless they are tested, typically as a
        part of a scientific study.
    • Infectiousness of asymptomatic individuals relative to symptomatic individuals: The
        contribution to transmission of SARS-CoV-2 from asymptomatic individuals compared to the
        contribution to transmission of SARS-CoV-2 from symptomatic individuals. A parameter value
        of 50% means that an asymptomatic individual is half as infectious as a symptomatic individual,
        while a parameter value of 100% means that an asymptomatic individual is just as likely to
        transmit infection as a symptomatic individual. This parameter is especially challenging to
        estimate because studies that repeatedly test asymptomatic individuals over time are limited.

 Parameter values that do not vary across the five Pandemic Planning Scenarios (Table 2) include:
    • Level of pre-existing immunity to COVID-19 in the community: The percentage of the U.S.
       population that had existing immunity to COVID-19 prior to the start of the pandemic beginning
       in 2019.
    • Percentage of transmission occurring prior to symptom onset: The percentage of new cases
       of COVID-19 due to transmission from a person with COVID-19 who transmits infection to
       others before exhibiting symptoms.
    • Time from exposure to symptom onset: The number of days between the time when a person
       has contact with an infected person that results in COVID-19 infection and the first appearance of
       symptoms.


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     •   Time between symptom onset in an individual and symptom onset of a second person
         infected by that individual: The number of days between the time when a person becomes
         symptomatic and when the person who they infect becomes symptomatic.

 Additional parameter values common to the five COVID-19 Pandemic Planning Scenarios include these
 seven measures of healthcare usage:
     • Mean number of days from symptom onset to seeking outpatient care
     • Mean number of days from symptom onset to hospitalization
     • Mean number of days of hospitalization
     • Percentage of patients admitted to the ICU among those hospitalized
     • Percentage of patients on mechanical ventilation among admitted to the ICU
     • Mean number of days on mechanical ventilation
     • Median number of days from symptom onset to death

 These healthcare-related parameters (Table 2) are included to assist assessment of resource needs as the
 pandemic progresses.

 *************************

 Box 1 Description of the Five COVID-19 Pandemic Planning Scenarios

 For each Pandemic Planning Scenario:
 • Parameters values for viral transmissibility include the Basic Reproduction Number (R0)
 • Parameters values for disease severity include Symptomatic Case Fatality Ratio and Symptomatic
     Case Hospitalization Ratio
 • Parameter values for the pre-symptomatic and asymptomatic contribution to disease transmission
     include:
     - Percentage of transmission occurring prior to symptom onset (from pre-symptomatic individuals)
     - Percentage of infections that are asymptomatic
     - Infectiousness of asymptomatic individuals relative to symptomatic individuals

 For Pandemic Scenarios 1-4:
 • These Scenarios are based on parameter values that represent the lower and upper bounds of disease
     severity and viral transmissibility (moderate to very high). The parameter values used in these
     Scenarios are likely to change as we obtain additional data about the upper and lower bounds of
     disease severity and viral transmissibility of COVID-19.

 For Pandemic Scenario 5:
 • This Scenario represents a current best estimate about viral transmission and disease severity in the
     United States, with the same caveat: that the parameter values will change as more data become
     available.
                           ____________________________________________

 Scenario 1:
 • Lower-bound values for virus transmissibility and disease severity
 • Lower percentage of transmission prior to onset of symptoms
 • Lower percentage of infections that never have symptoms and lower contribution of those cases to
    transmission

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       Scenario 2:
       • Lower-bound values for virus transmissibility and disease severity
       • Higher percentage of transmission prior to onset of symptoms
       • Higher percentage of infections that never have symptoms and higher contribution of those cases to
          transmission

       Scenario 3:
       • Upper-bound values for virus transmissibility and disease severity
       • Lower percentage of transmission prior to onset of symptoms
       • Lower percentage of infections that never have symptoms and lower contribution of those cases to
          transmission

       Scenario 4:
       • Upper-bound values for virus transmissibility and disease severity
       • Higher percentage of transmission prior to onset of symptoms
       • Higher percentage of infections that never have symptoms and higher contribution of those cases to
          transmission

       Scenario 5:
       • Parameter values for disease severity, viral transmissibility, and pre-symptomatic and asymptomatic
          disease transmission that represent the best estimate, based on the latest surveillance data and
          scientific knowledge. Parameter values are based on data received by CDC prior to 4/29/2020.



       Table 1. Parameter Values that vary among the five COVID-19 Pandemic Planning Scenarios. The
       scenarios are intended to advance public health preparedness and planning. They are not predictions or
       estimates of the expected impact of COVID-19. The parameter values in each scenario will be updated
       and augmented over time, as we learn more about the epidemiology of COVID-19. Additional parameter
       values might be added in the future (e.g., population density, household transmission, and/or race and
       ethnicity).

            Parameter values are based on data received by CDC prior to 4/29/2020

                                                                                                         Scenario 5:
Parameter                 Scenario 1          Scenario 2          Scenario 3         Scenario 4         Current Best
                                                                                                          Estimate
R0
Source: Preliminary
                            2                  2                  3                  3                 2.5
COVID-19 estimates,
ASPR and CDC
Symptomatic Case
Fatality Ratio,     0-49 years: 0.0002 0-49 years: 0.0002 0-49 years: 0.001 0-49 years: 0.001 0-49 years: 0.0005
stratified by age   50-64 years: 0.001 50-64 years: 0.001 50-64 years: 0.006 50-64 years: 0.006 50-64 years: 0.002
Source: Preliminary  65+ years: 0.006   65+ years: 0.006   65+ years: 0.032   65+ years: 0.032   65+ years: 0.013
COVID-19 estimates,   Overall: 0.002     Overall: 0.002     Overall: 0.010     Overall: 0.010     Overall: 0.004
CDC

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Symptomatic Case
Hospitalization
                      0–49 years: 0.013 0–49 years: 0.013 0–49 years: 0.026 0–49 years: 0.026 0–49 years: 0.017
Ratio, stratified by
                      50–64 years: 0.036 50–64 years: 0.036 50–64 years: 0.057 50–64 years: 0.057 50–64 years: 0.045
age
                       65+ years: 0.052   65+ years: 0.052   65+ years: 0.10    65+ years: 0.10    65+ years: 0.074
Source: Preliminary
                        Overall: 0.028     Overall: 0.028     Overall: 0.041     Overall: 0.041     Overall: 0.034
COVID-19 estimates,
CDC
Percent of infections
that are
asymptomatic
                            20%                 50%               20%                 50%                35%
Source: Preliminary
COVID-19 estimates,
ASPR and CDC
Infectiousness of
asymptomatic
individuals relative
to symptomatic              50%                100%               50%                100%               100%
individuals
Source: Assumption,
ASPR and CDC

           Table 2. Parameter Values Common to the Five COVID-19 Pandemic Planning Scenarios.
           The parameter values are likely to change as we obtain additional data about disease severity and
           viral transmissibility of COVID-19.

           Parameter values are based on data received by CDC prior to 4/29/2020

         Pre-existing immunity                No pre-existing immunity before the pandemic began in 2019. It is
         Source: Assumption, ASPR and         assumed that all members of the U.S. population were susceptible to
         CDC                                  infection prior to the pandemic.
         Percentage of transmission
         occurring prior to symptom
         onset:                                                                  40%
         Source: Preliminary COVID-19
         estimates, ASPR and CDC
         Time from exposure to symptom
         onset
                                                                            ~6 days (mean)
         Source: Pre-publication COVID-19
         estimates*
         Time between symptom onset in
         an individual and symptom onset
         of a second person infected by
                                                                            ~6 days (mean)
         that individual
         Source: Pre-publication COVID-19
         estimates

                                       Parameter Values Related to Healthcare Usage


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  Time to seek care (outpatient)                                             ≤2 days: 35%
  Source: Survey of persons with                                            3–7 days: 50%
  Influenza like illness (ILI), CDC†                                         ≥8 days: 25%
  Mean number of days from
  symptom onset to hospitalization                                    0-49 years: 6.9 (5.0) days
  (standard deviation)                                                50-64 years: 7.2 (5.3) days
  Source: Preliminary COVID-19                                         ≥65 years: 6.2 (5.7) days
  estimates, CDC§
  Mean number of days of
  hospitalization among those not
  admitted to ICU (standard                                           0-49 years: 3.9 (3.7) days
  deviation) ¶
                                                                      50-64 years: 4.9 (4.3) days
                                                                       ≥65 years: 6.3 (5.1) days
  Source: Preliminary COVID-19
  estimates, CDC
  Mean number of days of
  hospitalization among those
  admitted to ICU (standard                                           0-49 years: 9.5 (7.2) days
  deviation) ¶
                                                                     50-64 years: 10.5 (7.0) days
                                                                      ≥65 years: 10.0 (6.8) days
  Source: Preliminary COVID-19
  estimates, CDC
  Percent admitted to ICU among
                                                                          0-49 years: 21.9%
  those hospitalized
                                                                          50-64 years: 29.2%
  Source: Preliminary COVID-19
                                                                           ≥65 years: 26.8%
  estimates, CDC
  Percent on mechanical ventilation
                                                                          0-49 years: 72.1%
  among those in ICU
                                                                          50-64 years: 77.6%
  Source: Preliminary COVID-19
                                                                           ≥65 years: 75.5%
  estimates, CDC
  Mean number of days of
  mechanical ventilation (standard
  deviation)                                                            Overall: 5.5 (5.3) days
  Source: Preliminary COVID-19
  estimates, CDC
  Mean number of days from
  symptom onset to death                                             0-49 years: 14.9 (7.7) days
  (standard deviation)                                               50-64 years: 15.3 (8.1) days
  Source: Preliminary COVID-19                                        ≥65 years: 12.9 (7.6) days
  estimates, CDC§
  Mean number of days from death
  to reporting (standard deviation)                                   0-49 years: 7.1 (7.7) days
  Source: Preliminary COVID-19                                        50-64 years: 7.2 (7.7) days
                                                                       ≥65 years: 6.6 (7.3) days
  estimates, CDC**

 *Khalili, M., Karamouzian, M., Nasiri, N., Javadi, S., Mirzazadeh, A., & Sharifi, H. (2020). Epidemiological
 Characteristics of COVID-19: A Systemic Review and Meta-Analysis. medRxiv.



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 † Biggerstaff, M., Jhung, M. A., Reed, C., Fry, A. M., Balluz, L., & Finelli, L. (2014). Influenza-like illness, the
 time to seek healthcare, and influenza antiviral receipt during the 2010–2011 influenza season—United States. The
 Journal of infectious diseases, 210(4), 535-544.

 § Estimates only include onset dates between March 1, 2020 – March 31, 2020 to ensure cases have had sufficient
 time to observe the outcome (hospital admission or death).

 ¶ Estimates only include hospital admission dates between March 1, 2020 – March 31, 2020 to ensure cases have
 had sufficient time to observe the outcome (hospital discharge or death).

 ** Estimates only include death dates between March 1, 2020 – March 31, 2020 to ensure sufficient time for
 reporting




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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO


  Criminal Action No. 1:17-cr-00168-CMA

  UNITED STATES OF AMERICA,

       Plaintiff,

  v.

  KAREN LYNN MCCLAFLIN,

       Defendant.


            ORDER DENYING MOTION FOR COMPASSIONATE RELEASE


       This matter is before the Court on Defendant Karen McClaflin’s Motion for

 Compassionate Release. (Doc. # 117.) The Probation Office and the Government filed

 Responses (Doc. ## 121, 122) to the Motion on June 15, 2020, and Ms. McClaflin filed

 a Reply (Doc. # 128) on July 3, 2020. For the following reasons, the Court denies the

 Motion.

                                  I.     BACKGROUND

       On June 21, 2017, Ms. McClaflin pled guilty to two counts stemming from her

 operation of a residential Ponzi scheme which defrauded investors of more than $14.5

 million. At sentencing, this Court calculated the advisory sentencing guidelines at 135 to

 168 months’ imprisonment, applied a 6-level enhancement for substantial financial

 hardship to more than twenty-five victims, and ultimately determined that a downward

 variant sentence of 96 months was appropriate.




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        Notably, Ms. McClaflin has served only 13 months—or 14%—of her sentence.

 See (Doc. # 111) (Ms. McClaflin was required to report to FMC Carswell on June 11,

 2019). Her current projected release date is April 3, 2026. (Doc. # 121 at 1.) In the

 instant Motion, Ms. McClaflin asserts that her underlying medical conditions and her risk

 of contracting the COVID-19 virus warrant her release from prison pursuant to 18

 U.S.C. § 3582(c)(1)(A).

                                II.     LEGAL STANDARD

        18 U.S.C. § 3582(c)(1)(A) allows a court to reduce a defendant’s sentence where

 “extraordinary and compelling reasons warrant such a reduction” and “such a reduction

 is consistent with applicable policy statements issued by the Sentencing Commission.”

 18 U.S.C. § 3582(c)(1)(A)(i). In doing so, the Court must also consider “the factors set

 forth in [18 U.S.C. §] 3553(a) to the extent that they are applicable.” Id. § 3582(c)(1)(A).

 “Application of the § 3553(a) factors requires an assessment of whether the relevant

 factors ‘outweigh the “extraordinary and compelling reasons” warranting compassionate

 release . . . [and] whether compassionate release would undermine the goals of the

 original sentence.’” United States v. Batista, No. 19 Cr. 2 (JFK), 2020 WL 3249233, at

 *2 (S.D.N.Y. June 16, 2020) (quoting United States v. Daugerdas, No. 09 Cr. 581

 (WHP), 2020 WL 2097653, at *4 (S.D.N.Y. May 1, 2020)).

        The relevant policy statement issued by the U.S. Sentencing Commission

 pertaining to compassionate release is found in § 1B1.13 of the Sentencing Guidelines.

 Application Note 1 to § 1B1.13 describes four potentially extraordinary and compelling

 reasons for compassionate release: (1) the defendant has a terminal medical condition


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 or a serious health condition that substantially diminishes his ability to provide self-care;

 (2) the defendant is at least 65 years old and has served 75% of his sentence; (3) family

 circumstances; and (4) an extraordinary and compelling reason other than or in

 combination with one of the above. U.S. Sentencing Guidelines Manual § 1B1.13(1)(A)

 & cmt. n.1(A)–(D) (U.S. Sentencing Comm’n 2018). The defendant, however, must not

 be “a danger to the safety of any other person or to the community,” id. § 1B1.13(2),

 and “[r]ehabilitation of the defendant alone shall not be considered an extraordinary and

 compelling reason,” 28 U.S.C. § 994(t); see also U.S.S.G. § 1B1.13 cmt. n.3.

                                      III.   ANALYSIS

        Assuming, arguendo, that Ms. McClaflin’s health issues and the COVID-19

 pandemic constituted “extraordinary and compelling reasons” to reduce her sentence,

 application of the § 3553(a) sentencing factors outweighs any such reduction.

 Specifically, allowing Ms. McClaflin’s to serve merely 14% of a sentence that already

 constitutes a substantial downward variance from the applicable guideline range would

 not “reflect the seriousness of the offense, . . . promote respect for the law, [or] provide

 just punishment for the offense . . . .” 18 U.S.C. § 3553(a)(2)(A).

        In reaching this conclusion, the Court is persuaded by the analysis of the

 Southern District of New York in its decision in United States v. Israel, No. 05 CR 1039

 (CM), 2019 WL 6702522 (S.D.N.Y. Dec. 9, 2019). In that case, the court denied a white-

 collar defendant’s motion for compassionate release, “notwithstanding his compromised

 medical condition or the undoubted fact that he could receive better medical care in the

 private sector.” Id. at *9.


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       Like Ms. McClaflin, the defendant in Israel operated a Ponzi scheme that

 defrauded millions of dollars from innocent investors. He was sentenced to 20 years

 imprisonment and served 11 years—or 55%—of his sentence when he requested

 compassionate release based on his deteriorating health. Id. at *1. The court reasoned

 that, even though the defendant presented a low risk of recidivism,

       cutting [his] sentence in half—which is what he requests—would
       undermine the goals of sentencing set forth at . . . § 3553(a). In particular,
       reducing [his] sentence would not reflect the seriousness of his crimes,
       provide just punishment, or promote respect for the law.”
                                       ***
       Adjusting Israel’s sentence downward on “compassionate” grounds, despite
       the seriousness of his crime and the amount of his fraud . . . does nothing
       to promote respect for the law. It simply reinforces the belief that there is
       one law for the white-collar criminal and another law altogether for the
       ghetto dweller or the drug dealer.

 Id. at *9, 10 (emphasis added).

       The Southern District’s reasoning applies with additional force in this case, as the

 accommodation Ms. McClaflin requests would constitute a reduction in her sentence by

 over 85%. Such a reduction would not only fail to promote respect for the law—it would

 make a mockery of it.

                                   IV.   CONCLUSION

    Based on the foregoing, Defendant Karen McClaflin’s Motion for Compassionate

 Relief (Doc. # 117) is DENIED.

       DATED: July 20, 2020                      BY THE COURT:



                                                 _______________________________
                                                 CHRISTINE M. ARGUELLO
                                                 United States District Judge

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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO



 Criminal Case No. 17-cr-00168-CMA-1

 UNITED STATES OF AMERICA,

       Plaintiff,

 v.

 KAREN LYNN McCLAFLIN,
     Defendants.

 _____________________________________________________________________

                           NOTICE OF APPEAL
 _____________________________________________________________________

       Notice is hereby given that Karen Lynn McClaflin, defendant in the above captioned

 case, appeals to the Tenth Circuit Court of Appeals from the Order Denying Motion For

 Compassionate Release entered on July 20, 2020 as Docket No. 129.

 DATED: July 24, 2020.             Respectfully submitted,


                                   NATHAN D. CHAMBERS LLC
                                   By:    s/Nathan D. Chambers
                                   Nathan D. Chambers
                                   303 16th Street, Suite 200
                                   Denver, Colorado 80202
                                   (303) 825-2222




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on July 24, 2020, I presented the foregoing to the Clerk of the
 Court for filing and uploading to the CM/ECF system which will send notification of such filing
 to counsel of record.



                                            By:    s/Nathan D. Chambers
                                            Nathan D. Chambers
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                                            Denver, Colorado 80202
                                            (303) 825-2222




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